Case 23-14853-JKS          Doc 810      Filed 12/18/23 Entered 12/18/23 14:55:53                   Desc Main
                                       Document     Page 1 of 85



                                     UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY

                    FIRST INTERIM FEE APPLICATION COVER SHEET

 Debtor: CYXTERA TECHNOLOGIES, INC., Applicant: Alvarez & Marsal North America,
 et al.,1                            LLC (“A&M”)
 Case No: 23-14853 (JKS)             Client: Official Committee of Unsecured
                                     Creditors
 Chapter: 11                                           Case Filed: June 4, 2023




                                               SECTION I
                                             FEE SUMMARY

                   Summary of the Amounts Requested for the Interim Period from
                 June 27, 2023, through October 31, 2023 (the “Application Period”)


    Fee Total:                                                                                $1,885,644.00
    Expenses Total:                                                                                 $367.64

                         Summary of Amounts Requested for Previous Periods

                                                                     FEES                     EXPENSES
    Total Previous Fees and Expenses Requested:                      $1,885,644.00                $367.64
    Total Fees Allowed To Date : 2                                   $1,508,515.20                $367.64
    Total Retainer (If Applicable):                                           N/A                    N/A
    Total Holdback / Unpaid Amount2:                                   $446,400.80                 $40.27
    Total Received By Applicant3:                                    $1,439,243.20                $327.37


1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s
principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
Boulevard, Ste. 900, Coral Gables, Florida 33134
2,3
   A&M filed its October fee statement on 11/29/2023 [Docket 766] and did not receive any objections by the
objection date. Total Holdback / Unpaid Amount includes 100% of fees and expenses sought in October plus all
other applicable unpaid holdbacks
Case 23-14853-JKS    Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53      Desc Main
                               Document     Page 2 of 85


                            SECTION I (CONTINUED)
                                FEE SUMMARY



      Professional          Position        Billing Rate   Hours             Fees
Newman, Richard      Managing Director     $      1,200     319.6        $     383,520.00
Gonzalez, Andrea     Managing Director            1,075     135.5              145,662.50
Holsomback, Hunt     Managing Director            1,025      18.2               18,655.00
Scott, Tom           Managing Director            1,025      24.6               25,215.00
Waschitz, Seth       Senior Director                950     150.9              143,355.00
Vaid, Hameer         Senior Director                925      45.2               41,810.50
Domfeh, Kofi         Director                       850     571.5              485,775.00
Drissen, Philipp     Director                       825      42.6               35,161.50
Ashraf, Farris       Senior Associate               700     436.4              305,480.00
Soriano, Adam        Manager                        700       0.9                  607.50
Sinclair, Gibbons    Senior Associate               675      43.2               30,240.00
Hill, Michael        Associate                      575     269.1              154,732.50
Saltz, Katy          Senior Associate               525      44.5               23,362.00
Desai, Bijal         Analyst                        525       0.4                  210.00
Singh, Kabir         Analyst                        475      63.2               30,020.00
Rovitz, Alec         Analyst                        425     145.5               61,837.50
Total                                                      2,311.3   $       1,885,644.00
Case 23-14853-JKS         Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                                    Document     Page 3 of 85


                                        SECTION II
                                    SUMMARY OF SERVICES


Project Category                                               Hours             Fees
Asset Sales                                                        105.8 $         101,767.50
Business Plan                                                      385.9           283,655.00
Case Administration                                                 41.5            34,735.00
Cash Budget                                                        117.6            89,160.00
Claims / Liabilities Subject to Compromise                          89.8            77,577.50
Contracts                                                           36.1            33,325.00
Court Attendance / Participation                                     2.6             1,632.50
Employee Matters                                                    36.8            30,660.00
Fee Application                                                     86.3            40,530.00
Financial & Operational Matters                                    218.4           188,730.00
Financing Matters (DIP, Exit, Other)                               122.6           101,105.00
Firm Retention                                                       4.6             4,745.00
General Correspondence with Debtor & Debtors' Professionals          1.6             1,670.00
General Correspondence with UCC & UCC Counsel                       33.3            34,525.00
Insurance Matters                                                    0.4               380.00
Intercompany Claims                                                 38.6            35,820.00
Miscellaneous Motions                                               46.3            43,215.00
Plan of Reorganization / Disclosure Statement                      409.8           349,107.50
Potential Avoidance Actions / Litigation Matters                   260.2           216,535.00
SOFAs & SOALs                                                      102.6            83,800.00
Tax Matters                                                          0.3               360.00
Valuation                                                          170.2           132,609.00
Total                                                            2,311.3 $       1,885,644.00




                                     SECTION III
                               SUMMARY OF DISBURSEMENTS

   Expense Type                                                                 Amount
   Miscellaneous                                                                 $367.64
   Lodging                                                                          0.00
   Meals                                                                            0.00
   Airfare                                                                          0.00
   Transportation                                                                   0.00
   Total                                                                         $367.64
Case 23-14853-JKS          Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53           Desc Main
                                     Document     Page 4 of 85

                                          SECTION IV
                                         CASE HISTORY

 (1)   Date cases filed:                               June 4, 2023

(2)    Chapter under which cases commenced:            Chapter 11

(3)    Date of Retention:                              June 27, 2023

 (4)   Summarize in brief the benefits to the estate and attach supplements as needed:

       (a)     A&M analyzed the Debtors’ weekly cash budgets and budget-to-actual cash variances,
               and prepared cash flow presentations for the Committee
       (b)     A&M reviewed and summarized historical financial and operating data, including
               documentation posted to the Debtors’ virtual data room
       (c)     A&M prepared and maintained due diligence request lists to monitor documents
               requested and received
       (d)     A&M analyzed the proposed DIP financing to assist Committee counsel in drafting a
               DIP objection, developing DIP comparable analyses, and developing a DIP settlement
               structure
       (e)     A&M prepared a legal entity by entity recovery model to educate the Committee
               regarding potential ranges of recovery to general unsecured creditors under various
               scenarios
       (f)     A&M prepared a presentation for the Committee detailing a range of recoveries to
               general unsecured creditors under various scenarios
       (g)     A&M reviewed numerous motions and orders to ensure the authority sought by the
               Debtors was reasonable
       (h)     A&M monitored the sale process and corresponded with the Debtors’ professionals
               regarding the status of bidders / asset sales and lease sales / terminations
       (i)     A&M conducted research pertaining to potential avoidance actions / sources of
               value for unsecured creditors
       (j)     A&M regularly participated in calls with the Committee, Committee counsel, and
               the Debtors’ professionals
       (k)     To the extent not addressed by the foregoing descriptions, A&M performed other
               services on behalf of the Committee that were necessary and appropriate in this
               Chapter 11 case

In support of this Statement, the following exhibits are annexed hereto:
    − Exhibit A – Retention Order
    − Exhibit B – A&M’s itemized daily time records
    − Exhibit C – A&M’s itemized expense records
    − Exhibit D – Certification of Richard Newman
    − Exhibit E – Proposed Order

I certify under penalty of perjury that the foregoing is true and correct.

Dated: December 15, 2023                            /s/ Richard Newman
                                                       Richard Newman
Case 23-14853-JKS         Doc 810      Filed 12/18/23 Entered 12/18/23 14:55:53       Desc Main
                                      Document     Page 5 of 85



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

    Caption in Compliance with D.N.J. LBR 9004-1(b)
    Robert J. Feinstein
    Bradford J. Sandler
    Paul J. Labov
    Cia Mackle
    PACHULSKI STANG ZIEHL & JONES
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    Counsel to the Official Committee of
    Unsecured Creditors


    In re:                                             Chapter 11

    CYXTERA TECHNOLOGIES, INC., et al.,1               Case No: 23-14853 (JKS)

                             Debtors                   (Jointly Administered)
                                                       Objection Deadline:




  FIRST INTERIM APPLICATION OF ALVAREZ & MARSAL NORTH AMERICA,
  LLC, FINANCIAL ADVISOR TO THE OFFICIAL COMMITTEE OF UNSECURED
            CREDITORS, FOR ALLOWANCE OF COMPENSATION
                   AND REIMBURSEMENT OF EXPENSES
         FOR THE PERIOD JUNE 27, 2023, THROUGH OCOTBER 31, 2023

       Alvarez & Marsal North America, LLC (“A&M”), financial advisor to the Official

Committee of Unsecured Creditors (the “Committee”) appointed in the above-captioned jointly

administered chapter 11 cases (the “Chapter 11 Cases”) of Cyxtera Technologies, Inc., et al. (the

“Debtors”), hereby submits this third interim application for allowance of compensation and

reimbursement of expenses (the “Application”) pursuant to sections 330 and 331 of Title 11 of the
Case 23-14853-JKS        Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53               Desc Main
                                   Document     Page 6 of 85



United States Code, Rule 2016 of the Federal Rules of Bankruptcy Procedure, Local Bankruptcy

Rule 2016-1, and the Order Establishing Procedures for the Allowance and Payment of Interim

Compensation and Reimbursement of Expenses of Professionals Retained by Order of This Court

dated July 21, 2023 [Docket 305] (the “Administrative Fee Order”). Pursuant to 11 U.S.C. § 330

et seq., A&M hereby seeks through this Application interim allowance of compensation in the

amount of $1,885,644.00 in professionals’ fees and $367.64 in expenses for a total award of

compensation in the amount of $1,886,011.64 (the “Application Amount”) incurred as to the

Committee from June 27, 2023, through October 31, 2023 (the “Application Period”). In support

hereof, A&M represents as follows:

                                 JURISDICTION AND VENUE

        1.      The Court has jurisdiction over this Application pursuant to 28 U.S.C. §§ 157

 and 1334, and the Standing Order, dated July 23, 1984, referring all cases under the Bankruptcy

 Code to the bankruptcy judges for this District, as amended on September 18, 2012. Standing

 Order of Reference 12 1 (Simandle, C.J.).

        2.      Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2),

 and the Court may enter a final order consistent with Article III of the United States Constitution.

        4.      The statutes and associated rules that form the bases for the relief requested

 herein are sections 328(a), 330, 331, and 1103 of the Bankruptcy Code, Rule 2016 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and Local Bankruptcy Rule 2016 1.

                                        BACKGROUND

        5.      On June 4, 2023 (“the Petition Date”), the Debtors filed a voluntary petition for

 relief under Chapter 11 of the Bankruptcy Code.
Case 23-14853-JKS       Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53             Desc Main
                                  Document     Page 7 of 85



           6.    The Debtors are currently operating their businesses and managing their

 properties as debtors-in-possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

 Code.

           7.    These Chapter 11 Cases are being jointly administered pursuant to the Order (A)

 Directing Joint Administration of Chapter 11 Cases and (B) Granting Related Relief [Docket

 71], entered on June 6, 2023.

           8.    On June 21, 2023, Andrew R. Vara, United States Trustee for Region 3 (the “U.S.

 Trustee”), pursuant to section 1102(a) of the Bankruptcy Code, appointed the Committee in

 these Chapter 11 Cases, effective June 20, 2023 [Docket 133].

           9.    On June 27, 2023, the Committee selected A&M to serve as financial advisor to

 represent them in these Chapter 11 Cases.

           10.   On July 21, 2023, the Court entered the Administrative Fee Order. The

 Administrative Fee Order requires professionals to, among other things, file monthly statements

 no later than the 25th day of the month following the month for which compensation is sought.

 The Administrative Fee Order further provides that a “Professional who has received monthly

 payments under the administrative fee order must, at four-month intervals or such other intervals

 directed by the Court, file and serve on the parties listed in subdivision (a)(1) an interim

 application under § 331 of the Bankruptcy Code for allowance of the compensation and

 reimbursement of the expenses sought in the monthly statements issued during the applicable

 period.” It also provides that an “interim fee application must include a summary of the monthly

 fee statements that are the subject of the request and any other information requested by the

 Court”.

           11.   On July 31, 2022, the Committee filed its application to retain A&M as financial
  Case 23-14853-JKS              Doc 810     Filed 12/18/23 Entered 12/18/23 14:55:53                      Desc Main
                                            Document     Page 8 of 85



       advisor (the “Retention Application”) [Docket 351].

               12.      On August 8, 2023, this Court entered an order granting the Retention

       Application, authorizing and approving the employment of A&M financial advisor to the

       Committee effective June 27, 2023 (the “Retention Order”) [Docket 381].

               13.      Pursuant to the Administrative Fee Order, A&M has submitted four monthly fee

       statements [Dockets 466, 520, 590, and 766] (the “Fee Statements”). The following is a

       summary of the Fee Statements that A&M has filed so far:

    Date              Requested         Requested                           Approved       Fees/Expenses
                                        Expenses       Approved Fees                                           Holdback
  [Docket]              Fees                                                Expenses            Paid
   8/28/23
                     $692,321.50          $48.89         $553,857.20          $48.89         $553,906.09      $138,464.30
    [466]
  9/19/23
                     $671,087.50         $140.70         $536,870.00         $140.70         $537,010.70      $134,217.50
   [520]
  10/11/23
                     $435,645.00         $137.78         $348,516.00         $137.78         $348,653.78      $87,129.00
   [590]
  11/29/23
                      $86,590.00          $40.27          $69,272.00          $40.27             $0.00        $86,630.27 1
   [766]
First Interim
                     $1,885,644.00       $367.64        $1,508,515.20        $367.64        $1,439,570.57     $446,441.07
    Total




               14.      As of the filing of this Application, A&M has received $1,439,243.20 in fees and

       $327.37 in expenses pursuant to the Administrative Fee Order from the Fee Statements for this

       Application Period.

                                     SUMMARY OF SERVICES RENDERED

               15.      A&M provided significant services to the Committee in connection with this

       Chapter 11 case and on behalf of the Committee in accordance with the A&M’s professional

       responsibilities. The services rendered were necessary to the administration of this Chapter 11


   1
       Represents 100% of fees and expenses approved in the month of October, but not yet paid
Case 23-14853-JKS        Doc 810    Filed 12/18/23 Entered 12/18/23 14:55:53              Desc Main
                                   Document     Page 9 of 85



 case and the representation of the interests of the investors and creditors which comprise the

 Committee. Such services include, but were not limited to:

Plan of Reorganization / Disclosure Statement (409.8)

        16.     During the Application Period, A&M conducted analyses of the Debtors’

 Disclosure Statement and Plan of Reorganization to prepare a waterfall model to evaluate

 recoveries to creditors. A&M reviewed the financial forecasts associated with the Debtors’ plan,

 as well as the Debtors’ liquidation analysis. Further, A&M analyzed the Debtors’ claim pool and

 sources of distributable value, to prepare creditor recoveries under substantive consolidation and

 no substantive consolidation scenarios.

 Business Plan (385.9)

        17.     During the Application Period, A&M prepared various analyses related to the

 Debtors’ business plan forecast. A&M assisted Committee counsel with its evaluation of the

 feasibility of the Debtors’ business plan after confirmation. A&M analyzed revenue forecasts,

 including bookings, churn, and escalators, as well as capital expenditure forecast, operating costs

 and data center footprint rationalization strategy. Further, A&M reconciled these analyses to the

 Debtors’ forecast EBITDA and cash flow profile.

Potential Avoidance Actions / Litigation Matters (260.2)

        18.     During the Application Period, A&M investigated past transactions involving the

 Debtors’ equity sponsors and related third parties to ascertain the potential for avoidance actions

 and/or fraudulent transfers. A&M analyzed the Debtors’ public filings including annual financial

 statements and proxy statements, to evaluate the impact of transactions undertaking by

 management and officers, both past and present, on the performance of the business. A&M also

 analyzed the Debtors’ internal documents including board minutes and management
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                  Desc Main
                               Document    Page 10 of 85



 presentations to investigate the actions of directors and officers. Further, A&M performed an

 investigation into the Debtors’ prior transactions involving related third parties and to pursue

 other potential sources of recovery through causes of action.

Financial & Operational Matters (218.4)

        19.     During the Application Period, A&M evaluated the Debtors’ current operations

 and financial position. A&M analyzed the Debtors’ proposed data center rationalization strategy

 and assessed each of the Debtors’ projected utilization and financial performance under different

 scenarios. A&M reviewed and analyzed financial and operating information provided by the

 Debtors’ advisors to promote our understanding of the Debtors' business. A&M prepared and

 maintained an extensive due diligence request list to facilitate our review process and to identify

 issues affecting recoveries to unsecured creditors.

Valuation (170.2)

        20.     During the Application Period, A&M analyzed various property appraisal reports

 and the Debtors’ financial models. A&M routinely updated property financial models and

 incorporated the Debtors’ projections into various financial analyses to evaluate the projected

 property value. A&M also prepared a discount rate sensitivity analysis and net present value

 analysis for various property financial models.

Financing Matters (DIP, Exit, Other) (122.6)

        21.     During the Application Period, A&M reviewed the DIP credit agreement and

 performed analyses to support UCC counsel’s objection to the DIP. Additionally, A&M

 corresponded UCC counsel and assisted Committee counsel in evaluating the Committees

 negotiating position and several settlement proposals. Lastly, A&M prepared a DIP comparable

 analysis and developed an issues list to aid in negotiations with the DIP lenders.
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53               Desc Main
                               Document    Page 11 of 85



Cash Budget (117.6)

        22.     During the Application Period, A&M evaluated the Debtors cash flow budget for

 the business during and after the chapter 11 process. A&M analyzed the Debtors budget-to-

 actual cash flow reporting and variance testing. Further, A&M participated in calls with the

 Debtors’ professionals to address the Debtors' liquidity runway in addition to preparing

 presentations for the Committee. A&M reviewed the Debtors' proposed wind-down budget and

 participated in calls with Committee counsel and Debtors' professionals to evaluate cash

 available to General Unsecured Creditors ("GUC").

Asset Sales (105.8)

        23.     During the Application Period, A&M monitored the Debtors’ asset sale process

 associated with the Debtors’ Plan, and extensively evaluated purchase offers from bidders

 including, but not limited to, Asset Purchase Agreements, contracts assumptions and rejections,

 cure costs, working capital requirements, among other relevant financial matters. Lastly, A&M

 was also involved in analyzing the asset sale process in its entirety and the economic impact of

 proposals submitted by various bidders to the Committee throughout the sales process.

SOFA & SOALs (102.6)

        24.     During the Application Period, A&M reviewed and analyzed the Debtors’

 Statement of Financial Affairs (“SOFA”) and Statement of Assets and Liabilities (“SOAL”) to

 evaluate the Debtors’ financial position, intercompany transfers and payments to creditors.

 A&M prepared a presentation summarizing the Debtors’ SOFA/SOALs for the Committee.

        25.     In support of this Application, A&M has provided the following exhibits attached

 hereto for this Fee Statement: (i) Exhibit “A” is a copy of the Final Retention Order of Alvarez

 & Marsal North America, LLC (ii) Exhibit “B” is the itemized daily time records by project
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                  Desc Main
                               Document    Page 12 of 85



 category during the Application Period, whereby such time records reflect that A&M has

 expended 2,311.3 hours for services rendered on behalf of the Committee, resulting in fees in

 the amount of $1,885,644.00 for total professionals’ fees owed, (iii) Exhibit “C” is the itemized

 expense detail during the Application Period, (iv) Exhibit “D” is a Certification of Richard

 Newman in support of this Application and (v) Exhibit “E” is a proposed order approving the

 Interim Fee Application.

                              BASIS FOR RELIEF REQUESTED

        26.     Section 331 of the Bankruptcy Code provides that a professional retained under

 section 327 of the Bankruptcy Code may apply to the Court for an interim award of

 compensation or reimbursement of expenses not more than once every 120 days, unless the court

 permits more frequent applications. 11 U.S.C. § 331. This is A&M’s first application for an

 interim award of compensation and expenses.

        27.     The standards for a final award of compensation and expenses under § 330 also

 govern an interim application. 11 U.S.C. § 331. Section 330(a)(1) permits an award of either:

                   i. “[R]easonable compensation for actual, necessary services rendered”; and
                  ii. “[R]eimbursement for actual, necessary expenses.”


        28.     Section 330 further provides guidance as to the relevant considerations for

 analyzing whether the requested compensation is reasonable:

                (3) In determining what constitutes reasonable compensation...the court shall
                consider the nature, the extent, and the value of such services, taking into account
                all relevant factors, including –
                            1. The time spent on such services;
                            2. The rates charges for such services;
                            3. Whether the services were necessary to the administration of, or
                               beneficial at the time at which the service was rendered toward the
                               completion of, a case under this title;
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                Desc Main
                               Document    Page 13 of 85



                          4. whether the services were performed within a reasonable amount
                             of time commensurate with the complexity, importance, and nature
                             of the problem, issue, or task addressed;
                          5. with respect to a professional person, whether the person is board
                             certified or otherwise has demonstrated skill and experience in the
                             bankruptcy field; and
                          6. whether the compensation is reasonable based on the customary
                             compensation charged by comparably skilled practitioners in cases
                             other than cases under this title.
11 U.S.C. § 330(a)(3)(A)–(F)


                                    RELIEF REQUESTED
        29.     A&M seeks an interim award for services rendered and expenses incurred from

 June 27, 2023, through and including October 31, 2023.

        30.     Specifically, A&M seeks an interim award of fees in the amount of $1,885,644.00

 in professionals’ fees and $367.64 in expenses for a total award of compensation in the amount

 of $1,886,011.64 incurred for professional services rendered during the Application Period.

 A&M hereby seeks full interim allowance of its fees and expenses incurred during the

 Application Period and authorization for the Debtors to pay the balance same, less amounts

 already paid pursuant to the Administrative Fee Order.

        31.     As set forth within this Application, A&M has maintained records indicating the

 name of each professional, the time spent working on a matter, and the nature of the work

 performed. The records were made contemporaneously with the rendition of services.

        32.     A&M respectfully submits that the hourly rates for each professional involved in

 this matter, as well as the awards requested herein, are reasonable under the circumstances. Time

 spent was kept to the minimum reasonably necessary to render effective service. There has been

 minimal, if any, duplication of services.

        33.     Various personnel of A&M worked on the matters in this bankruptcy case
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53              Desc Main
                               Document    Page 14 of 85



 depending on the expertise required. Richard Newman has served as the lead professional in this

 case, working closely with other personnel of A&M.

        34.     The Affidavit of Richard Newman is annexed hereto as Exhibit D, which is

 submitted in accordance with the provisions of Section 504 of the Bankruptcy Code.

        35.     A&M submits that the fees and expenses requested herein are reasonable and

 necessary given the issues encountered in this case.

       WHEREFORE, A&M respectfully requests that the Court:

        1.     Award interim compensation in the amount of $1,885,644.00 in professionals’ fees

               and $367.64 in expenses for a total award of compensation in the amount of

               $1,886,011.64;

        2.     Authorize and direct the Debtors to pay such compensation, less any amount

               already paid pursuant to the Administrative Fee Order, per 11 U.S.C. §§ 330 and

               331;

        3.     Afford A&M such other and further relief as the Court deems just and proper.


Dated: December 15, 2023                         ALVAREZ & MARSAL NORTH
                                                 AMERICA, LLC

                                                    By: /s/ Richard Newman
                                                    Richard Newman
                                                    540 W. Madison St., Suite 1800
                                                    Chicago, IL, 60611
                                                    Telephone: (469) 231-6780
                                                    rnewman@alvarezandmarsal.com

                                                    Financial Advisor to the Official Committee
                                                    of Unsecured Creditors
Case 23-14853-JKS   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                           Document    Page 15 of 85




                                 EXHIBIT A
                    ALVAREZ & MARSAL NORTH AMERICA, LLC
                              RETENTION ORDER
Case 23-14853-JKS           Doc 810
                                463 Filed 12/18/23
                                          08/25/23 Entered 12/18/23
                                                             08/28/23 14:55:53
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                                   Document
                                    Document Page
                                                Page16
                                                     1 of
                                                       of 685



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
Robert J. Feinstein
Bradford J. Sandler                                                            Order Filed on August 25, 2023
                                                                               by Clerk
Paul J. Labov                                                                  U.S. Bankruptcy Court
Colin R. Robinson                                                              District of New Jersey
PACHULSKI STANG ZIEHL & JONES LLP
780 Third Avenue, 34th Floor
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crobinson@pszjlaw.com

Proposed Counsel for the Official Committee of
Unsecured Creditors
 In re:                                                    Chapter 11

 CYXTERA TECHNOLOGIES, INC., et al.,1                      Case No. 23-14853 (JKS)
                                                           (Jointly Administered)
                                  Debtors.



     ORDER AUTHORIZING EMPLOYMENT AND RETENTION OF ALVAREZ &
    MARSAL NORTH AMERICA, LLC AS FINANCIAL ADVISOR TO THE OFFICIAL
     COMMITTEE OF UNSECURED CREDITORS OF THE DEBTORS, CYXTERA
         TECHNOLOGIES, INC., ET AL., EFFECTIVE AS OF JUNE 27, 2023
The relief set forth on the following pages, numbered two (2) through six (6), is hereby ORDERED.




      DATED: August 25, 2023




1
    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
    proposed claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera
    Technologies, Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is:
    2333 Ponce de Leon Boulevard, Ste. 900, Coral Gables, Florida 33134.
Case 23-14853-JKS              Doc 810
                                   463 Filed 12/18/23
                                             08/25/23 Entered 12/18/23
                                                                08/28/23 14:55:53
                                                                         09:27:33                         Desc Main
                                      Document
                                       Document Page
                                                   Page17
                                                        2 of
                                                          of 685



           Upon the application (the “Application”) 2 of the Official Committee of Unsecured

Creditors (the “Committee”) appointed in the chapter 11 cases of the above-captioned debtors and

debtors in possession (collectively, the “Debtors”), for entry of an order pursuant to sections 328,

and 1103 of title 11 of the United States Code (the “Bankruptcy Code”), authorizing the

employment and retention of Alvarez & Marsal North America, LLC together with employees of

its affiliates (all of which are wholly-owned by its parent company and employees), its wholly

owned subsidiaries, and independent contractors (collectively, “A&M”), as financial advisor to

the Committee, effective as of June 27, 2023, and upon the Newman Declaration; and due and

adequate notice of the Application having been given; and it appearing that no other notice need

be given; and it appearing that A&M does not represent any adverse interest in connection with

these cases; and it appearing that the relief requested in the Application is in the best interest of

the Committee; it is hereby

           ORDERED that:

           1.       The Application is approved as set forth therein.

           2.       In accordance with Bankruptcy Code sections 328 and 1103, the Committee is

authorized to employ and retain A&M effective as of June 27, 2023, as its financial advisor on the

terms set forth in the Application without the need for any further action on the part of A&M or

the Committee to document such retention.

           3.       The terms of A&M’s engagement, as set forth in the Application, including, without

limitation, the compensation provisions and the indemnification provisions, are reasonable terms

and conditions of employment and are hereby approved. However, the Debtors’ obligations to




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    Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the Application.

                                                          -2-
DOCS_DE:243957.4 16381/002
Case 23-14853-JKS             Doc 810
                                  463 Filed 12/18/23
                                            08/25/23 Entered 12/18/23
                                                               08/28/23 14:55:53
                                                                        09:27:33             Desc Main
                                     Document
                                      Document Page
                                                  Page18
                                                       3 of
                                                         of 685



indemnify A&M pursuant to the indemnification provisions included in the Application are subject

to the following:

                 (a)         all requests by A&M for the payment of indemnification as set forth in this

Order shall be made by means of an application to the Court and shall be subject to review by the

Court to ensure that payment of such indemnity conforms to the terms of the Application and this

Order and is reasonable under the circumstances of the litigation or settlement in respect of which

indemnity is sought; provided, however, that in no event shall A&M be indemnified if the Debtors

or a representative of the estate, asserts a claim for, and a court determines by final order (which

final order is no longer subject to appeal) that such claim arose out of A&M’s own bad faith, self-

dealing, breach of fiduciary duty, fraud, gross negligence or willful misconduct; and

                 (b)         in no event shall A&M be indemnified for any claim that either (i) a court

determines by final order (which final order is no longer subject to appeal) that such claim arose

out of A&M’s own bad faith, self-dealing, breach of fiduciary duty (if any), fraud, gross

negligence, or willful misconduct; (ii) for a contractual dispute in which the Debtors allege the

breach of an indemnified party’s contractual obligations if the Court determines that

indemnification, contribution or reimbursement would not be permissible pursuant to In re United

Artists Theatre Company, 315 F.3d 217 (3d Cir. 2003); or (iii) the claim is settled prior to a judicial

determination as to clauses (i) or (ii), but is determined by this Court, after notice and a hearing

pursuant to terms of the Application and this Order, to be a claim or expense for which A&M is

not entitled to receive indemnity under the terms of the Application and this Order; and

                 (c)         in the event A&M seeks reimbursement from the Debtors for attorneys’ fees

and expenses in connection with the payment of an indemnity claim pursuant to this Order, the

invoices and supporting time records from such attorneys shall be included in A&M’s own


                                                     -3-
DOCS_DE:243957.4 16381/002
Case 23-14853-JKS            Doc 810
                                 463 Filed 12/18/23
                                           08/25/23 Entered 12/18/23
                                                              08/28/23 14:55:53
                                                                       09:27:33         Desc Main
                                    Document
                                     Document Page
                                                 Page19
                                                      4 of
                                                        of 685



applications, both interim and final, and such invoices and time records shall be subject to the

United States Trustee’s Guidelines for compensation and reimbursement of expenses and the

approval of the Court pursuant to sections 330 and 331 of the Bankruptcy Code without regard to

whether such attorneys have been retained under section 327 of the Bankruptcy Code and without

regard to whether such attorneys’ services satisfy section 330(a)(3)(C) of the Bankruptcy Code.

        4.       All parties-in-interest shall retain the right to object to (1) any demand by the

indemnified parties for indemnification, contribution, or reimbursement; and (2) any request for

reimbursement of legal fees of A&M’s independent legal counsel.

        5.       A&M shall file applications for interim and final allowance of compensation and

reimbursement of expenses pursuant to the procedures set forth in Bankruptcy Code sections 330

and 331, such Bankruptcy Rules as may then be applicable, the Local Bankruptcy Rules, the

Guidelines, and the Court’s Interim Compensation Order and any amendments or modifications

thereto.

        6.       A&M will keep its time records in tenth-of-an-hour increments in accordance with

Local Rule 2016-1 of this Court and shall otherwise comply with the requirements of that Local

Rule, as well as Bankruptcy Rule 2016(a), and the United States Trustee Fee Guidelines.

        7.       A&M will only bill 50% for non-working travel.

        8.       Notwithstanding any other provision in this Order, the U.S. Trustee shall have the

right to object to A&M’s request(s) for interim and final compensation and reimbursement based

on the reasonableness standard provided in section 330 of the Bankruptcy Code rather than section

328(a) of the Bankruptcy Code. This Order and the record relating to the Court’s consideration of

the Application shall not prejudice or otherwise affect the rights of the U.S. Trustee to challenge

the reasonableness of A&M’s fees under the standard set forth in the preceding sentence.


                                                -4-
DOCS_DE:243957.4 16381/002
Case 23-14853-JKS            Doc 810
                                 463 Filed 12/18/23
                                           08/25/23 Entered 12/18/23
                                                              08/28/23 14:55:53
                                                                       09:27:33          Desc Main
                                    Document
                                     Document Page
                                                 Page20
                                                      5 of
                                                        of 685



Accordingly, nothing in this Order or the record shall constitute a finding of fact or conclusion of

law binding on the U.S. Trustee, on appeal or otherwise, with respect to the reasonableness of

A&M’s fees.

        9.       Notwithstanding anything in the Application to the contrary and for the avoidance

of doubt, A&M will not be entitled to recover attorneys’ fees or expenses for defending its fee

applications in these Chapter 11 Cases.

        10.      The Committee will coordinate with A&M and its other retained professionals to

minimize unnecessary duplication of the services provided by any of its retained professionals.

        11.      Prior to charging any increases in its hourly rates, A&M shall provide ten (10)

business days’ notice of any such increases to the Debtors, the U.S. Trustee, and the Committee,

and shall file such notice with the Court. The U.S. Trustee retains all rights to object to any rate

increase on all grounds, including the reasonableness standard set forth in section 330 of the

Bankruptcy Code, and the Court retains the right to review any rate increase pursuant to section

330 of the Bankruptcy Code

        12.      To the extent that there may be any inconsistency between the terms of the

Application and this Order, the terms of this Order shall govern.

        13.      The Committee and A&M are authorized to take all actions necessary to effectuate

the relief granted pursuant to this Order in accordance with the Application.

        14.      The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

        15.      Notice of the Application as provided therein is deemed to be good and sufficient

notice of such Application, and the requirements of the Bankruptcy Rules and the Local

Bankruptcy Rules are satisfied by the Application.


                                                -5-
DOCS_DE:243957.4 16381/002
Case 23-14853-JKS            Doc 810
                                 463 Filed 12/18/23
                                           08/25/23 Entered 12/18/23
                                                              08/28/23 14:55:53
                                                                       09:27:33             Desc Main
                                    Document
                                     Document Page
                                                 Page21
                                                      6 of
                                                        of 685



        16.      This Court shall retain jurisdiction with respect to all matters arising or related to

the implementation of this Order and A&M’s services for the Committee.




                                                 -6-
DOCS_DE:243957.4 16381/002
Case 23-14853-JKS   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                           Document    Page 22 of 85




                               EXHIBIT B
                      ITEMIZED DAILY TIME RECORDS
         FOR THE PERIOD OF JUNE 27, 2023, THROUGH OCTOBER 31, 2023
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                     Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 23et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description

Asset Sales
Newman, Richard     6/27/2023    0.6    Review bid procedures

Waschitz, Seth      6/28/2023    1.1    Review bid procedures motion re: issues list development

Newman, Richard     6/29/2023    1.0    Review prepetition LOIs

Waschitz, Seth      6/29/2023    0.9    Review LOIs

Newman, Richard     6/29/2023    0.7    Review CIM re: asset sale

Hill, Michael       6/29/2023    0.2    Review data room contents re: CIMs

Newman, Richard     6/29/2023    0.1    Correspond with A&M real estate team re: LOIs

Waschitz, Seth      7/5/2023     0.2    Prepare sale process tracker

Newman, Richard     7/6/2023     0.2    Review and edit sale process tracker

Waschitz, Seth      7/7/2023     0.2    Correspond with UCC counsel re: buyer outreach list

Gonzalez, Andrea    7/7/2023     0.1    Review correspondence from UCC counsel re: potential bidder

Scott, Tom          7/7/2023     0.3    Correspond with A&M team re: bids received

Newman, Richard     7/10/2023    0.8    Prepare summary bid presentation

Waschitz, Seth      7/10/2023    0.8    Review bids received re: asset sale

Hill, Michael       7/10/2023    0.8    Update due diligence request list re: asset sale

Newman, Richard     7/10/2023    0.3    Review bids received re: asset sale

Gonzalez, Andrea    7/10/2023    0.2    Review non-binding offers re: asset sale

Newman, Richard     7/10/2023    0.1    Correspond with Debtors' professionals re: bids

Newman, Richard     7/10/2023    0.1    Correspond with Debtors' professionals re: bids

Drissen, Philipp    7/11/2023    1.7    Prepare bid and CIM summary

Vaid, Hameer        7/11/2023    1.1    Participate on call with A&M team (Newman, Holsomback, Drissen) re: bids received

Newman, Richard     7/11/2023    1.1    Participate on call with A&M team (Drissen, Holsomback, Vaid) re: bids received

Drissen, Philipp    7/11/2023    1.1    Participate on call with A&M team (Newman, Holsomback, Vaid) re: bids received

Holsomback, Hunt    7/11/2023    1.1    Participate on call with A&M team (Newman, Drissen, Vaid) re: bids received

Newman, Richard     7/11/2023    0.8    Compare leases in bids received

Holsomback, Hunt    7/11/2023    0.6    Review data room contents re: CIM / bids

Gonzalez, Andrea    7/11/2023    0.5    Participate on call with Debtors' professionals and A&M team (Newman, Domfeh, Waschitz) re: bids received

Newman, Richard     7/11/2023    0.5    Participate on call with Debtors' professionals and A&M team (Newman, Domfeh, Waschitz) re: bids received

Waschitz, Seth      7/11/2023    0.5    Participate on call with Debtors' professionals and A&M team (Newman, Domfeh, Waschitz) re: bids received

Domfeh, Kofi        7/11/2023    0.5    Participate on call with Debtors' professionals and A&M team (Newman, Domfeh, Waschitz) re: bids received

Newman, Richard     7/11/2023    0.5    Analyze EBITDA multiples re: bids received

Holsomback, Hunt    7/11/2023    0.5    Analyze bids re: assets sale

Gonzalez, Andrea    7/11/2023    0.3    Review summary of bids received

Waschitz, Seth      7/11/2023    0.3    Update summary of bids received

Newman, Richard     7/11/2023    0.2    Update summary bid presentation

Newman, Richard     7/11/2023    0.2    Review asset sale bids re: lease overlap

Newman, Richard     7/11/2023    0.1    Correspond with UCC counsel re: sale process

Scott, Tom          7/11/2023    0.7    Analyze bids received re: value identification

Drissen, Philipp    7/12/2023    2.0    Analyze comparable data-centers re: revenue multiples

Drissen, Philipp    7/12/2023    1.0    Analyze comparable data-centers re: EBITDA multiples

Vaid, Hameer        7/12/2023    1.8    Prepare bid analysis re: asset sale

Drissen, Philipp    7/12/2023    0.5    Prepare summary analysis re: bids received

Waschitz, Seth      7/12/2023    0.4    Participate on call with Debtors and A&M team (Newman, Drissen, Holsomback, Domfeh, Gonzalez) re: sale process update

Drissen, Philipp    7/12/2023    0.4    Participate on call with Debtors and A&M team (Newman, Waschitz, Holsomback, Domfeh, Gonzalez) re: sale process update

Holsomback, Hunt    7/12/2023    0.4    Participate on call with Debtors and A&M team (Newman, Drissen, Waschitz, Domfeh, Gonzalez) re: sale process update

Domfeh, Kofi        7/12/2023    0.4    Participate on call with Debtors and A&M team (Newman, Drissen, Holsomback, Waschitz, Gonzalez) re: sale process update

                                                                                         Page 1 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                       Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 24et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Gonzalez, Andrea    7/12/2023    0.4    Participate on call with Debtors and A&M team (Newman, Drissen, Holsomback, Domfeh, Waschitz) re: sale process update

Newman, Richard     7/12/2023    0.4    Participate on call with Debtors and A&M team (Waschitz, Drissen, Holsomback, Domfeh, Gonzalez) re: sale process update

Gonzalez, Andrea    7/12/2023    0.4    Review financials of potential bidder

Newman, Richard     7/12/2023    0.4    Review additional bid materials

Waschitz, Seth      7/12/2023    0.2    Review potential bidder qualifications

Vaid, Hameer        7/13/2023    1.5    Update bid and CIM summary

Drissen, Philipp    7/13/2023    0.3    Correspond with A&M team re: bid economics

Newman, Richard     7/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Gonzalez, Drissen, Domfeh) re: sale update

Gonzalez, Andrea    7/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Drissen, Newman, Domfeh) re: sale update

Drissen, Philipp    7/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Gonzalez, Newman, Domfeh) re: sale update

Domfeh, Kofi        7/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Gonzalez, Newman, Drissen) re: sale update

Newman, Richard     7/13/2023    0.1    Prepare sale update for UCC counsel

Hill, Michael       7/18/2023    1.2    Review proposed leases re: received bids

Scott, Tom          7/18/2023    1.0    Research bidders re: asset sale

Newman, Richard     7/19/2023    0.4    Prepare responses to Committee member questions re: sale process

Gonzalez, Andrea    7/20/2023    0.4    Participate on a call with Debtors' professionals and A&M team (Newman, Waschitz) re: sale process

Newman, Richard     7/20/2023    0.4    Participate on a call with Debtors' professionals and A&M team (Gonzalez, Waschitz) re: sale process

Waschitz, Seth      7/20/2023    0.4    Participate on a call with Debtors' professionals and A&M team (Newman, Gonzalez) re: sale process

Scott, Tom          7/21/2023    1.0    Reseach asset sale structuring options

Newman, Richard     7/25/2023    0.1    Correspond with Debtors' professionals re: sale process update

Scott, Tom          7/25/2023    0.2    Correspond with Debtors' professionals re: asset sale

Newman, Richard     7/26/2023    0.7    Review new LOI re: financial backing

Gonzalez, Andrea    7/26/2023    0.3    Review letter of intent re: asset sale

Waschitz, Seth      7/26/2023    0.2    Review new LOI

Waschitz, Seth      7/27/2023    0.2    Review correspondence with Debtors re: auction

Newman, Richard     7/28/2023    0.4    Participate on call with Debtors and A&M team (Waschitz, Hill) re: sale process updates

Hill, Michael       7/28/2023    0.4    Participate on call with Debtors and A&M team (Waschitz, Newman) re: sale process updates

Waschitz, Seth      7/28/2023    0.4    Participate on call with Debtors and A&M team (Newman, Hill) re: sale process updates

Hill, Michael       7/28/2023    0.4    Review new LOI

Newman, Richard     7/28/2023    0.1    Correspond with UCC counsel re: sale process

Newman, Richard     7/28/2023    0.1    Review new LOI re: leases assumed

Newman, Richard     7/28/2023    0.2    Participate on call with A&M team (Holsomback) re: received bids

Scott, Tom          7/28/2023    0.6    Update real estate presentation re: sale process overview

Scott, Tom          7/28/2023    0.2    Correspond with Debtors' professionals re: asset questions

Holsomback, Hunt    7/31/2023    0.2    Participate on call with A&M team (Newman) re: received bids

Newman, Richard     7/31/2023    0.2    Participate on call with UCC counsel re: sale timeline

Hill, Michael       8/1/2023     1.2    Prepare sale milestones tracker

Rovitz, Alec        8/1/2023     0.4    Update sales milestones tracker

Newman, Richard     8/4/2023     0.3    Review sale process and Plan timeline

Newman, Richard     8/7/2023     0.1    Correspond with Debtors' professionals re: sale process

Scott, Tom          8/8/2023     1.2    Review real estate assets by region

Newman, Richard     8/8/2023     0.5    Review historical acquisitions of potential bidders

Scott, Tom          8/9/2023     0.3    Correspond with A&M team re: foreign real estate assets

Scott, Tom          8/9/2023     0.4    Participate on call with Debtors' professionals and A&M team (Newman, Gonzalez, Domfeh) re: sales update

Gonzalez, Andrea    8/9/2023     0.4    Participate on call with Debtors' professionals and A&M team (Newman, Scott, Domfeh) re: sales update

Newman, Richard     8/9/2023     0.4    Participate on call with Debtors' professionals and A&M team (Scott, Gonzalez, Domfeh) re: sales update

Domfeh, Kofi        8/9/2023     0.4    Participate on call with Debtors' professionals and A&M team (Newman, Gonzalez, Scott) re: sales update

Newman, Richard     8/9/2023     0.4    Participate on call with Debtors and A&M team (Waschitz) re: sale process updates
                                                                                    Page 2 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                      Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 25et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Waschitz, Seth       8/9/2023     0.4    Participate on call with Debtors and A&M team (Newman) re: sale process updates

Newman, Richard      8/14/2023    0.3    Participate on call with A&M team (Singh) re: bidder summary

Singh, Kabir         8/14/2023    0.3    Participate on call with A&M team (Newman) re: bidder summary

Singh, Kabir         8/14/2023    2.1    Research potential bidders re: acquisitions

Singh, Kabir         8/14/2023    1.3    Research potential bidders re: data center locations

Newman, Richard      8/14/2023    1.0    Review potential bidders annual reports

Newman, Richard      8/14/2023    0.8    Review potential bidders financial statements

Newman, Richard      8/14/2023    0.3    Review summary of bidders re: asset sale

Waschitz, Seth       8/14/2023    0.2    Correspond with UCC counsel re: sale process update

Newman, Richard      8/14/2023    0.1    Correspond with Committee re: sale process

Newman, Richard      8/15/2023    0.1    Correspond with Debtors' professionals re: sale process

Waschitz, Seth       8/16/2023    0.4    Correspond with UCC counsel re: sale process update

Waschitz, Seth       8/16/2023    0.4    Review revised LOI

Gonzalez, Andrea     8/16/2023    0.3    Review updated LOI re: potential bidder

Newman, Richard      8/16/2023    0.2    Participate on call with Debtors' professionals re: sale process

Newman, Richard      8/16/2023    0.2    Review revised LOI re: potential bidder

Newman, Richard      8/16/2023    0.1    Correspond with A&M team re: sale process updates

Newman, Richard      8/16/2023    0.1    Compare received LOIs re: potential bidder

Newman, Richard      8/16/2023    0.1    Correspond with UCC counsel re: potential bidder LOI

Newman, Richard      8/18/2023    2.2    Review bidder asset purchase agreement

Newman, Richard      8/18/2023    0.7    Review revised LOI re: potential bidder

Newman, Richard      8/18/2023    0.6    Review summary of bid re: second potential bidder

Newman, Richard      8/18/2023    0.1    Correspond with UCC counsel re: sale process updates

Waschitz, Seth       8/19/2023    1.3    Review revised bid packages

Gonzalez, Andrea     8/19/2023    1.2    Review bids from third parties

Newman, Richard      8/20/2023    1.8    Review draft of asset purchase agreement disclosure schedules

Newman, Richard      8/20/2023    0.8    Prepare summary of potential bids / asset purchase agreement

Newman, Richard      8/20/2023    0.2    Correspond with UCC counsel re: asset purchase agreement

Newman, Richard      8/20/2023    0.1    Correspond with Debtors' professionals re: sale process

Newman, Richard      8/21/2023    0.3    Participate on call with A&M team (Waschitz) re: received bids

Waschitz, Seth       8/21/2023    0.3    Participate on call with A&M team (Newman) re: received bids

Waschitz, Seth       8/21/2023    1.9    Prepare summary of bids received

Newman, Richard      8/21/2023    1.5    Prepare issues list re: received bids

Hill, Michael        8/21/2023    0.6    Review asset purchase agreement

Hill, Michael        8/21/2023    0.6    Review updated LOI's re: potential bidder

Newman, Richard      8/21/2023    0.4    Review bidder asset purchase agreement

Newman, Richard      8/21/2023    0.1    Correspond with Debtors' professionals re: sale process

Gonzalez, Andrea     8/22/2023    0.4    Participate on call with Guggenheim and A&M team (Newman, Waschitz, Domfeh, Ashraf) re: sales update

Newman, Richard      8/22/2023    0.4    Participate on call with Guggenheim and A&M team (Gonzalez, Waschitz, Domfeh, Ashraf) re: sales update

Domfeh, Kofi         8/22/2023    0.4    Participate on call with Guggenheim and A&M team (Gonzalez, Waschitz, Newman, Ashraf) re: sales update

Waschitz, Seth       8/22/2023    0.4    Participate on call with Guggenheim and A&M team (Newman, Gonzalez, Domfeh, Ashraf) re: sales update

Ashraf, Farris       8/22/2023    0.4    Participate on call with Guggenheim and A&M team (Newman, Waschitz, Domfeh, Gonzalez) re: sales update

Newman, Richard      8/22/2023    0.3    Participate on call with Debtors' professionals and A&M team (Domfeh) re: sale process

Domfeh, Kofi         8/22/2023    0.3    Participate on call with Debtors' professionals and A&M team (Newman) re: sale process

Newman, Richard      8/22/2023    0.6    Review additional sale documents

Waschitz, Seth       8/22/2023    0.5    Participate on call with Debtors' professionals re: sale process updates

Newman, Richard      8/22/2023    0.3    Prepare sale process questions for Debtors' professionals

Newman, Richard      8/22/2023    0.3    Participate on call with Debtors' professionalsPage
                                                                                         re: sale process
                                                                                              3 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                         Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 26et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Scott, Tom          8/23/2023    0.5    Participate on call with A&M team (Newman, Vaid) re: asset sale

Vaid, Hameer        8/23/2023    0.5    Participate on call with A&M team (Newman, Scott) re: asset sale

Newman, Richard     8/23/2023    0.5    Participate on call with A&M team (Scott, Vaid) re: asset sale

Newman, Richard     8/25/2023    0.1    Correspond with Debtors' professionals re: sale process

Newman, Richard     8/28/2023    0.1    Participate on call with Debtors' professionals re: sale update

Newman, Richard     8/29/2023    0.1    Participate on call with Debtors' professionals re: sale process

Waschitz, Seth      8/30/2023    0.4    Review revised bidder proposal / asset purchase agreement

Gonzalez, Andrea    8/30/2023    0.2    Review revised bidder LOIs

Waschitz, Seth      8/30/2023    0.1    Review notice of auction cancelation

Newman, Richard     8/31/2023    0.3    Review revised bidder asset purchase agreement

Newman, Richard     9/5/2023     0.3    Participate on call with Debtors' professionals and A&M team (Holsomback) re: sale process

Holsomback, Hunt    9/6/2023     0.3    Participate on call with Debtors' professionals and A&M team (Newman) re: sale process

Newman, Richard     9/6/2023     0.2    Review revised LOI

Gonzalez, Andrea    9/6/2023     0.2    Review updated asset sale bids

Waschitz, Seth      9/6/2023     0.3    Review revised LOI

Holsomback, Hunt    9/8/2023     0.2    Review revised asset sale bids

Newman, Richard     9/12/2023    0.5    Review summary sale negotiations re: bid / ask

Newman, Richard     9/12/2023    0.4    Review lender negotiations re: arguments

Newman, Richard     9/12/2023    0.4    Review updated company sale recovery forecast

Newman, Richard     9/12/2023    0.5    Update Committee presentation re: asset sale

Singh, Kabir        9/12/2023    0.7    Review real estates appraisals re: Colorado properties

Waschitz, Seth      9/12/2023    0.3    Review buyer response to key principles

Newman, Richard     9/13/2023    0.3    Prepare talking points for Committee call re: asset sale

Newman, Richard     9/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Domfeh) re: sale process

Domfeh, Kofi        9/13/2023    0.2    Participate on call with Debtors' professionals and A&M team (Newman) re: sale process

Newman, Richard     9/19/2023    0.6    Review potential purchasers re: data center acquisitions

Newman, Richard     9/20/2023    0.2    Review summary of bids

Newman, Richard     9/20/2023    0.2    Correspond with UCC counsel re: summary of bids

Singh, Kabir        9/20/2023    0.3    Review asset purchase agreement

Gonzalez, Andrea    9/20/2023    0.2    Review revised asset sale bids

Waschitz, Seth      9/20/2023    0.3    Review revised LOI

Hill, Michael       9/21/2023    0.7    Review asset sale bids

Newman, Richard     9/22/2023    0.1    Correspond with Debtors' professionals re: asset sale

Newman, Richard     9/24/2023    0.2    Review latest bid proposals

Hill, Michael       9/26/2023    0.8    Review updated bids

Newman, Richard     9/28/2023    0.2    Correspond with UCC counsel and Debtors' professionals re: Cologix sale

Singh, Kabir        10/3/2023    1.0    Review revised asset purchase agreement

Newman, Richard     10/3/2023    0.3    Review revised bid from third party

Newman, Richard     10/3/2023    0.1    Correspond with UCC counsel re: revised bid

Newman, Richard     10/3/2023    1.4    Review asset purchase agreement

Newman, Richard     10/3/2023    1.2    Review proposed asset purchase agreement re: Canadian leases

Domfeh, Kofi        10/4/2023    2.1    Analyze cologix asset purchase agreement

Domfeh, Kofi        10/4/2023    1.4    Analyze asset purchase agreement re: purchase price adjustments

Newman, Richard     10/4/2023    0.4    Participate on call with UCC counsel, potential buyer, and A&M team (Domfeh) re: asset purchase agreement

Domfeh, Kofi        10/4/2023    0.4    Participate on call with UCC counsel, potential buyer, and A&M team (Newman) re: asset purchase agreement

Newman, Richard     10/4/2023    0.1    Correspond with A&M team re: asset purchase agreement

Hill, Michael       10/9/2023    1.3    Review updated asset purchase agreement

Hill, Michael       10/9/2023    0.8    Review updated asset purchase agreement re: Page
                                                                                    UK analysis
                                                                                         4 of 55
                 Case 23-14853-JKS           Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                            Desc Main   Exhibit B
                                                    Document         PageINC.,
                                                       CYXTERA TECHNOLOGIES, 27et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date      Hours   Time Description
Hill, Michael        10/9/2023     0.6    Review updated asset purchase agreement re: working capital adjustments

Newman, Richard      10/9/2023     0.5    Review lender's redlines to asset purchase agreement

Newman, Richard      10/9/2023     0.6    Prepare asset purchase agreement diligence for Guggenheim

Hill, Michael        10/10/2023    1.4    Review updated asset purchase agreement re: wind-down budget assumptions

Domfeh, Kofi         10/10/2023    2.3    Analyze updated purchase and sale agreement

Singh, Kabir         10/11/2023    0.2    Review updated business plan analysis

Newman, Richard      10/24/2023    0.6    Review redline of asset purchase agreement

Hill, Michael        10/25/2023    1.3    Review updated asset purchase agreement

Newman, Richard      10/25/2023    0.2    Participate on call with Debtors' professionals re: asset purchase agreement

Newman, Richard      10/25/2023    0.1    Correspond with UCC counsel re: asset purchase agreement

Newman, Richard      10/27/2023    0.1    Correspond with UCC counsel re: asset purchase agreement

Subtotal                          105.8



Business Plan
Newman, Richard      7/1/2023      1.2    Review business plan drivers re: bookings

Waschitz, Seth       7/5/2023      0.3    Review business plan re: liquidity

Waschitz, Seth       7/7/2023      2.5    Review revised business plan model

Domfeh, Kofi         7/10/2023     2.3    Analyze business plan re: forecast assumptions

Domfeh, Kofi         7/10/2023     1.8    Analyze business plan re: cost assumptions

Domfeh, Kofi         7/10/2023     1.7    Analyze business plan re: revenue assumptions

Domfeh, Kofi         7/10/2023     1.2    Analyze business plan re: drivers

Newman, Richard      7/10/2023     0.9    Analyzed revised business plan model

Gonzalez, Andrea     7/10/2023     0.2    Prepare business plan presentation

Domfeh, Kofi         7/11/2023     1.9    Prepare business plan presentation re: summary of Debtors by entity

Newman, Richard      7/13/2023     0.3    Review business plan re: free cash flow calculations

Newman, Richard      7/24/2023     0.8    Review Cyxtera growth strategies re: anticipated CapEx spend

Hill, Michael        7/28/2023     1.7    Update business plan model re: historical financials

Hill, Michael        7/28/2023     1.2    Update business plan model re: transaction drivers

Newman, Richard      7/28/2023     1.0    Review potential upside to business plan re: CapEx spend

Newman, Richard      7/28/2023     0.6    Review business plan model re: bookings build forecast

Newman, Richard      7/28/2023     0.5    Prepare business plan questions re: projected bookings

Newman, Richard      7/28/2023     0.5    Review historical CapEx spend re: west coast site

Newman, Richard      7/28/2023     0.4    Coordinate review of business plan

Waschitz, Seth       7/30/2023     0.2    Review and edit business plan presentation

Domfeh, Kofi         7/31/2023     2.0    Review and edit business plan presentation

Hill, Michael        7/31/2023     1.8    Review business plan model re: sensitivities

Newman, Richard      7/31/2023     1.1    Review and edit business plan question list

Newman, Richard      7/31/2023     0.3    Review and edit revised business plan presentation

Ashraf, Farris       8/1/2023      2.9    Review business plan re: financial projections

Domfeh, Kofi         8/1/2023      2.3    Analyze business plan re: model drivers

Domfeh, Kofi         8/1/2023      1.8    Analyze business plan re: revenue bookings assumptions

Domfeh, Kofi         8/1/2023      1.7    Analyze business plan re: historical annual reports

Domfeh, Kofi         8/1/2023      1.7    Analyze business plan re: historical trend of revenue drivers

Ashraf, Farris       8/1/2023      1.6    Review business plan re: key drivers

Rovitz, Alec         8/1/2023      1.2    Analyze business plan re: churn rate

Newman, Richard      8/1/2023      0.9    Review business plan re: MW capacity forecast

Newman, Richard      8/1/2023      0.8    Review business plan re: cost of revenue assumption

Newman, Richard      8/1/2023      0.8    Review public data center competitors
                                                                                         Page 5 of 55
                 Case 23-14853-JKS         Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                               Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 28et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date    Hours   Time Description
Newman, Richard      8/1/2023    0.5    Direct A&M team to prepare comparable companies analysis

Newman, Richard      8/1/2023    0.5    Review business plan outline

Newman, Richard      8/1/2023    0.4    Review competitive intelligence

Newman, Richard      8/1/2023    0.3    Review comparable companies analysis re: forward margin data

Ashraf, Farris       8/2/2023    2.8    Review business plan financials

Ashraf, Farris       8/2/2023    2.7    Analyze business plan re: operating cost forecast

Domfeh, Kofi         8/2/2023    2.3    Analyze business plan re: revenue forecast

Rovitz, Alec         8/2/2023    2.1    Analyze business plan re: maintenance CAPEX

Domfeh, Kofi         8/2/2023    1.2    Analyze business plan re: deferred costs

Domfeh, Kofi         8/2/2023    0.9    Analyze business plan re: operating cost forecast

Newman, Richard      8/2/2023    0.4    Review equity research reports re: industry analysis overviews

Ashraf, Farris       8/3/2023    2.9    Analyze business plan re: reoccurring revenue

Ashraf, Farris       8/3/2023    2.1    Review business plan projections

Domfeh, Kofi         8/3/2023    1.8    Analyze business plan re: working capital

Ashraf, Farris       8/3/2023    1.8    Review business plan re: EBITDA adjustments

Domfeh, Kofi         8/3/2023    1.7    Analyze business plan re: balance sheet forecast

Singh, Kabir         8/3/2023    1.6    Research investor presentations re: comparable companies analysis

Newman, Richard      8/3/2023    1.2    Investigate business plan opportunities re: data center artificial intelligence

Ashraf, Farris       8/3/2023    1.0    Review updated business plan financials

Newman, Richard      8/3/2023    0.9    Review competitors' investor day transcripts

Newman, Richard      8/3/2023    0.9    Revise comparable companies analysis

Singh, Kabir         8/3/2023    0.6    Prepare Committee presentation re: comparable companies analysis

Newman, Richard      8/3/2023    0.4    Coordinate competitive intelligence analysis

Ashraf, Farris       8/4/2023    2.9    Review business plan presentation re: EBITDA bridge

Domfeh, Kofi         8/4/2023    2.7    Analyze business plan re: financing cash flows

Ashraf, Farris       8/4/2023    2.4    Analyze business plan model output

Domfeh, Kofi         8/4/2023    2.1    Analyze business plan re: lease obligations

Singh, Kabir         8/4/2023    1.8    Prepare business plan presentation re: top 20 customers / revenue generation

Ashraf, Farris       8/4/2023    1.7    Review business plan re: lease rejection considerations

Rovitz, Alec         8/4/2023    1.4    Update business plan re: contract structure assumptions

Ashraf, Farris       8/4/2023    1.4    Review lenders business plan presentation

Rovitz, Alec         8/4/2023    0.9    Review business plan re: net bookings

Domfeh, Kofi         8/4/2023    0.9    Analyze business plan re: operating cash flows forecast

Singh, Kabir         8/4/2023    0.9    Research JLL and Newmark presentations

Newman, Richard      8/4/2023    0.5    Prepare customer analysis outline

Newman, Richard      8/4/2023    0.4    Review capital structure presentation

Newman, Richard      8/4/2023    0.3    Coordinate business plan question list

Singh, Kabir         8/4/2023    0.3    Analyze top 20 customers / revenue generation

Newman, Richard      8/4/2023    0.2    Update business plan question list re: stub rent

Rovitz, Alec         8/5/2023    0.9    Review lender business plan presentation

Rovitz, Alec         8/5/2023    0.7    Review updated business plan re: lease rejecion adjustments

Newman, Richard      8/5/2023    0.4    Review JLL and Newmark research presentations

Rovitz, Alec         8/6/2023    1.6    Update business plan presentation re: transactions drivers

Rovitz, Alec         8/6/2023    1.4    Update business plan presentation re: revenue assumptions

Ashraf, Farris       8/7/2023    2.4    Review updated business plan re: transaction drivers

Domfeh, Kofi         8/7/2023    2.2    Analyze business plan re: free cash flow bridge

Ashraf, Farris       8/7/2023    1.8    Review updated business plan re: P&L summary

Domfeh, Kofi         8/7/2023    1.7    Review lender business plan presentation        Page 6 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                          Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 29et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Domfeh, Kofi         8/7/2023     1.7    Analyze business plan re: EBITDA bridge

Ashraf, Farris       8/7/2023     1.7    Review updated business plan re: bookings projections

Domfeh, Kofi         8/7/2023     1.6    Review updated business plan presentation

Ashraf, Farris       8/7/2023     1.4    Review updated business plan re: accounting & tax schedules

Domfeh, Kofi         8/7/2023     0.9    Analyze business plan re: pro forma capital structure

Ashraf, Farris       8/8/2023     2.9    Review business plan financials

Domfeh, Kofi         8/8/2023     2.6    Analyze business plan re: updated cost assumptions

Ashraf, Farris       8/8/2023     2.5    Update due diligence request list re: business plan

Domfeh, Kofi         8/8/2023     2.2    Analyze business plan re: free cash flow adjustments

Domfeh, Kofi         8/8/2023     2.0    Analyze business plan re: accounting and tax schedules

Ashraf, Farris       8/8/2023     2.0    Analyze updated business plan re: EBITDA adjustments

Newman, Richard      8/8/2023     1.1    Analyze ownership vs. lease agreement re: portfolio considerations

Domfeh, Kofi         8/8/2023     0.7    Analyze business plan re: bankruptcy considerations

Newman, Richard      8/8/2023     0.1    Direct A&M team to prepare business plan diligence

Ashraf, Farris       8/9/2023     2.8    Review lenders business plan presentation

Domfeh, Kofi         8/9/2023     1.6    Analyze business plan forecast

Newman, Richard      8/9/2023     0.2    Direct A&M team to prepare business plan presentation

Waschitz, Seth       8/9/2023     0.2    Review business plan due diligence request list

Newman, Richard      8/10/2023    0.8    Prepare questions for UCC counsel re: business plan review

Newman, Richard      8/10/2023    0.5    Prepare additional due diligence request list questions re: business plan

Newman, Richard      8/10/2023    0.5    Review unencumbered assets

Newman, Richard      8/15/2023    0.2    Correspond with A&M team re: data center artificial intelligence

Newman, Richard      8/18/2023    0.1    Review comparable companies analysis re: Digital Realty

Newman, Richard      8/27/2023    0.5    Review Debtors' business plan supplements to lenders

Rovitz, Alec         8/28/2023    2.6    Update business plan presentation re: bookings forecast

Newman, Richard      8/28/2023    0.5    Coordinate business plan review workstream

Rovitz, Alec         8/29/2023    2.3    Update business plan presentation re: EBITDA adjustments

Rovitz, Alec         8/30/2023    2.9    Update business plan presentation re: debt schedule

Singh, Kabir         8/30/2023    2.6    Update business plan presentation re: key metrics

Hill, Michael        8/30/2023    1.9    Review business plan re: model assumptions

Hill, Michael        8/30/2023    1.6    Update business plan presentation re: summary overview

Ashraf, Farris       8/30/2023    0.6    Update business plan re: appendix

Newman, Richard      8/30/2023    0.3    Coordinate outstanding items for business plan review

Hill, Michael        8/31/2023    0.9    Update business plan presentation re: scenario analysis

Singh, Kabir         8/31/2023    0.4    Update business plan presentation re: revenue summary

Singh, Kabir         8/31/2023    0.2    Update due diligence request list re: trial balances

Hill, Michael        9/1/2023     1.2    Prepare business plan presentation re: financial summary

Hill, Michael        9/1/2023     0.9    Review business plan presentation re: cash flow statement

Hill, Michael        9/1/2023     2.4    Prepare business plan presentation re: key drivers

Hill, Michael        9/1/2023     2.3    Prepare business plan presentation re: key assumptions

Singh, Kabir         9/1/2023     0.6    Review business plan re: cost of revenues

Singh, Kabir         9/1/2023     0.4    Review business plan re: capital expenditures

Newman, Richard      9/5/2023     0.4    Participate on call with A&M team (Hill, Singh) re: business plan review

Hill, Michael        9/5/2023     0.4    Participate on call with A&M team (Newman, Singh) re: business plan review

Singh, Kabir         9/5/2023     0.4    Participate on call with A&M team (Hill, Newman) re: business plan review

Singh, Kabir         9/5/2023     1.0    Review business plan re: capacity

Singh, Kabir         9/5/2023     0.5    Review business plan re: revenue assumptions

Singh, Kabir         9/5/2023     1.3    Review business plan re: cost drivers           Page 7 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                             Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 30et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Singh, Kabir         9/5/2023     0.5    Review business plan re: lender-led recap

Singh, Kabir         9/5/2023     0.3    Update business plan presentation re: appendices

Singh, Kabir         9/5/2023     0.4    Review business plan re: cash build-up

Singh, Kabir         9/5/2023     0.3    Review business plan re: global comment updates

Ashraf, Farris       9/5/2023     1.1    Prepare business plan analysis re: financial overview

Hill, Michael        9/6/2023     0.9    Participate in working session with A&M team (Ashraf, Singh) re: business plan review

Singh, Kabir         9/6/2023     0.9    Participate in working session with A&M team (Ashraf, Hill) re: business plan review

Ashraf, Farris       9/6/2023     0.5    Participate in working session with A&M team (Hill, Singh) re: business plan review (partial)

Hill, Michael        9/6/2023     0.9    Review business plan presentation re: cash flow statement

Singh, Kabir         9/6/2023     0.5    Update business plan presentation re: capital expenditures

Singh, Kabir         9/6/2023     0.7    Update business plan presentation re: executive summary

Singh, Kabir         9/6/2023     0.6    Update business plan presentation re: scenario analysis

Singh, Kabir         9/6/2023     1.4    Update business plan analysis re: updated financials

Singh, Kabir         9/6/2023     0.3    Update business plan analysis re: net cash flow

Ashraf, Farris       9/6/2023     2.8    Update business plan analysis re: revenue assumptions

Hill, Michael        9/7/2023     1.6    Review and edit business plan presentation re: key drivers

Hill, Michael        9/7/2023     1.7    Update business plan presentation re: business plan financials

Singh, Kabir         9/7/2023     0.7    Update business plan analysis re: revenue build-up

Ashraf, Farris       9/7/2023     1.3    Prepare business plan review workstreams

Hill, Michael        9/8/2023     1.6    Update business plan presentation re: revenue operation metrics

Hill, Michael        9/8/2023     1.7    Update business plan presentation re: cost of revenue

Hill, Michael        9/8/2023     1.4    Update business plan presentation re: operating expenditures

Hill, Michael        9/8/2023     0.8    Participate in working session with A&M team (Ashraf, Singh) re: business plan review

Singh, Kabir         9/8/2023     0.8    Participate in working session with A&M team (Ashraf, Singh) re: business plan review

Ashraf, Farris       9/8/2023     0.8    Participate in working session with A&M team (Ashraf, Singh) re: business plan review

Singh, Kabir         9/8/2023     0.9    Update business plan presentation re: reoccurring revenue

Singh, Kabir         9/8/2023     1.1    Update business plan analysis re: revenue assumptions

Singh, Kabir         9/8/2023     0.9    Update business plan analysis re: colocation revenue assumptions

Ashraf, Farris       9/8/2023     2.3    Update business plan analysis re: executive summary

Ashraf, Farris       9/8/2023     2.7    Update business plan analysis re: revenue assumptions

Rovitz, Alec         9/11/2023    2.9    Analyze business plan analysis re: key drivers

Hill, Michael        9/11/2023    1.7    Review business plan presentation re: summary overview

Hill, Michael        9/11/2023    1.2    Review business plan presentation re: revenue assumptions

Singh, Kabir         9/11/2023    1.2    Update business plan presentation re: revenue assumptions

Singh, Kabir         9/11/2023    0.9    Update business plan analysis re: bookings build

Singh, Kabir         9/11/2023    0.6    Reconcile business plan analysis projections

Ashraf, Farris       9/11/2023    2.7    Review and edit business plan analysis re: revenue assumptions

Ashraf, Farris       9/11/2023    2.8    Prepare business plan review summary re: revenue assumptions

Singh, Kabir         9/12/2023    0.5    Update business plan analysis re: management assumptions

Ashraf, Farris       9/13/2023    1.9    Compare updated business plan to prior business plan

Waschitz, Seth       9/13/2023    1.1    Review updated business plan model

Domfeh, Kofi         9/14/2023    2.6    Analyze business plan re: updated cash flow projections

Domfeh, Kofi         9/14/2023    2.1    Analyze business plan re: revenue assumptions

Ashraf, Farris       9/14/2023    2.1    Review business plan analysis re: EBITDA adjustments

Ashraf, Farris       9/14/2023    1.8    Review business plan analysis re: global comments

Ashraf, Farris       9/14/2023    1.9    Update business plan analysis re: cost assumptions

Ashraf, Farris       9/15/2023    2.5    Update business plan analysis re: SG&A assumptions

Ashraf, Farris       9/15/2023    2.4    Review lender presentation                       Page 8 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                       Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 31et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       9/15/2023    1.0    Review business plan analysis re: key drivers

Hill, Michael        9/18/2023    1.6    Review and edit business plan presentation

Singh, Kabir         9/18/2023    0.3    Review business plan re: cost of revenue assumptions

Singh, Kabir         9/18/2023    0.2    Review business plan re: KERP assumptions

Ashraf, Farris       9/18/2023    2.6    Update business plan analysis re: risks and opportunities

Ashraf, Farris       9/18/2023    2.8    Update business plan analysis re: key metrics

Ashraf, Farris       9/18/2023    2.9    Update business plan analysis re: key drivers

Newman, Richard      9/19/2023    0.5    Coordinate workstreams re: business plan sensitivity analysis

Hill, Michael        9/19/2023    1.2    Analyze business plan re: revenue sensitivities

Hill, Michael        9/19/2023    0.8    Analyze business plan re: EBITDA sensitivities

Hill, Michael        9/19/2023    0.9    Update business plan re: revenue sensitivities

Hill, Michael        9/19/2023    0.7    Update business plan re: EBITDA sensitivities

Singh, Kabir         9/19/2023    0.2    Update business plan analysis re: updated KERP assumptions

Singh, Kabir         9/19/2023    0.3    Update business plan presentation re: KERP assumptions

Newman, Richard      9/19/2023    0.4    Participate on call with A&M team (Domfeh) re: business plan

Domfeh, Kofi         9/19/2023    0.4    Participate on call with A&M team (Newman) re: business plan

Ashraf, Farris       9/19/2023    0.5    Participate on call with A&M team (Singh) re: business plan presentation

Singh, Kabir         9/19/2023    0.5    Participate on call with A&M team (Ashraf) re: business plan presentation

Ashraf, Farris       9/19/2023    1.7    Update business plan analysis re: financial summary

Ashraf, Farris       9/19/2023    2.9    Update business plan analysis re: free cash flow

Ashraf, Farris       9/19/2023    2.9    Update business plan analysis re: cost of revenue and SG&A

Hill, Michael        9/20/2023    0.8    Update business plan presentation re: key summary outputs

Rovitz, Alec         9/20/2023    1.2    Review business plan presentation re: free cash flow sensitivities

Hill, Michael        9/20/2023    1.0    Update business plan presentation re: revenue outputs

Singh, Kabir         9/20/2023    1.5    Update business plan review presentation re: KERP assumptions

Singh, Kabir         9/20/2023    0.6    Update business plan review presentation re: SG&A assumptions

Singh, Kabir         9/20/2023    0.4    Review business plan presentation re: cost of revenue assumptions

Singh, Kabir         9/20/2023    0.5    Update business plan analysis re: summary outputs

Hill, Michael        9/20/2023    0.4    Participate on call with A&M team (Ashraf, Singh) re: business plan review presentation

Singh, Kabir         9/20/2023    0.4    Participate on call with A&M team (Ashraf, Hill) re: business plan review presentation

Ashraf, Farris       9/20/2023    0.4    Participate on call with A&M team (Singh, Hill) re: business plan review presentation

Ashraf, Farris       9/20/2023    2.3    Update business plan analysis re: churn sensitivity

Ashraf, Farris       9/20/2023    2.6    Update business plan analysis re: bookings build

Ashraf, Farris       9/20/2023    1.1    Update business plan analysis re: interconnect revenue

Domfeh, Kofi         9/22/2023    1.6    Review business plan presentation

Domfeh, Kofi         9/22/2023    2.3    Analyze updated business plan analysis

Newman, Richard      9/25/2023    0.4    Update A&M workplan re: business plan sensitivities

Domfeh, Kofi         9/25/2023    2.7    Review and edit business plan presentation

Domfeh, Kofi         9/25/2023    2.8    Analyze Debtors' business plan sensitivities

Domfeh, Kofi         9/25/2023    0.9    Analyze Debtors' business plan presentation

Newman, Richard      9/25/2023    0.5    Participate on call with A&M team (Domfeh) re: business plan sensitivities

Domfeh, Kofi         9/25/2023    0.5    Participate on call with A&M team (Newman) re: business plan sensitivities

Hill, Michael        9/26/2023    1.1    Review business plan re: updated revenue sensitivities

Hill, Michael        9/26/2023    0.7    Review business plan re: updated EBITDA sensitivities

Hill, Michael        9/26/2023    0.6    Update business plan re: updated revenue sensitivities

Hill, Michael        9/26/2023    0.5    Update business plan re: updated EBITDA sensitivities

Singh, Kabir         9/26/2023    0.4    Update business plan analysis re: total bookings

Singh, Kabir         9/26/2023    0.3    Review business plan presentation re: escalators
                                                                                      Page 9 of 55
                 Case 23-14853-JKS           Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                         Desc Main   Exhibit B
                                                    Document         PageINC.,
                                                       CYXTERA TECHNOLOGIES, 32et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional            Date      Hours   Time Description
Singh, Kabir         9/26/2023     0.5    Review business plan presentation re: total churn

Domfeh, Kofi         9/26/2023     0.5    Review disclosure statement re: releases

Domfeh, Kofi         9/26/2023     1.8    Analyze business plan presentation re: revenue assumptions

Domfeh, Kofi         9/26/2023     1.7    Analyze business plan presentation re: cost of revenue assumptions

Domfeh, Kofi         9/26/2023     1.9    Analyze business plan presentation re: capital structure at emergence

Ashraf, Farris       9/26/2023     2.3    Update business plan review re: financial summary

Ashraf, Farris       9/26/2023     2.7    Update business plan review re: key drivers

Ashraf, Farris       9/26/2023     1.8    Analyze updated business plan analysis re: bookings / escalators

Domfeh, Kofi         9/27/2023     2.1    Update business plan analysis re: bookings sensitivities

Domfeh, Kofi         9/27/2023     2.4    Update business plan presentation re: revenue assumptions

Domfeh, Kofi         9/27/2023     2.1    Update business plan presentation re: capacity utilization

Ashraf, Farris       9/27/2023     2.8    Analyze business plan analysis re: escalator sensitivities

Ashraf, Farris       9/27/2023     2.7    Research comparable data center investments

Ashraf, Farris       9/27/2023     2.9    Prepare summary of comparable data center investments

Domfeh, Kofi         9/28/2023     2.2    Update business plan analysis re: bookings sensitivities

Domfeh, Kofi         9/28/2023     1.2    Update business plan analysis re: churn sensitivities

Domfeh, Kofi         9/28/2023     2.9    Review and edit business plan presentation

Domfeh, Kofi         9/29/2023     1.7    Update business plan presentation re: cost forecast summary

Domfeh, Kofi         9/29/2023     1.4    Update business plan presentation re: EBITDA sensitivity analyses

Domfeh, Kofi         9/29/2023     2.1    Analyze business plan presentation re: operating cash flows forecast

Domfeh, Kofi         9/29/2023     1.7    Update business plan presentation re: risks and opportunities summary

Ashraf, Farris       9/29/2023     1.4    Update business plan analysis re: Brookfield properties

Ashraf, Farris       10/2/2023     2.9    Prepare Brookfield acquisition history re: business plan

Domfeh, Kofi         10/2/2023     2.3    Prepare business plan presentation

Domfeh, Kofi         10/2/2023     2.8    Prepare utilization sensitivity analyses re: business plan

Domfeh, Kofi         10/3/2023     1.2    Participate on call with A&M team (Ashraf) re: business plan presentation

Ashraf, Farris       10/3/2023     1.2    Participate on call with A&M team (Domfeh) re: business plan presentation

Ashraf, Farris       10/3/2023     2.1    Prepare sensitivity analysis re: business plan

Ashraf, Farris       10/3/2023     2.1    Prepare business plan presentation re: executive summary

Domfeh, Kofi         10/3/2023     1.5    Update business plan presentation re: risks and opportunities

Domfeh, Kofi         10/3/2023     2.3    Analyze business plan analysis re: profitability adjustment

Ashraf, Farris       10/4/2023     2.3    Update business plan presentation re: appendix

Ashraf, Farris       10/4/2023     1.9    Update business plan presentation re: total revenue build up

Ashraf, Farris       10/5/2023     2.9    Update business plan presentation re: analyze costs structure

Ashraf, Farris       10/5/2023     1.1    Update business plan presentation re: analyze churn metrics

Domfeh, Kofi         10/5/2023     2.8    Prepare business plan sensitivity analysis re: churn

Domfeh, Kofi         10/5/2023     1.6    Review and edit business plan presentation

Ashraf, Farris       10/9/2023     2.4    Update business plan presentation re: costs metrics

Newman, Richard      10/9/2023     0.2    Coordinate business plan review

Desai, Bijal         10/10/2023    0.4    Review business plan presentation

Ashraf, Farris       10/10/2023    2.9    Update business plan presentation re: analyze revenue escalators

Ashraf, Farris       10/10/2023    2.5    Update business plan presentation re: global assumptions

Domfeh, Kofi         10/10/2023    1.9    Update business plan presentation

Domfeh, Kofi         10/10/2023    0.3    Participate on call with A&M team (Newman) re: business plan presentation

Newman, Richard      10/10/2023    0.3    Participate on call with A&M team (Domfeh) re: business plan presentation

Ashraf, Farris       10/11/2023    2.1    Update business plan presentation re: key operating metrics

Ashraf, Farris       10/11/2023    2.8    Update business plan presentation re: monthly recurring revenues

Hill, Michael        10/12/2023    0.6    Review business plan analysis re: non-recurring revenue analysis
                                                                                       Page 10 of 55
                 Case 23-14853-JKS            Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                   Desc Main   Exhibit B
                                                     Document         PageINC.,
                                                        CYXTERA TECHNOLOGIES, 33et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional             Date      Hours   Time Description
Ashraf, Farris        10/12/2023    2.2    Update business plan presentation re: ending cash balances

Domfeh, Kofi          10/12/2023    1.7    Review and edit business plan presentation

Domfeh, Kofi          10/12/2023    1.6    Analyze business plan presentation re: financial projections

Newman, Richard       10/12/2023    2.5    Review and edit business plan analysis

Waschitz, Seth        10/13/2023    0.3    Review business plan presentation

Singh, Kabir          10/16/2023    0.2    Review updated business plan presentation

Waschitz, Seth        10/16/2023    0.9    Review and edit business plan presentation

Waschitz, Seth        10/16/2023    0.2    Participate on call with A&M team (Newman) re: business plan presentation

Newman, Richard       10/16/2023    0.2    Participate on call with A&M team (Waschitz) re: business plan presentation

Domfeh, Kofi          10/16/2023    0.2    Participate on call with A&M team (Newman) re: business plan analysis

Newman, Richard       10/16/2023    0.2    Participate on call with A&M team (Domfeh) re: business plan analysis

Subtotal                           385.9


Case Administration
Newman, Richard       6/27/2023     0.6    Prepare A&M workplan

Waschitz, Seth        6/27/2023     0.7    Update A&M workplan

Newman, Richard       6/28/2023     0.2    Prepare for call with Debtors' professionals

Newman, Richard       6/28/2023     0.2    Participate on call with A&M team (Gonzalez, Waschitz, Domfeh) re: case workstreams

Waschitz, Seth        6/28/2023     0.2    Participate on call with A&M team (Newman, Gonzalez, Domfeh) re: case workstreams

Domfeh, Kofi          6/28/2023     0.2    Participate on call with A&M team (Newman, Waschitz, Gonzalez) re: case workstreams

Gonzalez, Andrea      6/28/2023     0.2    Participate on call with A&M team (Newman, Waschitz, Domfeh) re: case workstreams

Waschitz, Seth        6/28/2023     0.1    Correspond with Debtors re: data room access

Newman, Richard       6/29/2023     0.3    Participate on call with A&M team (Waschitz) re: outstanding workstreams

Waschitz, Seth        6/29/2023     0.3    Participate on call with A&M team (Newman) re: outstanding workstreams

Waschitz, Seth        6/29/2023     0.2    Review summary of data room contents

Hill, Michael         7/4/2023      0.3    Correspond with A&M team re: case updates

Rovitz, Alec          7/5/2023      0.9    Prepare weekly fee estimate for UCC

Waschitz, Seth        7/9/2023      0.2    Correspond with Debtors re: data room access

Newman, Richard       7/12/2023     0.3    Prepare notes for Committee call

Newman, Richard       7/13/2023     0.4    Correspond with A&M team re: additional workstreams

Waschitz, Seth        7/13/2023     0.3    Update A&M workplan with A&M team member (Newman)

Newman, Richard       7/17/2023     0.3    Update A&M workplan with A&M team member (Waschitz)

Newman, Richard       7/17/2023     0.2    Participate on call with A&M team (Waschitz, Gonzalez) re: workplan update

Gonzalez, Andrea      7/17/2023     0.2    Participate on call with A&M team (Waschitz, Newman) re: workplan update

Waschitz, Seth        7/17/2023     0.2    Participate on call with A&M team (Gonzalez, Newman) re: workplan update

Rovitz, Alec          7/19/2023     0.6    Prepare weekly fee estimate for UCC

Newman, Richard       7/21/2023     0.2    Coordinate presentation re: Committee call

Newman, Richard       7/21/2023     0.2    Prepare notes for Committee call

Newman, Richard       7/21/2023     0.1    Review Section 341 meeting notes

Waschitz, Seth        7/24/2023     0.3    Update A&M workplan

Gonzalez, Andrea      7/24/2023     0.2    Review notes from 341 creditor meeting

Newman, Richard       7/24/2023     0.2    Correspond with A&M team re: workstreams

Newman, Richard       7/25/2023     0.4    Participate on call with A&M team member (Waschitz) re: workplan

Waschitz, Seth        7/25/2023     0.4    Participate on call with A&M team member (Newman) re: workplan

Newman, Richard       7/28/2023     0.2    Prepare notes for call with Committee member

Hill, Michael         7/31/2023     0.2    Correspond with A&M team re: case updates

Newman, Richard       8/1/2023      0.2    Prepare workplan with A&M team member (Waschitz)

Waschitz, Seth        8/1/2023      0.2    Prepare workplan with A&M team member (Newman)

                                                                                          Page 11 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                 Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 34et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Newman, Richard      8/2/2023     0.2    Participate on call with A&M team (Waschitz) re: update work plan

Waschitz, Seth       8/2/2023     0.2    Participate on call with A&M team (Newman) re: update work plan

Rovitz, Alec         8/7/2023     0.6    Prepare weekly fee estimate

Rovitz, Alec         8/7/2023     0.5    Prepare weekly fee estimate

Newman, Richard      8/10/2023    0.2    Participate on call with A&M team (Waschitz) re: update workplan

Waschitz, Seth       8/10/2023    0.2    Participate on call with A&M team (Newman) re: update workplan

Ashraf, Farris       8/14/2023    0.8    Participate on call with A&M team (Newman, Gonzalez, Domfeh, Hill, Singh) re: case updates

Gonzalez, Andrea     8/14/2023    0.6    Participate on call with A&M team (Newman, Domfeh, Ashraf, Hill, Singh) re: case updates

Newman, Richard      8/14/2023    0.6    Participate on call with A&M team (Domfeh, Gonzalez, Ashraf, Hill, Singh) re: case updates

Domfeh, Kofi         8/14/2023    0.6    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Hill, Singh) re: case updates

Hill, Michael        8/14/2023    0.6    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Domfeh, Singh) re: case updates

Singh, Kabir         8/14/2023    0.6    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Hill, Domfeh) re: case updates

Rovitz, Alec         8/14/2023    0.6    Prepare weekly fee estimate

Newman, Richard      8/17/2023    0.2    Coordinate workstreams for A&M team

Gonzalez, Andrea     8/18/2023    0.5    Participate on call with A&M team (Newman, Domfeh, Ashraf, Hill, Singh) re: case updates

Newman, Richard      8/18/2023    0.5    Participate on call with A&M team (Domfeh, Gonzalez, Ashraf, Hill, Singh) re: case updates

Domfeh, Kofi         8/18/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Hill, Singh) re: case updates

Ashraf, Farris       8/18/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Domfeh, Hill, Singh) re: case updates

Hill, Michael        8/18/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Domfeh, Singh) re: case updates

Singh, Kabir         8/18/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Ashraf, Hill, Domfeh) re: case updates

Holsomback, Hunt     8/23/2023    0.5    Participate on call with A&M team (Scott, Newman) re: valuation workplan

Newman, Richard      8/23/2023    0.5    Participate on call with A&M team (Scott, Holsomback) re: valuation workplan

Newman, Richard      8/25/2023    0.1    Correspond with A&M team re: case updates

Scott, Tom           8/29/2023    0.5    Participate on call with A&M team (Holsomback, Newman) re: valuation workplan

Rovitz, Alec         8/29/2023    0.9    Prepare weekly fee estimate

Newman, Richard      8/29/2023    0.3    Correspond with A&M team re: outstanding workstreams

Gonzalez, Andrea     8/31/2023    0.7    Participate on call with A&M team (Waschitz, Hill, Newman, Singh, Ashraf, Domfeh) re: case update/work plan

Newman, Richard      8/31/2023    0.7    Participate on call with A&M team (Waschitz, Hill, Gonzalez, Singh, Ashraf, Domfeh) re: case update/work plan

Waschitz, Seth       8/31/2023    0.7    Participate on call with A&M team (Gonzalez, Hill, Newman, Singh, Ashraf, Domfeh) re: case update/work plan

Domfeh, Kofi         8/31/2023    0.7    Participate on call with A&M team (Waschitz, Hill, Newman, Singh, Ashraf, Gonzalez) re: case update/work plan

Ashraf, Farris       8/31/2023    0.7    Participate on call with A&M team (Waschitz, Hill, Newman, Singh, Gonzalez, Domfeh) re: case update/work plan

Hill, Michael        8/31/2023    0.7    Participate on call with A&M team (Waschitz, Gonzalez, Newman, Singh, Ashraf, Domfeh) re: case update/work plan

Singh, Kabir         8/31/2023    0.7    Participate on call with A&M team (Waschitz, Hill, Newman, Gonzalez, Ashraf, Domfeh) re: case update/work plan

Newman, Richard      8/31/2023    0.5    Draft waterfall analysis workstreams

Rovitz, Alec         9/1/2023     1.1    Prepare weekly fee estimate re: workplan budget

Newman, Richard      9/5/2023     0.8    Prepare talking points for call with UCC counsel re: case strategy

Newman, Richard      9/6/2023     0.2    Update A&M workplan

Rovitz, Alec         9/8/2023     0.9    Prepare weekly fee estimate re: workplan budget

Newman, Richard      9/11/2023    0.3    Prepare for discussion with lenders

Newman, Richard      9/13/2023    0.2    Update A&M workplan re: intercompany analysis

Domfeh, Kofi         9/13/2023    0.3    Participate on call with A&M team (Newman) re: case updates

Newman, Richard      9/13/2023    0.3    Participate on call with A&M team (Domfeh) re: case updates

Newman, Richard      9/15/2023    0.1    Update A&M workplan re: case updates

Newman, Richard      9/15/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Waschitz, Domfeh, Hill, Singh) re: case updates / workplan

Hill, Michael        9/15/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Waschitz, Domfeh, Ashraf, Singh) re: case updates / workplan

Waschitz, Seth       9/15/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Domfeh, Ashraf, Hill, Singh) re: case updates / workplan

Singh, Kabir         9/15/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Waschitz, Domfeh, Ashraf, Hill) re: case updates / workplan

Domfeh, Kofi         9/15/2023    0.5    Participate on call with A&M team (Newman,Page
                                                                                    Gonzalez,
                                                                                        12 of 55
                                                                                                Waschitz, Ashraf, Hill, Singh) re: case updates / workplan
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                               Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 35et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       9/15/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Waschitz, Domfeh, Hill, Singh) re: case updates / workplan

Gonzalez, Andrea     9/15/2023    0.5    Participate on call with A&M team (Newman, Waschitz, Domfeh, Ashraf, Hill, Singh) re: case updates / workplan

Rovitz, Alec         9/15/2023    0.8    Prepare weekly fee estimate re: workplan budget

Newman, Richard      9/20/2023    0.2    Correspond with A&M team re: professionals call

Newman, Richard      9/21/2023    0.3    Prepare for call with UCC counsel re: all hands call

Newman, Richard      9/21/2023    1.4    Prepare for all hands call re: case updates

Newman, Richard      9/22/2023    0.1    Correspond with A&M team re: case updates

Rovitz, Alec         9/22/2023    0.6    Prepare weekly fee estimate re: workplan budget

Rovitz, Alec         9/29/2023    0.7    Prepare weekly fee estimate re: workplan budget

Saltz, Katy          10/1/2023    2.0    True-up to account for error in bill rate over the first two fee applications

Newman, Richard      10/2/2023    0.1    Coordinate workstreams with A&M team

Subtotal                         41.5



Cash Budget
Newman, Richard      6/28/2023    0.2    Review data room contents re: cash flow budget

Newman, Richard      6/28/2023    0.2    Review key issues list re: cash flow budget

Newman, Richard      6/28/2023    0.2    Update key issues list re: cash flow budget

Ashraf, Farris       6/29/2023    2.9    Update due diligence request list re: cash flow budget

Domfeh, Kofi         6/29/2023    2.7    Prepare cash flow budget presentation

Ashraf, Farris       6/29/2023    1.0    Prepare due diligence request list re: cash flow budget questions

Domfeh, Kofi         6/29/2023    1.7    Analyze cash flow budget variance report

Domfeh, Kofi         6/29/2023    1.6    Analyze cash flow budget

Hill, Michael        6/29/2023    0.9    Update cash flow budget presentation re: budget vs. actuals

Waschitz, Seth       6/29/2023    0.8    Participate on call with Debtors' professionals and A&M team (Hill, Domfeh, Ashraf) re: cash flow budget

Domfeh, Kofi         6/29/2023    0.8    Participate on call with Debtors' professionals and A&M team (Waschitz, Hill, Ashraf) re: cash flow budget

Ashraf, Farris       6/29/2023    0.8    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Hill) re: cash flow budget

Hill, Michael        6/29/2023    0.8    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Ashraf) re: cash flow budget

Domfeh, Kofi         6/29/2023    0.8    Prepare due diligence request list re: cash flow budget questions

Hill, Michael        6/29/2023    0.8    Prepare cash flow budget presentation

Domfeh, Kofi         6/29/2023    1.1    Update due diligence request list re: cash flow budget

Hill, Michael        6/29/2023    0.7    Analyze updated cash flow budget

Hill, Michael        6/29/2023    0.7    Update cash flow budget presentation re: available liquidity

Hill, Michael        6/29/2023    0.6    Review cash flow budget

Hill, Michael        6/29/2023    0.6    Analyze original cash flow budget

Hill, Michael        6/29/2023    0.6    Review updated cash flow budget re: budget vs actuals

Waschitz, Seth       6/29/2023    0.5    Review cash flow budget questions in advance of call with Debtors

Hill, Michael        6/29/2023    0.5    Prepare original vs. updated cash flow budget analysis

Newman, Richard      6/29/2023    0.3    Review and edit cash flow budget presentation

Newman, Richard      6/29/2023    0.2    Review A&M cash flow budget analysis

Waschitz, Seth       6/29/2023    0.2    Participate on call with A&M team (Hill) re: cash flow budget variance report

Hill, Michael        6/29/2023    0.2    Participate on call with A&M team (Waschitz) re: cash flow budget variance report

Newman, Richard      6/30/2023    0.2    Direct A&M team member to prepare cash flow budget presentation

Domfeh, Kofi         6/30/2023    2.3    Update cash flow budget presentation re: budget assumptions

Domfeh, Kofi         6/30/2023    1.7    Update cash flow budget presentation re: variance analysis

Domfeh, Kofi         6/30/2023    1.2    Prepare cash flow budget analysis

Domfeh, Kofi         6/30/2023    1.9    Analyze updated cash flow budget

Domfeh, Kofi         6/30/2023    1.4    Update cash flow budget presentation

Domfeh, Kofi         6/30/2023    0.9    Update due diligence request list re: cash flow budget
                                                                                        Page 13 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                    Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 36et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Hill, Michael        6/30/2023    0.4    Update cash flow budget presentation re: ending cash balances

Hill, Michael        6/30/2023    0.3    Update cash flow budget presentation re: interest paid

Waschitz, Seth       7/1/2023     1.0    Review and edit cash flow budget presentation

Hill, Michael        7/1/2023     0.8    Update cash flow budget presentation re: overview summary

Hill, Michael        7/1/2023     0.3    Review cash flow budget variance report

Newman, Richard      7/2/2023     0.2    Review A&M cash flow budget presentation

Hill, Michael        7/4/2023     2.6    Update cash flow budget presentation

Hill, Michael        7/4/2023     1.4    Review and edit cash flow budget presentation

Newman, Richard      7/4/2023     0.7    Revise cash flow budget presentation

Waschitz, Seth       7/4/2023     0.2    Supervise preparation of cash flow variance report presentation

Newman, Richard      7/4/2023     0.1    Correspond with A&M team re: cash flow budget presentation

Ashraf, Farris       7/5/2023     2.9    Analyze cash flow budget re: interest calculations

Domfeh, Kofi         7/5/2023     1.8    Prepare cash flow budget sensitivity analysis

Newman, Richard      7/5/2023     0.5    Review cash flow analysis re: sensitivities

Waschitz, Seth       7/5/2023     0.3    Review cash flow budget update

Hill, Michael        7/5/2023     0.3    Update cash flow budget variance analysis

Newman, Richard      7/5/2023     0.2    Correspond with UCC counsel re: cash flow budget presentation

Domfeh, Kofi         7/6/2023     2.9    Update cash flow budget analysis

Ashraf, Farris       7/6/2023     1.9    Analyze cash flow budget re: weekly cash balances

Domfeh, Kofi         7/6/2023     0.7    Update cash flow budget analysis

Newman, Richard      7/6/2023     0.3    Review cash flow budget variance report

Waschitz, Seth       7/6/2023     0.2    Review cash flow budget variance report

Rovitz, Alec         7/6/2023     0.8    Analyze cash flow budget

Domfeh, Kofi         7/7/2023     2.7    Prepare cash flow budget variance analysis

Newman, Richard      7/7/2023     0.4    Review and edit cash flow budget presentation

Domfeh, Kofi         7/9/2023     1.4    Update cash flow budget variance analysis

Newman, Richard      7/9/2023     0.2    Review and comment on cash flow budget presentation

Ashraf, Farris       7/11/2023    2.0    Review accounts receivable report re: cash flow budget

Newman, Richard      7/19/2023    0.4    Prepare cash flow budget presentation

Newman, Richard      7/20/2023    0.2    Review cash flow budget re: budget vs. actuals

Waschitz, Seth       7/20/2023    0.2    Review cash flow budget variance report

Newman, Richard      7/21/2023    0.1    Correspond with Committee member re: cash flow budget

Newman, Richard      7/23/2023    0.2    Correspond with A&M team re: cash flow budget presentation

Hill, Michael        7/24/2023    0.8    Update cash flow budget presentation re: professional fees

Hill, Michael        7/24/2023    0.7    Update cash flow budget presentation re: 2-week variance

Hill, Michael        7/24/2023    0.6    Update cash flow budget presentation re: budget vs. actuals

Hill, Michael        7/24/2023    0.4    Update cash flow budget presentation re: receipts detail

Ashraf, Farris       7/25/2023    3.1    Analyze lease rent projections re: cash flow budget impact

Waschitz, Seth       7/25/2023    0.2    Correspond with Debtors re: cash flow budget

Newman, Richard      7/26/2023    0.4    Review and edit cash flow budget presentation

Waschitz, Seth       7/26/2023    0.2    Correspond with Debtors re: cash flow budget

Newman, Richard      7/27/2023    0.7    Prepare cash flow budget questions in advance of call with Debtors

Hill, Michael        7/27/2023    0.7    Analyze updated cash flow budget

Ashraf, Farris       7/27/2023    0.4    Review cash flow budget update

Waschitz, Seth       7/27/2023    0.3    Review revised cash flow budget

Domfeh, Kofi         7/28/2023    0.7    Update cash flow budget presentation

Newman, Richard      7/28/2023    0.3    Update professional budget projections re: cash flow budget

Ashraf, Farris       7/28/2023    0.3    Review updated cash flow budget                 Page 14 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                  Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 37et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       7/31/2023    2.5    Prepare cash flow budget update memo

Domfeh, Kofi         8/3/2023     1.6    Analyze updated cash flow budget forecast

Hill, Michael        8/3/2023     1.1    Prepare cash flow budget questions

Singh, Kabir         8/3/2023     0.9    Update cash flow budget analysis re: variance report

Newman, Richard      8/3/2023     0.2    Review cash flow budget re: forecast vs. actual

Rovitz, Alec         8/4/2023     1.2    Review and edit cash flow budget analysis re: variance report

Hill, Michael        8/4/2023     0.4    Update cash flow budget questions

Singh, Kabir         8/4/2023     0.3    Prepare cash flow budget questions

Waschitz, Seth       8/4/2023     0.2    Review cash flow budget questions for Debtors

Domfeh, Kofi         8/9/2023     0.3    Participate on call with Debtors' professionals and A&M team (Waschitz, Ashraf, Hill) re: updated DIP budget

Waschitz, Seth       8/9/2023     0.3    Participate on call with Debtors' professionals and A&M team (Ashraf, Domfeh, Hill) re: updated DIP budget

Ashraf, Farris       8/9/2023     0.3    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Hill) re: updated DIP budget

Hill, Michael        8/9/2023     0.3    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Ashraf) re: updated DIP budget

Waschitz, Seth       8/9/2023     0.3    Participate on call with Debtors re: cash flow budget update

Newman, Richard      8/10/2023    0.1    Review update cash flow budget

Hill, Michael        8/15/2023    1.3    Prepare DIP budget analysis re: borrower/guarantor

Hill, Michael        8/15/2023    0.9    Update DIP budget analysis re: ending DIP escrow amount

Hill, Michael        8/15/2023    0.8    Update DIP budget analysis re: sensitivities

Newman, Richard      8/15/2023    0.2    Prepare sensitivity analysis for team re: cash flow budget

Newman, Richard      8/17/2023    0.2    Review cash flow budget re: forecast vs. actual results

Waschitz, Seth       8/17/2023    0.2    Review 13-week DIP budget reporting

Domfeh, Kofi         8/18/2023    0.3    Participate on call with Debtors' professionals and A&M team (Hill) re: updated cash flow budget

Hill, Michael        8/18/2023    0.3    Participate on call with Debtors' professionals and A&M team (Domfeh) re: updated cash flow budget

Hill, Michael        8/21/2023    1.1    Review cash flow budget re: professional forecast

Hill, Michael        8/21/2023    0.6    Review cash flow budget re: professional fees

Hill, Michael        8/22/2023    0.4    Review cash flow budget re: updated professional fees

Hill, Michael        8/25/2023    2.2    Analyze cash flow budget variance report

Hill, Michael        8/25/2023    1.3    Review updated cash flow budget

Waschitz, Seth       8/25/2023    0.7    Review and edit cash flow budget presentation

Hill, Michael        8/25/2023    0.6    Analyze cash flow budget re: budget to actuals

Newman, Richard      8/25/2023    0.3    Direct A&M team to prepare cash flow budget presentation

Newman, Richard      8/25/2023    0.3    Analyze cash flow budget variance report

Waschitz, Seth       8/25/2023    0.3    Review updated cash flow budget

Newman, Richard      8/25/2023    0.2    Review updated cash flow budget

Waschitz, Seth       8/25/2023    0.2    Correspond with A&M team re: revised cash flow budget presentation

Newman, Richard      8/28/2023    0.1    Correspond with UCC counsel re: cash flow budget

Newman, Richard      8/31/2023    0.2    Review cash flow budget variance report

Waschitz, Seth       8/31/2023    0.2    Review cash flow budget re: budget to actuals

Domfeh, Kofi         9/1/2023     0.1    Participate on call with Debtors' professionals and A&M team (Hill) re: cash flow budget variance report

Hill, Michael        9/1/2023     0.1    Participate on call with Debtors' professionals and A&M team (Domfeh) re: cash flow budget variance report

Newman, Richard      9/15/2023    0.2    Analyze cash flow budget variance report

Newman, Richard      9/15/2023    0.3    Update due diligence request list re: wind-down budget items

Hill, Michael        9/15/2023    0.7    Analyze cash flow budget variance report

Hill, Michael        9/15/2023    0.3    Prepare summary of cash flow budget call notes

Domfeh, Kofi         9/15/2023    0.8    Analyze updated cash flow budget

Hill, Michael        9/15/2023    0.3    Participate on call with Debtors' professionals and A&M team (Domfeh) re: updated cash flow budget variance report

Domfeh, Kofi         9/15/2023    0.3    Participate on call with Debtors' professionals and A&M team (Hill) re: updated cash flow budget variance report

Newman, Richard      9/20/2023    0.2    Review updated DIP budget                      Page 15 of 55
                 Case 23-14853-JKS                      Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                            Desc Main   Exhibit B
                                                               Document         PageINC.,
                                                                  CYXTERA TECHNOLOGIES, 38et al.of 85
                                                                                      Time Detail by Project Category
                                                                                   June 27 2023 through October 31, 2023

Professional               Date              Hours   Time Description
Hill, Michael           9/20/2023             0.9    Analyze updated cash flow budget

Hill, Michael           9/20/2023             1.4    Analyze updated cash flow budget variance report

Newman, Richard         9/21/2023             0.5    Update due diligence request list re: wind-down budget

Hill, Michael           9/21/2023             0.4    Prepare cash flow budget presentation re: budget to actuals

Hill, Michael           9/21/2023             1.6    Update cash flow budget presentation re: variance report

Domfeh, Kofi            9/21/2023             0.8    Analyze updated cash flow budget presentation

Hill, Michael           9/22/2023             1.0    Update cash flow budget presentation

Domfeh, Kofi            9/22/2023             1.5    Analyze updated cash flow budget variance report

Domfeh, Kofi            9/22/2023             0.5    Analyze cash flow budget presentation

Newman, Richard         9/22/2023             0.3    Participate on call with Debtors' professionals and A&M team (Domfeh) re: wind-down budget

Domfeh, Kofi            9/22/2023             0.3    Participate on call with Debtors' professionals and A&M team (Newman) re: wind-down budget

Newman, Richard         9/23/2023             0.2    Revise cash flow budget presentation

Domfeh, Kofi            9/27/2023             1.1    Analyze updated cash flow budget presentation

Newman, Richard         9/28/2023             0.4    Review updated cash flow budget variance report

Hill, Michael           9/28/2023             0.4    Analyze updated cash flow budget

Hill, Michael           9/28/2023             0.6    Analyze updated cash flow budget re: variance report

Hill, Michael           9/28/2023             0.6    Prepare cash flow budget presentation

Domfeh, Kofi            9/28/2023             0.8    Review and edit cash flow budget presentation

Hill, Michael           9/28/2023             0.2    Participate on call with Debtors' professionals and A&M team (Domfeh) re: updated cash flow budget variance

Waschitz, Seth          9/28/2023             0.1    Review summary of cash flow budget variance call

Domfeh, Kofi            9/29/2023             0.2    Participate on call with Debtors' professionals and A&M team (Hill) re: updated cash flow budget variance

Hill, Michael           9/29/2023             0.1    Prepare cash flow budget call summary

Hill, Michael           10/2/2023             0.4    Correspondance with A&M team re: cash flow budget variance report

Domfeh, Kofi            10/13/2023            0.5    Participate on call with Debtors' professionals and A&M team (Hill) re: updated cash flow budget variance

Hill, Michael           10/13/2023            0.5    Participate on call with Debtors' professionals and A&M team (Domfeh) re: updated cash flow budget variance

Hill, Michael           10/13/2023            0.3    Correspond with A&M team re: case updates

Hill, Michael           10/16/2023            0.7    Update cash flow budget presentation

Hill, Michael           10/16/2023            0.8    Update cash flow budget presentation

Hill, Michael           10/16/2023            0.4    Correspondence with A&M team re: wind-down budget / letters of credit

Hill, Michael           10/16/2023            0.3    Correspondence with Debtors' professionals re: wind-down budget / letters of credit

Newman, Richard         10/16/2023            0.2    Review cash flow budget re: forecast vs. actual

Newman, Richard         10/16/2023            0.3    Review and edit cash flow budget presentation

Newman, Richard         10/26/2023            0.1    Review revised cash flow budget re: variance report

Hill, Michael           10/27/2023            0.5    Update cash flow budget presentation re: budget to actuals

Hill, Michael           10/27/2023            0.4    Update cash flow budget presentation re: summary overview

Hill, Michael           10/27/2023            0.6    Update cash flow budget presentation re: variance report

Waschitz, Seth          10/27/2023            0.3    Participate on call with Debtors' professionals and A&M team (Hill) re: cash flow budget variance report

Hill, Michael           10/27/2023            0.2    Participate on call with Debtors' professionals and A&M team (Waschitz) re: cash flow budget variance report

Hill, Michael           10/27/2023            0.3    Correspond with A&M team re: cash flow budget

Waschitz, Seth          10/27/2023            0.2    Review cash flow budget variance report

Newman, Richard         10/27/2023            0.1    Review cash flow budget notes

Subtotal                                     117.6



Claims / Liabilities Subject to Compromise
Gonzalez, Andrea        6/28/2023             0.2    Correspond with UCC counsel and Debtors re: lien challenge

Ashraf, Farris          6/29/2023             1.7    Review credit documents re: lender collateral

Gonzalez, Andrea        6/29/2023             1.0    Review amended receivables purchase and sale agreement

Newman, Richard         6/29/2023             0.2    Review UCC counsel's receivable questions
                                                                                                  Page 16 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                      Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 39et al.of 85
                                                                              Time Detail by Project Category
                                                                           June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Newman, Richard      6/29/2023    0.1    Correspond with A&M team re: collateral review

Newman, Richard      6/29/2023    0.1    Participate on call with A&M team (Ashraf) re: lender collateral

Ashraf, Farris       6/29/2023    0.1    Participate on call with A&M team (Newman) re: lender collateral

Newman, Richard      6/30/2023    0.9    Review Debtors' receivable program

Gonzalez, Andrea     6/30/2023    0.8    Prepare key issues list re: receivables purchase agreement

Gonzalez, Andrea     6/30/2023    0.5    Review amended receivables purchase and sale agreement

Gonzalez, Andrea     6/30/2023    0.4    Participate on call with UCC counsel, Debtors' professionals and A&M team (Newman) re: receivables purchase and sale agreement

Newman, Richard      6/30/2023    0.4    Participate on call with UCC counsel, Debtors' professionals and A&M team (Gonzalez) re: receivables purchase and sale agreement

Newman, Richard      7/1/2023     0.5    Review 7th amendment and corresponding credit agreement

Newman, Richard      7/1/2023     0.2    Review waiver agreement

Newman, Richard      7/3/2023     1.2    Review amended receivable document

Newman, Richard      7/3/2023     0.9    Prepare receivables issues list

Newman, Richard      7/3/2023     0.3    Review subordinated note

Newman, Richard      7/4/2023     2.7    Review amended and restated receivables purchase agreement

Newman, Richard      7/5/2023     2.4    Review 8th amendment and associated changes to credit agreement

Domfeh, Kofi         7/5/2023     1.3    Analyze prepetition credit agreement

Waschitz, Seth       7/5/2023     0.8    Review 8th amendment to credit agreement

Gonzalez, Andrea     7/5/2023     0.7    Review 8th amendment to the credit Agreement

Waschitz, Seth       7/5/2023     0.7    Review first lien collateral agreement

Ashraf, Farris       7/6/2023     2.3    Review PNC bank model re: receivables

Hill, Michael        7/6/2023     1.3    Review and summarize credit agreement

Newman, Richard      7/6/2023     0.9    Review AR facility models

Newman, Richard      7/6/2023     0.8    Review funding mechanics of priority term loan

Gonzalez, Andrea     7/6/2023     0.4    Review information package re: receivable purchases

Waschitz, Seth       7/6/2023     0.4    Review PNC bank model

Newman, Richard      7/6/2023     0.3    Review receivable financing model

Newman, Richard      7/6/2023     0.3    Correspond with A&M team : AR models

Gonzalez, Andrea     7/6/2023     0.2    Review PNC bank activity report

Waschitz, Seth       7/6/2023     0.2    Direct A&M team member to review PNC bank model

Rovitz, Alec         7/6/2023     1.4    Review and summarize credit agreement documents

Gonzalez, Andrea     7/7/2023     2.3    Review amended and restated receivables purchase agreement

Newman, Richard      7/7/2023     0.9    Review schedules to priority loan

Gonzalez, Andrea     7/7/2023     0.4    Review trade receivables securitization program re: proposed term sheet

Waschitz, Seth       7/7/2023     0.4    Review first lien credit agreement

Waschitz, Seth       7/7/2023     0.2    Review PNC bank amendment

Newman, Richard      7/10/2023    0.2    Analyze open receivable facility issues

Newman, Richard      7/17/2023    0.6    Analyze liens / guarantees by legal entity

Newman, Richard      7/19/2023    0.2    Participate on call with UCC counsel re: lien challenge

Newman, Richard      7/20/2023    0.8    Review amendments re: collateral changes

Newman, Richard      7/20/2023    0.7    Correspond with UCC counsel re: historical legal entity pledges

Newman, Richard      7/20/2023    0.6    Prepare summary financial chart re: UCC counsel's lien review

Newman, Richard      7/21/2023    0.5    Review terms of prepetition retention payments

Newman, Richard      7/23/2023    0.6    Review debt documents

Ashraf, Farris       7/26/2023    1.7    Prepare case update presentation re: unsecured claims pool

Gonzalez, Andrea     7/26/2023    0.9    Participate on call with A&M team (Newman, Domfeh, Ashraf) re: unsecured claims pool

Newman, Richard      7/26/2023    0.8    Participate on call with A&M team (Gonzalez, Domfeh, Ashraf) re: unsecured claims pool

Domfeh, Kofi         7/26/2023    0.8    Participate on call with A&M team (Newman, Gonzalez, Ashraf) re: unsecured claims pool

Ashraf, Farris       7/26/2023    0.8    Participate on call with A&M team (Newman,Page
                                                                                    Domfeh,    Gonzalez) re: unsecured claims pool
                                                                                        17 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                     Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 40et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Newman, Richard      7/26/2023    0.6    Participate on call with UCC counsel re: lender's collateral

Ashraf, Farris       7/26/2023    0.6    Review unsecured claims pool

Ashraf, Farris       7/27/2023    2.6    Prepare first lien credit agreement timeline

Ashraf, Farris       7/27/2023    2.3    Prepare first lien credit agreement summary

Ashraf, Farris       7/27/2023    0.5    Review first lien credit agreement timeline

Ashraf, Farris       7/28/2023    0.6    Update Committee presentation re: credit agreement liens

Ashraf, Farris       7/28/2023    2.7    Prepare Committee presentation re: credit agreement liens

Newman, Richard      7/28/2023    0.5    Participate on call with UCC counsel re: debt items

Waschitz, Seth       7/28/2023    0.3    Review lien challenge timeline

Gonzalez, Andrea     7/28/2023    0.2    Review correspondence from UCC counsel re: lien challenge

Waschitz, Seth       7/28/2023    0.2    Review summary of lien challenge review

Waschitz, Seth       8/1/2023     0.6    Review Citi payment details

Waschitz, Seth       8/1/2023     0.3    Correspond with A&M team re: Citi payment details

Waschitz, Seth       8/6/2023     0.2    Correspond with UCC counsel re: lien challenge

Gonzalez, Andrea     8/6/2023     0.1    Review correspondence from UCC counsel re: potential lien challenge

Waschitz, Seth       8/7/2023     0.2    Correspond with UCC counsel re: lien challenge

Newman, Richard      8/8/2023     0.4    Prepare revised claim estimates for Committee

Newman, Richard      8/8/2023     0.3    Review unsecured proof of claims

Newman, Richard      8/9/2023     0.7    Review general unsecured proof of claims

Newman, Richard      8/10/2023    0.5    Review credit agreement amendment re: maturity extensions

Waschitz, Seth       8/10/2023    0.2    Correspond with UCC counsel re: lien challenge

Newman, Richard      8/14/2023    0.5    Research legal entities re: potential lease rejected claims

Newman, Richard      8/15/2023    1.1    Review intercreditor agreement

Singh, Kabir         8/15/2023    0.6    Analyze proofs of claim re: Hewlett Packard and Neamsby Investments

Newman, Richard      8/15/2023    0.4    Review summary of unsecured proofs of claim

Waschitz, Seth       8/15/2023    0.1    Review DIP guarantor summary

Hill, Michael        8/16/2023    1.2    Review credit agreements re: first lien guarantees

Waschitz, Seth       8/16/2023    1.1    Review lien challenge response

Hill, Michael        8/16/2023    0.4    Review credit agreements re: DIP guarantees

Gonzalez, Andrea     8/17/2023    0.3    Participate on call with A&M team (Newman) re: lien challenge

Newman, Richard      8/17/2023    0.3    Participate on call with A&M team (Gonzalez) re: lien challenge

Hill, Michael        8/17/2023    0.9    Review sixth credit agreement

Hill, Michael        8/17/2023    0.6    Prepare summary of sixth credit agreement

Singh, Kabir         8/17/2023    0.6    Analyze 6th credit amendment

Gonzalez, Andrea     8/17/2023    0.2    Review correspondence from A&M team re: lien challenge

Waschitz, Seth       8/17/2023    0.2    Review notes re: 6th amendment to term loan

Singh, Kabir         8/18/2023    1.2    Review credit agreements

Waschitz, Seth       8/22/2023    0.7    Prepare presentation re: UCC response to lien challenge

Gonzalez, Andrea     8/22/2023    0.2    Review summary of counter arguments re: lien challenge

Newman, Richard      8/22/2023    0.2    Correspond with team re: lien challenge

Hill, Michael        8/24/2023    2.4    Update priority unsecured claims analysis

Singh, Kabir         8/24/2023    1.8    Analyze proofs of claim re: unsecured creditor claims over 500k

Singh, Kabir         8/24/2023    1.3    Analyze proofs of claim re: unliquidated unsecured creditor claims

Newman, Richard      8/24/2023    0.9    Review summary of large unsecured claims

Hill, Michael        8/24/2023    0.9    Prepare summary of priority unsecured claims re: over $500K

Hill, Michael        8/24/2023    0.8    Prepare priority unsecured claims analysis

Singh, Kabir         8/24/2023    0.7    Prepare summary of unsecured creditor claims over 500k

Newman, Richard      8/24/2023    0.5    Coordinate review of general unsecured claims
                                                                                     Page 18 of 55
                 Case 23-14853-JKS           Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                    Desc Main   Exhibit B
                                                    Document         PageINC.,
                                                       CYXTERA TECHNOLOGIES, 41et al.of 85
                                                                               Time Detail by Project Category
                                                                            June 27 2023 through October 31, 2023

Professional            Date      Hours   Time Description
Newman, Richard      8/24/2023     0.3    Review filed lease rejection claim

Singh, Kabir         8/25/2023     2.2    Prepare proofs of claim presentation

Newman, Richard      8/25/2023     0.9    Review and edit unsecured claims analysis

Hill, Michael        8/25/2023     0.7    Prepare priority unsecured claims presentation

Singh, Kabir         8/25/2023     0.5    Analyze lease claim locations re: claims over $1 million

Newman, Richard      8/25/2023     0.4    Direct A&M team to prepare further unsecured claim analysis

Waschitz, Seth       8/25/2023     0.4    Participate on call with Debtors re: proofs of claim

Singh, Kabir         8/25/2023     0.4    Analyze lease rejections re: claims over $1 million

Singh, Kabir         8/25/2023     0.3    Prepare summary of proofs of claim over $1 million

Gonzalez, Andrea     8/29/2023     0.2    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh) re: lien challenge

Domfeh, Kofi         8/29/2023     0.2    Participate on call with Debtors' professionals and A&M team (Waschitz, Gonzalez) re: lien challenge

Waschitz, Seth       8/29/2023     0.2    Participate on call with Debtors' professionals and A&M team (Gonzalez, Domfeh) re: lien challenge

Gonzalez, Andrea     8/29/2023     0.5    Participate on call with UCC counsel (Waschitz) re: lien challenge

Waschitz, Seth       8/29/2023     0.5    Participate on call with UCC counsel (Gonzalez) re: lien challenge

Newman, Richard      9/12/2023     0.2    Review and edit proof of claim summary

Singh, Kabir         9/13/2023     2.8    Prepare proofs of claim analysis re: over $1m

Newman, Richard      9/13/2023     0.2    Participate on call with A&M team (Waschitz, Domfeh) re: lender analysis

Waschitz, Seth       9/13/2023     0.2    Participate on call with A&M team (Newman, Domfeh) re: lender analysis

Domfeh, Kofi         9/13/2023     0.2    Participate on call with A&M team (Waschitz, Newman) re: lender analysis

Singh, Kabir         9/14/2023     1.3    Prepare summary of rejected / unrejected claims

Singh, Kabir         9/16/2023     1.9    Update summary of rejected / unrejected claims

Newman, Richard      10/25/2023    0.3    Participate on call with UCC counsel re: lease rejections

Newman, Richard      10/25/2023    0.2    Correspond with Debtors' professionals re: lease rejections

Newman, Richard      10/27/2023    0.1    Participate on call with Debtors' professionals re: lease rejections

Subtotal                          89.8



Contracts
Waschitz, Seth       6/28/2023     0.3    Review lease rejection motion

Newman, Richard      7/9/2023      0.4    Review trade agreements

Newman, Richard      7/10/2023     0.3    Review Debtors' lease accounting

Newman, Richard      7/12/2023     1.1    Review property lease details

Waschitz, Seth       7/12/2023     0.2    Participate on call with A&M team (Waschitz)re: lease rejection workplan

Newman, Richard      7/12/2023     0.2    Participate on call with A&M team (Waschitz)re: lease rejection workplan

Newman, Richard      7/14/2023     1.3    Review trade agreements

Waschitz, Seth       7/14/2023     1.1    Review trade vendor agreements

Newman, Richard      7/16/2023     1.0    Review public lease information

Ashraf, Farris       7/17/2023     1.2    Prepare lease rejection analysis

Ashraf, Farris       7/18/2023     2.3    Update lease rejection analysis

Newman, Richard      7/18/2023     0.7    Prepare summary of lease financials

Hill, Michael        7/18/2023     0.7    Update lease rejection analysis

Newman, Richard      7/18/2023     0.6    Research owed prepetition lease obligations

Newman, Richard      7/18/2023     0.4    Review proposed lease rejections

Newman, Richard      7/18/2023     0.3    Analyze lease rejection calculations

Domfeh, Kofi         7/18/2023     0.3    Participate on call with A&M team (Ashraf) re: lease rejection calculations

Ashraf, Farris       7/18/2023     0.3    Participate on call with A&M team (Domfeh) re: lease rejection calculations

Newman, Richard      7/18/2023     0.2    Participate on call with A&M team (Ashraf) re: lease rejection calculations

Ashraf, Farris       7/18/2023     0.2    Participate on call with A&M team (Newman) re: lease rejection calculations

Waschitz, Seth       7/18/2023     0.2    Direct A&M team member to prepare lease rejection analysis
                                                                                         Page 19 of 55
                 Case 23-14853-JKS             Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                       Desc Main   Exhibit B
                                                      Document         PageINC.,
                                                         CYXTERA TECHNOLOGIES, 42et al.of 85
                                                                                 Time Detail by Project Category
                                                                              June 27 2023 through October 31, 2023

Professional               Date     Hours   Time Description
Newman, Richard         7/19/2023    0.4    Review proposed trade agreements

Newman, Richard         7/19/2023    0.4    Participate on call with A&M team (Waschitz) re: lease rejection workstream

Waschitz, Seth          7/19/2023    0.4    Participate on call with A&M team (Newman) re: lease rejection workstream

Waschitz, Seth          7/19/2023    0.2    Review lease rejection analysis

Holsomback, Hunt        7/20/2023    0.6    Participate on call with A&M team (Vaid, Gonzalez, Newman) re: real estate leases

Vaid, Hameer            7/20/2023    0.6    Participate on call with A&M team (Holsomback, Gonzalez, Newman) re: real estate leases

Gonzalez, Andrea        7/20/2023    0.6    Participate on call with A&M team (Vaid, Holsomback, Newman) re: real estate leases

Newman, Richard         7/20/2023    0.6    Participate on call with A&M team (Vaid, Gonzalez, Holsomback) re: real estate leases

Newman, Richard         7/21/2023    0.2    Coordinate review of lease rejection claims

Rovitz, Alec            7/22/2023    0.3    Correspond with A&M team re: lease rejection analysis

Ashraf, Farris          7/24/2023    2.7    Update lease rejection analysis

Newman, Richard         7/24/2023    0.8    Review sponsors service agreements

Newman, Richard         7/24/2023    0.2    Review release and indemnity agreement

Ashraf, Farris          7/25/2023    2.9    Update lease rejection analysis

Ashraf, Farris          7/25/2023    1.9    Prepare summary of lease rejection damages

Newman, Richard         7/25/2023    1.5    Review and revise lease rejection analysis

Waschitz, Seth          7/25/2023    0.5    Review lease rejection analysis

Newman, Richard         7/25/2023    0.3    Research lease rejection site re: profitability potential

Newman, Richard         7/25/2023    0.2    Correspond with Debtors' professionals re: VST contract

Rovitz, Alec            7/27/2023    0.7    Review lease rejection analysis presentation

Hill, Michael           7/28/2023    1.4    Review and summarize vendor agreements

Newman, Richard         7/28/2023    0.2    Correspond with Debtors' professionals re: lease rejection

Waschitz, Seth          7/28/2023    0.2    Review correspondence from Debtors re: lease rejections

Newman, Richard         8/1/2023     0.2    Prepare questions for Debtors' professionals re: lease rejection

Newman, Richard         8/1/2023     0.2    Review lease rejection analysis

Holsomback, Hunt        8/3/2023     1.1    Review real estate location data re: lease rejection

Newman, Richard         8/3/2023     0.2    Correspond with UCC counsel re: lease rejection

Newman, Richard         8/4/2023     0.3    Prepare lease rejection analysis

Newman, Richard         9/4/2023     0.8    Review sponsor services agreement

Waschitz, Seth          10/4/2023    0.3    Review amended receivables purchase agreement

Domfeh, Kofi            10/5/2023    1.9    Analyze amended receivables purchase agreement

Subtotal                            36.1



Court Attendance / Participation
Hill, Michael           7/20/2023    2.1    Attend Section 341 creditor meeting

Domfeh, Kofi            9/26/2023    0.5    Attend court hearing re: Disclosure statement approval

Subtotal                             2.6




Employee Matters
Domfeh, Kofi            7/18/2023    2.2    Analyze Debtors' management compensation structure

Domfeh, Kofi            7/18/2023    2.2    Research Debtors' historic stock compensation

Waschitz, Seth          7/18/2023    0.7    Review 10K re: RSU's

Domfeh, Kofi            7/19/2023    0.9    Analyze Debtors' historic stock compensation

Domfeh, Kofi            7/21/2023    2.6    Analyze proxy filings re: officers compensation

Domfeh, Kofi            7/21/2023    1.6    Analyze annual reports re: officers compensation

Newman, Richard         7/21/2023    0.8    Review executive equity compensation

Domfeh, Kofi            7/22/2023    2.8    Analyze employee agreements re: officers compensation

Domfeh, Kofi            7/24/2023    2.5    Analyze non-cash incentive compensation re: officers compensation
                                                                                            Page 20 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                      Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 43et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Domfeh, Kofi        7/24/2023    2.1    Review Debtors' incentive plan re: officers compensation

Domfeh, Kofi        7/24/2023    1.7    Prepare presentation re: officers compensation

Hill, Michael       7/24/2023    1.8    Update compensation presentation re: KERP overview

Domfeh, Kofi        7/24/2023    1.5    Analyze registration statements re: officers compensation

Hill, Michael       7/24/2023    0.9    Update compensation presentation re: 2020 compensation

Waschitz, Seth      7/24/2023    0.7    Review compensation analysis

Hill, Michael       7/24/2023    0.6    Update compensation presentation re: 2021 compensation

Hill, Michael       7/24/2023    0.6    Update compensation presentation re: 2022 compensation

Domfeh, Kofi        7/25/2023    2.7    Prepare summary of employment agreements re: officers compensation

Domfeh, Kofi        7/25/2023    2.4    Prepare summary of historical compensation re: officers compensation

Domfeh, Kofi        7/25/2023    1.3    Analyze employee agreements re: officers compensation

Hill, Michael       7/25/2023    0.8    Update compensation presentation re: executive comparable

Waschitz, Seth      7/25/2023    0.3    Review and edit compensation analysis

Newman, Richard     7/25/2023    0.2    Correspond with A&M team re: historical executive compensation

Newman, Richard     7/27/2023    0.8    Compare insider vs. non-insider KERP

Hill, Michael       7/27/2023    0.8    Update compensation presentation re: wages motion

Hill, Michael       7/27/2023    0.5    Update compensation presentation re: historical compensation summary

Newman, Richard     8/1/2023     0.4    Investigate executives historical bonus payments

Waschitz, Seth      8/1/2023     0.2    Correspond with A&M team re: executive compensation analysis

Newman, Richard     8/15/2023    0.2    Investigate professional payments made re: Cyxtera management payments

Subtotal                        36.8


Fee Application
Rovitz, Alec        8/12/2023    2.1    Prepare first monthly fee application

Rovitz, Alec        8/13/2023    2.6    Update first monthly fee application

Rovitz, Alec        8/14/2023    2.2    Update first monthly fee application

Rovitz, Alec        8/15/2023    2.9    Update first monthly fee application

Rovitz, Alec        8/16/2023    2.7    Update first monthly fee application

Rovitz, Alec        8/19/2023    2.4    Update first monthly fee application

Rovitz, Alec        8/20/2023    2.9    Update first monthly fee application

Rovitz, Alec        8/21/2023    2.3    Update first monthly fee application

Rovitz, Alec        8/21/2023    1.9    Update first monthly fee application

Rovitz, Alec        8/24/2023    2.6    Update first monthly fee application

Waschitz, Seth      8/24/2023    1.9    Review and edit July fee statement

Waschitz, Seth      8/24/2023    0.9    Review and edit July fee statement

Newman, Richard     8/28/2023    1.2    Review and revise first monthly fee application

Rovitz, Alec        9/10/2023    2.2    Prepare August fee application

Rovitz, Alec        9/11/2023    2.4    Update August fee application

Rovitz, Alec        9/12/2023    2.9    Update August fee application

Rovitz, Alec        9/12/2023    2.4    Update August fee application

Rovitz, Alec        9/13/2023    2.8    Update August fee application

Rovitz, Alec        9/14/2023    2.4    Update August fee application

Rovitz, Alec        9/15/2023    2.9    Update August fee application

Rovitz, Alec        9/16/2023    2.7    Update August fee application

Newman, Richard     9/18/2023    0.5    Review and edit August fee application

Rovitz, Alec        9/18/2023    2.3    Update August fee application

Rovitz, Alec        9/19/2023    2.4    Update August fee application

Rovitz, Alec        9/19/2023    2.5    Review August fee application

                                                                                     Page 21 of 55
                 Case 23-14853-JKS             Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                          Desc Main   Exhibit B
                                                      Document         PageINC.,
                                                         CYXTERA TECHNOLOGIES, 44et al.of 85
                                                                               Time Detail by Project Category
                                                                            June 27 2023 through October 31, 2023

Professional              Date      Hours   Time Description
Rovitz, Alec           9/20/2023     2.2    Update August fee application

Newman, Richard        9/20/2023     0.3    Review August fee application

Rovitz, Alec           10/4/2023     2.4    Prepare September fee statement

Rovitz, Alec           10/5/2023     2.1    Update September fee statement

Rovitz, Alec           10/5/2023     2.9    Update September fee statement

Rovitz, Alec           10/6/2023     2.2    Update September fee statement

Rovitz, Alec           10/7/2023     2.7    Update September fee statement

Rovitz, Alec           10/9/2023     2.9    Review September fee statement

Waschitz, Seth         10/10/2023    0.7    Review and edit September fee statement

Rovitz, Alec           10/10/2023    2.4    Update September fee statement

Rovitz, Alec           10/12/2023    2.5    Update September fee statement

Rovitz, Alec           10/13/2023    2.6    Update September fee statement

Rovitz, Alec           10/16/2023    2.8    Update September fee statement

Newman, Richard        10/17/2023    0.6    Review and edit September fee application

Subtotal                            86.3



Financial & Operational Matters

Newman, Richard        6/27/2023     0.2    Correspond with Debtors' professionals re: due diligence request list

Domfeh, Kofi           6/28/2023     2.4    Analyze cleansing materials

Newman, Richard        6/28/2023     1.0    Review latest 10Q

Waschitz, Seth         6/28/2023     0.7    Review cleansing materials

Newman, Richard        6/28/2023     0.2    Correspond with A&M team re: professional retention

Ashraf, Farris         6/29/2023     1.2    Update due diligence request list

Domfeh, Kofi           6/29/2023     1.4    Analyze cleansing materials re: financial forecasts

Waschitz, Seth         6/29/2023     0.4    Correspond with A&M team member re: due diligence request list

Newman, Richard        6/29/2023     0.3    Direct A&M team member to perform data room due diligence

Waschitz, Seth         6/29/2023     0.3    Correspond with Debtors re: diligence request list

Hill, Michael          6/29/2023     0.2    Review data room contents re: liquidity materials

Hill, Michael          6/29/2023     0.2    Review data room contents re: transaction scenarios

Hill, Michael          6/29/2023     1.3    Review data room contents re: LightEdge interest

Waschitz, Seth         6/30/2023     2.5    Review and edit due diligence request list

Ashraf, Farris         6/30/2023     2.4    Update due diligence request list re: real estate questions

Newman, Richard        6/30/2023     0.7    Review and update due diligence request list

Gonzalez, Andrea       6/30/2023     0.6    Review and edit due diligence request list

Waschitz, Seth         6/30/2023     0.4    Correspond with Debtors re: due diligence request list

Domfeh, Kofi           6/30/2023     0.4    Participate on call with A&M team (Ashraf) re: due diligence requests

Ashraf, Farris         6/30/2023     0.4    Participate on call with A&M team (Domfeh) re: due diligence requests

Hill, Michael          6/30/2023     0.1    Review data room contents re: vendor payments

Gonzalez, Andrea       7/1/2023      0.3    Review cleansing materials

Newman, Richard        7/3/2023      0.2    Participate on call with Debtors' professionals re: critical vendors

Newman, Richard        7/3/2023      0.1    Correspond with A&M team re: outstanding case issues

Waschitz, Seth         7/5/2023      1.1    Review data room uploads

Domfeh, Kofi           7/5/2023      0.5    Participate on call with Debtors' professionals and A&M team (Newman) re: critical vendors

Newman, Richard        7/5/2023      0.5    Participate on call with Debtors' professionals and A&M team (Domfeh) re: critical vendors

Gonzalez, Andrea       7/5/2023      0.1    Review correspondence re: due diligence request responses

Ashraf, Farris         7/6/2023      0.5    Update due diligence request list re: cash management questions

Waschitz, Seth         7/6/2023      0.2    Direct A&M team member to update due diligence request list

Waschitz, Seth         7/6/2023      0.2    Correspond with Debtors re: due diligence request list
                                                                                           Page 22 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                 Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 45et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description

Rovitz, Alec         7/6/2023     0.7    Review due diligence request list

Gonzalez, Andrea     7/7/2023     1.2    Review May 2023 trial balance

Newman, Richard      7/7/2023     0.5    Review entity level trial balances

Waschitz, Seth       7/7/2023     0.5    Update due diligence request list

Newman, Richard      7/7/2023     0.2    Review and edit due diligence request list

Newman, Richard      7/9/2023     1.0    Review P&L re: entity level trial balances

Newman, Richard      7/10/2023    0.5    Update due diligence request list

Waschitz, Seth       7/10/2023    0.3    Participate on call with Debtors re: due diligence request list

Waschitz, Seth       7/10/2023    0.3    Update due diligence request list

Gonzalez, Andrea     7/10/2023    0.2    Review 2022 10-K re: historical financials

Newman, Richard      7/10/2023    0.2    Review data room contents re: critical vendors

Newman, Richard      7/10/2023    0.2    Review AR collections forecast data

Newman, Richard      7/10/2023    0.1    Correspond with Debtors' professionals re: critical vendors

Waschitz, Seth       7/11/2023    0.9    Update due diligence request list

Gonzalez, Andrea     7/11/2023    0.6    Review and update due diligence tracker

Newman, Richard      7/11/2023    0.1    Correspond with A&M team re: due diligence request list

Ashraf, Farris       7/12/2023    1.1    Review updated data room contents

Newman, Richard      7/12/2023    0.6    Review Hilco presentation

Waschitz, Seth       7/12/2023    0.3    Correspond with A&M team re: datacenter questions

Gonzalez, Andrea     7/12/2023    0.2    Review May trial balance re: income / expense detail

Newman, Richard      7/12/2023    0.2    Coordinate outstanding real estate workstreams with A&M team

Waschitz, Seth       7/12/2023    0.2    Correspond with Debtors re: due diligence requests

Newman, Richard      7/12/2023    0.1    Prepare additional real estate due diligence requests

Newman, Richard      7/12/2023    0.1    Correspond with Debtors re: critical vendors

Scott, Tom           7/12/2023    0.8    Update due diligence request list re: bid evaluation criteria

Waschitz, Seth       7/13/2023    0.2    Participate on call with Debtors re: real estate diligence

Newman, Richard      7/14/2023    0.8    Prepare free cash flow memo for Committee

Newman, Richard      7/14/2023    0.7    Research AI impact to data centers

Newman, Richard      7/14/2023    0.5    Research expansion CapEx needs

Newman, Richard      7/14/2023    0.2    Review non-REIT data center comparable

Newman, Richard      7/16/2023    0.1    Correspond with UCC counsel re: real estate due diligence requests

Newman, Richard      7/18/2023    2.4    Review data room contents

Waschitz, Seth       7/18/2023    2.4    Review data room uploads re: lease information

Newman, Richard      7/18/2023    1.0    Analyze Cyxtera Management's Inc. ability to pay GUCs

Hill, Michael        7/18/2023    0.8    Review updated data room contents

Gonzalez, Andrea     7/18/2023    0.2    Review real estate data provided by Debtors

Newman, Richard      7/18/2023    0.1    Correspond with A&M real estate team re: due diligence requests

Hill, Michael        7/19/2023    1.1    Review Schedule 14A

Scott, Tom           7/19/2023    1.7    Review data room contents re: real estate

Gonzalez, Andrea     7/20/2023    0.5    Participate on call with A&M team (Waschitz, Holsomback) re: real estate workplan

Holsomback, Hunt     7/20/2023    0.5    Participate on call with A&M team (Gonzalez, Waschitz) re: real estate workplan

Waschitz, Seth       7/20/2023    0.5    Participate on call with A&M team (Gonzalez, Holsomback) re: real estate workplan

Scott, Tom           7/20/2023    1.3    Review and edit real estate presentation

Ashraf, Farris       7/24/2023    2.8    Review data room contents re: data center information

Newman, Richard      7/24/2023    0.9    Research potential sources of unsecured recovery

Newman, Richard      7/24/2023    0.5    Review and comment on Committee update presentation

Hill, Michael        7/24/2023    0.3    Review new data room contents

Newman, Richard      7/24/2023    0.2    Review monthly operating report                Page 23 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                              Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 46et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description

Scott, Tom           7/24/2023    0.8    Review updated data room contents re: real estate

Hill, Michael        7/25/2023    0.7    Update due diligence request list

Gonzalez, Andrea     7/25/2023    0.2    Review updated due diligence request list

Waschitz, Seth       7/25/2023    0.4    Update due diligence request list

Waschitz, Seth       7/25/2023    0.2    Correspond with Debtors re: diligence request list

Newman, Richard      7/26/2023    0.6    Review independent director counsel time entries

Waschitz, Seth       7/26/2023    0.3    Update due diligence request list re: real estate requests

Newman, Richard      7/26/2023    0.2    Review and authorize critical vendor payments

Newman, Richard      7/26/2023    0.2    Review revised due diligence request list

Newman, Richard      7/26/2023    0.1    Update Committee update presentation re: unsecured claims slide

Scott, Tom           7/26/2023    0.7    Review and edit due diligence request list re: real estate

Ashraf, Farris       7/27/2023    1.1    Review Committee update presentation

Newman, Richard      7/27/2023    1.0    Review and comment on Committee update presentation

Waschitz, Seth       7/27/2023    0.7    Review and edit Committee update presentation

Newman, Richard      7/27/2023    0.4    Participate on call with A&M team (Waschitz) re: due diligence requests

Waschitz, Seth       7/27/2023    0.4    Participate on call with A&M team (Newman) re: due diligence requests

Newman, Richard      7/27/2023    0.3    Coordinate financial / real estate due diligence

Waschitz, Seth       7/27/2023    0.2    Correspond with A&M team re: Committee update presentation

Waschitz, Seth       7/27/2023    0.2    Correspond with Debtors re: due diligence requests

Newman, Richard      7/28/2023    0.5    Participate on call with Debtors' professionals re: vendor agreements

Waschitz, Seth       7/28/2023    0.4    Correspond with Debtors re: additional due diligence requests

Waschitz, Seth       7/28/2023    0.3    Participate on call with Debtors' professionals re: due diligence requests

Newman, Richard      7/28/2023    0.2    Coordinate review of vendor payments

Newman, Richard      7/28/2023    0.2    Correspond with Debtors' professionals re: fees

Waschitz, Seth       7/29/2023    0.3    Correspond with Debtors re: due diligence requests

Domfeh, Kofi         7/31/2023    2.2    Analyze historical financial performance

Hill, Michael        7/31/2023    0.7    Prepare summary of new data room contents for A&M team

Waschitz, Seth       7/31/2023    0.3    Update due diligence request list

Hill, Michael        8/1/2023     2.2    Update comparable company analysis re: Equinix

Hill, Michael        8/1/2023     2.1    Prepare comparable company analysis re: Digital Realty

Newman, Richard      8/1/2023     0.7    Review UK legal entity financials

Waschitz, Seth       8/1/2023     0.5    Review updated due diligence request list

Newman, Richard      8/1/2023     0.2    Correspond with A&M team re: debt payments

Newman, Richard      8/1/2023     0.2    Revise historical debt payments

Newman, Richard      8/1/2023     0.1    Revise due diligence request list

Domfeh, Kofi         8/2/2023     2.9    Update due diligence request list questions re: business plan income statement

Vaid, Hameer         8/2/2023     2.8    Review data center site P&Ls

Ashraf, Farris       8/2/2023     2.5    Update due diligence request list re: business plan

Hill, Michael        8/2/2023     1.9    Update comparable company analysis re: market multiples

Waschitz, Seth       8/2/2023     0.3    Correspond with Debtors re: due diligence requests

Newman, Richard      8/2/2023     0.2    Prepare response to UCC counsel re: debt question

Vaid, Hameer         8/3/2023     2.4    Review data room contents re: location data

Hill, Michael        8/3/2023     2.3    Update comparable company presentation re: Equinix

Hill, Michael        8/3/2023     2.1    Prepare comparable company presentation re: Digital Realty

Domfeh, Kofi         8/3/2023     1.9    Update due diligence request list re: SPAC investigation

Gonzalez, Andrea     8/3/2023     1.1    Review consolidated financials

Newman, Richard      8/3/2023     0.8    Review new data room contents

Newman, Richard      8/3/2023     0.6                                                Page 24 of 55
                                         Prepare questions for company re: lender presentation
                 Case 23-14853-JKS         Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                 Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 47et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date    Hours   Time Description

Newman, Richard      8/3/2023    0.4    Analyze 90-day amortization and interest payments

Newman, Richard      8/3/2023    0.3    Review progress summary re: data center landlords

Newman, Richard      8/3/2023    0.3    Review RemainCo analysis

Newman, Richard      8/3/2023    0.2    Review due diligence request list responses

Newman, Richard      8/3/2023    0.2    Prepare diligence request list questions re: litigation

Newman, Richard      8/3/2023    0.1    Correspond with Debtors' professionals re: debt questions

Vaid, Hameer         8/4/2023    0.4    Participate on call with A&M team (Gonzalez) re: site P&L

Gonzalez, Andrea     8/4/2023    0.4    Participate on call with A&M team (Vaid) re: site P&L

Hill, Michael        8/4/2023    0.4    Participate on call with A&M team (Gonzalez, Singh) re: income statement analysis

Singh, Kabir         8/4/2023    0.4    Participate on call with A&M team (Hill, Gonzalez) re: income statement analysis

Gonzalez, Andrea     8/4/2023    0.4    Participate on call with A&M team (Hill, Singh) re: income statement analysis

Hill, Michael        8/4/2023    2.1    Prepare trial balance mapping analysis re: Cyxtera DC Holdings

Domfeh, Kofi         8/4/2023    1.8    Prepare due diligence request list questions re: business plan

Hill, Michael        8/4/2023    1.7    Prepare trial balance mapping analysis re: Cyxtera Canada

Hill, Michael        8/4/2023    1.6    Prepare trial balance mapping analysis re: Cyxtera Tech UK

Newman, Richard      8/4/2023    1.3    Review financial overview presentation

Hill, Michael        8/4/2023    1.1    Prepare trial balance mapping analysis re: Cyxtera Communications Canada

Gonzalez, Andrea     8/4/2023    1.0    Review trial balances re: income statement

Gonzalez, Andrea     8/4/2023    0.9    Review trial balances re: balance sheet

Hill, Michael        8/4/2023    0.9    Prepare trial balance mapping analysis re: Cyxtera Communications

Rovitz, Alec         8/4/2023    0.9    Update trial balance mapping analysis re: Cyxtera Communications

Rovitz, Alec         8/4/2023    0.9    Update trial balance mapping analysis re: Cyxtera Communications Canada

Rovitz, Alec         8/4/2023    0.9    Update trial balance mapping analysis re: Cyxtera Tech UK

Gonzalez, Andrea     8/4/2023    0.8    Review due diligence request responses re: real estate

Hill, Michael        8/4/2023    0.8    Prepare trial balance mapping presentation re: summary overview

Newman, Richard      8/4/2023    0.3    Correspond with UCC counsel re: debt questions

Waschitz, Seth       8/4/2023    0.3    Review correspondence with Debtors re: due diligence requests

Rovitz, Alec         8/4/2023    0.3    Update trial balance mapping analysis re: Cyxtera DC Holdings

Gonzalez, Andrea     8/4/2023    0.2    Review updated due diligence request list tracker

Newman, Richard      8/4/2023    0.2    Prepare legal entity financials question responses

Waschitz, Seth       8/4/2023    0.2    Review correspondence with UCC counsel re: investigative due diligence requests

Waschitz, Seth       8/4/2023    0.2    Correspond with A&M team re: trial balance analysis

Rovitz, Alec         8/4/2023    0.2    Review correspondance with A&M team re: stub rent payments

Rovitz, Alec         8/4/2023    0.1    Update trial balance mapping analysis re: Cyxtera Canada

Rovitz, Alec         8/6/2023    2.3    Review analyst reports re: competitor outlook

Gonzalez, Andrea     8/6/2023    0.9    Review 2021 SVAC Form 14A

Gonzalez, Andrea     8/6/2023    0.8    Review summary of income statement re: Canada / UK legal entities

Gonzalez, Andrea     8/6/2023    0.4    Review 2022 Cyxtera Form 14A

Gonzalez, Andrea     8/6/2023    0.3    Review summary of balance sheet re: Canada / UK legal entities

Rovitz, Alec         8/7/2023    1.9    Prepare summary of analyst reports re: competitor outlook

Gonzalez, Andrea     8/7/2023    1.8    Review net operating income analysis by site

Hill, Michael        8/7/2023    0.8    Review and edit trial balance mapping presentation

Newman, Richard      8/7/2023    0.1    Review company filings re: financial press releases

Gonzalez, Andrea     8/8/2023    1.0    Review 2021 SVAC Form 14A

Gonzalez, Andrea     8/8/2023    0.4    Review updated summary of income statement re: Canada / UK legal entities

Newman, Richard      8/8/2023    0.3    Prepare Q2 2023 financial summary re: forecast vs. actual

Newman, Richard      8/8/2023    0.2    Review proposed critical vendor payments

Ashraf, Farris       8/9/2023    2.4    Update due diligence request list re: business Page
                                                                                       plan 25 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                               Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 48et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description

Gonzalez, Andrea     8/9/2023     2.2    Review 2021 SVAC Form 14A

Domfeh, Kofi         8/9/2023     1.8    Update due diligence request list

Gonzalez, Andrea     8/9/2023     1.2    Review 2021 audited financial statements

Gonzalez, Andrea     8/9/2023     1.0    Review summary of 2023 site budget re: Canada / UK entities

Newman, Richard      8/9/2023     0.7    Review forecast and sufficiency re: modernization capital expenditures

Newman, Richard      8/9/2023     0.5    Prepare churn analysis

Gonzalez, Andrea     8/9/2023     0.4    Review summary of 2023 budget re: Canada / UK legal entities

Waschitz, Seth       8/9/2023     0.2    Correspond with Debtors re: due diligence requests

Gonzalez, Andrea     8/10/2023    0.2    Participate on call with A&M team (Waschitz) re: due diligence requests

Waschitz, Seth       8/10/2023    0.2    Participate on call with A&M team (Gonzalez) re: due diligence requests

Vaid, Hameer         8/10/2023    2.8    Research market comparables re: precedent transactions

Gonzalez, Andrea     8/10/2023    1.3    Review 2022 audited financial statements

Gonzalez, Andrea     8/10/2023    1.2    Review updated summary of income statement re: Canada / UK legal entities

Gonzalez, Andrea     8/10/2023    1.0    Review Agreement and Plan of Merger

Waschitz, Seth       8/10/2023    0.3    Participate on call with Debtors re: due diligence requests

Newman, Richard      8/10/2023    0.2    Follow-up on outstanding real estate requests

Vaid, Hameer         8/11/2023    2.9    Prepare preliminary location comparable data

Gonzalez, Andrea     8/13/2023    0.9    Review Agreement and Plan of Merger

Hill, Michael        8/14/2023    2.1    Prepare questions for Debtors' professionals re: trial balance mapping analysis

Hill, Michael        8/14/2023    1.7    Update trial balance mapping analysis re: remaining legal entities

Hill, Michael        8/14/2023    1.3    Update trial balance mapping analysis re: roll-up structure

Rovitz, Alec         8/14/2023    1.2    Update trial balance mapping presentation re: May 2023 balance sheet

Gonzalez, Andrea     8/14/2023    0.2    Review correspondence from Debtors' professionals re: diligence requests

Newman, Richard      8/14/2023    0.1    Review critical vendor payments

Waschitz, Seth       8/14/2023    0.1    Correspond with Debtors re: due diligence request list

Vaid, Hameer         8/15/2023    2.7    Update location comparable data re: sqaure footage

Hill, Michael        8/15/2023    1.6    Update trial balance mapping presentation re: May 2023 income sheet

Singh, Kabir         8/15/2023    1.5    Review June monthly operating report

Hill, Michael        8/15/2023    0.8    Compare trial balance mapping balance sheet re: schedules

Waschitz, Seth       8/15/2023    0.1    Review entity mapping analysis

Soriano, Adam        8/16/2023    2.4    Review data room contents re: comparable transactions

Ashraf, Farris       8/16/2023    1.4    Update due diligence tracker re: intercompany activity

Ashraf, Farris       8/16/2023    1.1    Update due diligence tracker re: intercompany activity

Hill, Michael        8/16/2023    1.0    Update due diligence request list

Newman, Richard      8/16/2023    0.9    Review new data room contents

Waschitz, Seth       8/16/2023    0.9    Review data room contents

Gonzalez, Andrea     8/16/2023    0.7    Review entity site mapping

Hill, Michael        8/16/2023    0.6    Prepare summary of data room contents

Gonzalez, Andrea     8/16/2023    0.5    Review and edit questions re: sites in Canada

Hill, Michael        8/16/2023    0.4    Review updated data room contents

Waschitz, Seth       8/16/2023    0.3    Correspond with Debtors re: data room uploads

Gonzalez, Andrea     8/16/2023    0.2    Review correspondence from A&M team re: diligence requests

Soriano, Adam        8/17/2023    2.8    Analyze 2023 budget by region

Gonzalez, Andrea     8/17/2023    1.5    Review and edit questions re: sites in London

Newman, Richard      8/17/2023    0.9    Review company presentation provided by Debtors' professionals

Gonzalez, Andrea     8/17/2023    0.1    Participate on call with Debtors' professionals re: diligence requests

Gonzalez, Andrea     8/18/2023    1.2    Review and edit select site financials

Newman, Richard      8/18/2023    0.6    Review 2017 audited financials                Page 26 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                  Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 49et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description

Newman, Richard     8/18/2023    0.4    Correspond with UCC counsel re: 2017/2018 financial summary

Gonzalez, Andrea    8/19/2023    0.3    Review due diligence request tracker

Waschitz, Seth      8/19/2023    0.2    Correspond with Debtors re: site P&L questions

Newman, Richard     8/20/2023    0.3    Review equity commitment letter

Gonzalez, Andrea    8/21/2023    1.1    Update diligence requests

Singh, Kabir        8/21/2023    1.1    Review July monthly operating report

Hill, Michael       8/21/2023    0.3    Update due diligence request list

Hill, Michael       8/22/2023    1.5    Analyze revenue by site location re: 2023 plan

Hill, Michael       8/22/2023    1.3    Analyze revenue by site location re: 2022 figures

Hill, Michael       8/22/2023    1.2    Analyze revenue by site location re: 2021 figures

Rovitz, Alec        8/22/2023    0.9    Update due diligence request list re: new data room contents

Hill, Michael       8/22/2023    0.9    Analyze revenue by site location re: Q1 2023 figures

Newman, Richard     8/22/2023    0.7    Revise historical debt presentation

Gonzalez, Andrea    8/22/2023    0.6    Prepare summary of revenue by site: CND / UK

Hill, Michael       8/22/2023    0.5    Review updated data room contents

Newman, Richard     8/22/2023    0.2    Prepare secured debt analysis for A&M team

Newman, Richard     8/22/2023    0.1    Correspond with A&M team re: stub rent

Holsomback, Hunt    8/23/2023    2.5    Research data center REITs re: utility reimbursement

Gonzalez, Andrea    8/23/2023    0.2    Correspond with A&M team re: real estate update

Rovitz, Alec        8/24/2023    2.1    Update due diligence request list

Rovitz, Alec        8/24/2023    1.3    Update due diligence request tracker

Newman, Richard     8/24/2023    0.7    Review new data room contents re: financials

Waschitz, Seth      8/24/2023    0.6    Review Q2 Financials

Hill, Michael       8/24/2023    0.6    Correspond with A&M team member re: due diligence request list / tracker

Newman, Richard     8/24/2023    0.5    Review new data room contents re: intercompany data

Waschitz, Seth      8/24/2023    0.4    Correspond with Debtors' professionals re: due diligence request items

Hill, Michael       8/24/2023    0.4    Correspond with A&M team re: new data room contents

Waschitz, Seth      8/24/2023    0.3    Review updated due diligence request list

Newman, Richard     8/24/2023    0.2    Review due diligence request list responses

Waschitz, Seth      8/24/2023    0.2    Review revenue by customer analysis

Gonzalez, Andrea    8/27/2023    0.8    Review 2022 SEC filing

Gonzalez, Andrea    8/27/2023    0.5    Review 2021 SEC filing

Gonzalez, Andrea    8/27/2023    0.2    Review Debtors' response to diligence requests

Newman, Richard     8/28/2023    0.3    Participate on call with A&M team (Waschitz) re: case updates

Waschitz, Seth      8/28/2023    0.3    Participate on call with A&M team (Newman) re: case updates

Domfeh, Kofi        8/28/2023    0.2    Participate on call with A&M team (Waschitz) re: stub rent

Waschitz, Seth      8/28/2023    0.2    Participate on call with A&M team (Domfeh) re: stub rent

Rovitz, Alec        8/28/2023    2.6    Research Nvidia data center re: growth projections

Waschitz, Seth      8/28/2023    0.4    Review and analyze stub rent calculations

Waschitz, Seth      8/28/2023    0.3    Correspond with UCC counsel re: stub rent

Newman, Richard     8/28/2023    0.2    Review stub rent documents re: Debtors' professionals correspondence

Waschitz, Seth      8/28/2023    0.2    Correspond with Debtors re: stub rent calculations

Gonzalez, Andrea    8/29/2023    1.0    Review historical financial statements

Gonzalez, Andrea    8/29/2023    0.4    Review diligence request list

Waschitz, Seth      8/29/2023    0.3    Review and analyze stub rent calculations

Waschitz, Seth      8/29/2023    0.2    Correspond with Debtors re: stub rent calculations

Newman, Richard     8/29/2023    0.1    Correspond with Debtors' professionals re: outstanding due diligence request items

Gonzalez, Andrea    8/30/2023    1.4    Supervise review of historical stock price    Page 27 of 55
                Case 23-14853-JKS                 Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                         Desc Main   Exhibit B
                                                         Document         PageINC.,
                                                            CYXTERA TECHNOLOGIES, 50et al.of 85
                                                                                 Time Detail by Project Category
                                                                              June 27 2023 through October 31, 2023

Professional               Date        Hours   Time Description

Waschitz, Seth         9/1/2023         0.1    Correspond with A&M team re: stub rent

Gonzalez, Andrea       9/5/2023         0.7    Review and update due diligence request list

Newman, Richard        9/6/2023         0.1    Review ORD stipulation

Newman, Richard        9/7/2023         0.1    Correspond with UCC counsel re: real estate

Newman, Richard        9/11/2023        0.1    Correspond with Debtors' professionals re: due diligence request list

Newman, Richard        9/12/2023        0.9    Review potential unencumbered properties

Hill, Michael          9/12/2023        0.2    Update due diligence request list tracker

Gonzalez, Andrea       9/12/2023        0.4    Review and update due diligence request list

Waschitz, Seth         9/12/2023        0.3    Update due diligence request list

Newman, Richard        9/13/2023        0.5    Review new data room contents

Holsomback, Hunt       9/13/2023        0.3    Review HilCo property appraisals

Gonzalez, Andrea       9/13/2023        0.9    Review transfers to creditors in 90 days

Newman, Richard        9/19/2023        1.1    Review Appgate re: earnings and ability to pay

Newman, Richard        9/22/2023        0.2    Correspond with Debtors' professionals re: due diligence request list

Newman, Richard        9/26/2023        0.1    Correspond with UCC counsel re: case updates

Newman, Richard        9/28/2023        0.1    Correspond with Debtors' professionals re: critical vendor question

Waschitz, Seth         9/28/2023        0.2    Correspond with A&M team re: case updates

Newman, Richard        10/2/2023        0.1    Correspond with UCC counsel re: independent director

Waschitz, Seth         10/3/2023        0.3    Correspond with A&M team re: case updates

Newman, Richard        10/3/2023        0.1    Correspond with A&M team re: Debtor litigation

Newman, Richard        10/10/2023       0.1    Correspond with UCC counsel re: releases

Holsomback, Hunt       10/25/2023       0.3    Participate on call with A&M team (Newman, Scott, Vaid) re: real estate workstreams

Vaid, Hameer           10/25/2023       0.3    Participate on call with A&M team (Holsomback, Scott, Newman) re: real estate workstreams

Scott, Tom             10/25/2023       0.3    Participate on call with A&M team (Holsomback, Newman, Vaid) re: real estate workstreams

Newman, Richard        10/25/2023       0.3    Participate on call with A&M team (Holsomback, Scott, Vaid) re: real estate workstreams
Subtotal                               218.4



Financing Matters (DIP, Exit, Other)

Newman, Richard        6/27/2023        1.3    Review DIP credit agreement and revised amendment

Newman, Richard        6/27/2023        0.1    Correspond with A&M team re: DIP review

Newman, Richard        6/28/2023        2.9    Review DIP credit agreement and revised amendment

Domfeh, Kofi           6/28/2023        2.8    Review DIP credit agreement

Domfeh, Kofi           6/28/2023        2.0    Prepare DIP issues list

Domfeh, Kofi           6/28/2023        1.6    Review Interim DIP order

Newman, Richard        6/28/2023        0.5    Participate on call with A&M team (Domfeh) re: DIP analysis

Domfeh, Kofi           6/28/2023        0.5    Participate on call with A&M team (Newman) re: DIP analysis

Newman, Richard        6/29/2023        1.2    Draft DIP settlement points

Newman, Richard        6/29/2023        0.5    Research DIP interest question

Newman, Richard        6/29/2023        0.3    Participate on call with A&M team (Domfeh) re: DIP financing matters

Domfeh, Kofi           6/29/2023        0.3    Participate on call with A&M team (Newman) re: DIP financing matters

Newman, Richard        6/29/2023        0.2    Review UCC counsel's DIP issues list

Gonzalez, Andrea       6/29/2023        0.2    Review motion to obtain post-petition financing

Waschitz, Seth         6/30/2023        0.4    Direct A&M team member to prepare DIP comparable analysis

Hill, Michael          6/30/2023        1.3    Update DIP comparable analysis re: Venator

Hill, Michael          6/30/2023        0.8    Prepare DIP comparable analysis re: Cox

Hill, Michael          6/30/2023        0.7    Prepare DIP comparable analysis re: Genesis

Hill, Michael          6/30/2023        0.7    Prepare DIP comparable analysis re: Venator

Hill, Michael          6/30/2023        0.6    Update DIP comparable analysis re: Genesis
                                                                                              Page 28 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                      Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 51et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description

Hill, Michael        6/30/2023    0.6    Update DIP comparable analysis re: Cox

Hill, Michael        6/30/2023    0.5    Update DIP comparable analysis re: Venator

Newman, Richard      6/30/2023    0.4    Review DIP comparable analysis

Domfeh, Kofi         6/30/2023    0.3    Participate on call with A&M team (Waschitz) re: DIP comparable analysis

Waschitz, Seth       6/30/2023    0.3    Participate on call with A&M team (Domfeh) re: DIP comparable analysis

Hill, Michael        6/30/2023    0.6    Update DIP comparable analysis re: First Guaranty Mortgage

Hill, Michael        6/30/2023    0.6    Update DIP comparable analysis re: TPC Group

Waschitz, Seth       6/30/2023    0.2    Review DIP issues list

Newman, Richard      6/30/2023    0.2    Correspond with A&M team re: DIP comparable analysis

Ashraf, Farris       7/2/2023     2.1    Prepare DIP comparable analysis

Newman, Richard      7/2/2023     1.5    Review interim DIP order

Hill, Michael        7/2/2023     1.4    Review and edit DIP comparable analysis

Hill, Michael        7/2/2023     1.2    Update DIP comparable analysis re: Party City

Hill, Michael        7/2/2023     1.2    Update DIP comparable analysis re: QaulTek

Hill, Michael        7/2/2023     1.1    Update DIP comparable analysis re: Serta Simmons

Ashraf, Farris       7/3/2023     2.9    Update DIP comparable analysis re: exit fees

Domfeh, Kofi         7/3/2023     2.1    Update DIP comparable analysis

Hill, Michael        7/3/2023     1.6    Update DIP comparable analysis re: Instant Brands

Hill, Michael        7/3/2023     1.4    Update DIP comparable analysis re: Sungard

Hill, Michael        7/3/2023     1.0    Update DIP comparable analysis re: Sungard

Hill, Michael        7/3/2023     0.9    Update DIP comparable analysis re: Instant Brands

Domfeh, Kofi         7/4/2023     1.7    Review and edit DIP comparable analysis

Ashraf, Farris       7/4/2023     2.6    Update DIP comparable analysis re: unused line fee

Domfeh, Kofi         7/4/2023     1.5    Update DIP comparable analysis

Waschitz, Seth       7/4/2023     0.2    Correspond with A&M team re: DIP comparables analysis

Ashraf, Farris       7/5/2023     2.7    Review DIP comparable analysis

Domfeh, Kofi         7/5/2023     1.7    Analyze DIP credit agreement

Domfeh, Kofi         7/5/2023     1.6    Prepare DIP issues list

Hill, Michael        7/5/2023     1.4    Update DIP budget presentation re: marketing timelines

Domfeh, Kofi         7/5/2023     1.2    Review and edit DIP comparable analysis

Newman, Richard      7/5/2023     0.8    Review and edit draft DIP objection

Hill, Michael        7/5/2023     0.8    Update DIP analysis re: market interest rate

Gonzalez, Andrea     7/5/2023     0.7    Review draft DIP objection

Hill, Michael        7/5/2023     0.7    Review draft DIP objection

Domfeh, Kofi         7/5/2023     0.5    Participate on call with UCC counsel and A&M team (Newman, Waschitz, Gonzalez) re: draft DIP objection

Waschitz, Seth       7/5/2023     0.5    Participate on call with UCC counsel and A&M team (Newman, Domfeh, Gonzalez) re: draft DIP objection

Newman, Richard      7/5/2023     0.5    Participate on call with UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh) re: draft DIP objection

Gonzalez, Andrea     7/5/2023     0.5    Participate on call with UCC counsel and A&M team (Newman, Waschitz, Domfeh) re: draft DIP objection

Newman, Richard      7/5/2023     0.5    Coordinate A&M DIP objection workstreams

Newman, Richard      7/5/2023     0.4    Participate on call with A&M team (Domfeh) re: DIP issues

Domfeh, Kofi         7/5/2023     0.4    Participate on call with A&M team (Newman) re: DIP issues

Waschitz, Seth       7/5/2023     0.4    Review draft Committee DIP objection

Waschitz, Seth       7/5/2023     0.4    Correspond with UCC counsel re: DIP objection

Newman, Richard      7/5/2023     0.3    Prepare DIP objection items

Newman, Richard      7/5/2023     0.3    Perform DIP interest and fees scenario analysis

Domfeh, Kofi         7/5/2023     0.3    Correspond with A&M team re: DIP financing issues

Newman, Richard      7/5/2023     0.2    Correspond with UCC counsel re: DIP interest rate calculation

Waschitz, Seth       7/5/2023     0.2    Review DIP issues list                         Page 29 of 55
                 Case 23-14853-JKS         Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                      Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 52et al.of 85
                                                                          Time Detail by Project Category
                                                                       June 27 2023 through October 31, 2023

Professional            Date    Hours   Time Description

Domfeh, Kofi         7/5/2023    0.2    Participate on call with A&M team (Newman) re: DIP financing matters

Newman, Richard      7/5/2023    0.2    Participate on call with A&M team (Domfeh) re: DIP financing matters

Newman, Richard      7/5/2023    0.1    Correspond with A&M team re: DIP objection

Ashraf, Farris       7/6/2023    2.8    Update DIP comparable analysis re: Interest calculations

Hill, Michael        7/6/2023    2.1    Update DIP comparable analysis re: total money fees

Domfeh, Kofi         7/6/2023    1.9    Review and edit DIP comparable analysis

Hill, Michael        7/6/2023    1.7    Update DIP comparable analysis re: new money fees

Newman, Richard      7/6/2023    1.6    Review DIP comparable analysis

Hill, Michael        7/6/2023    1.3    Update DIP comparable analysis re: marketing timelines

Domfeh, Kofi         7/6/2023    1.3    Analyze DIP credit agreement

Waschitz, Seth       7/6/2023    1.2    Review revised draft Committee DIP objection

Domfeh, Kofi         7/6/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Newman, Waschitz) re: draft DIP objection

Waschitz, Seth       7/6/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Newman, Waschitz) re: draft DIP objection

Gonzalez, Andrea     7/6/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Newman, Waschitz) re: draft DIP objection

Newman, Richard      7/6/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Newman, Waschitz) re: draft DIP objection

Gonzalez, Andrea     7/6/2023    0.6    Review DIP budget re: sensitivity

Newman, Richard      7/6/2023    0.6    Prepare for DIP objection call with UCC counsel

Waschitz, Seth       7/6/2023    0.6    Review DIP analysis re: sizing sensitivity

Waschitz, Seth       7/6/2023    0.5    Participate on call with A&M team (Newman, Waschitz) re: DIP objection

Gonzalez, Andrea     7/6/2023    0.5    Participate on call with A&M team (Newman, Waschitz) re: DIP objection

Newman, Richard      7/6/2023    0.5    Participate on call with A&M team (Newman, Waschitz) re: DIP objection

Newman, Richard      7/6/2023    0.5    Update DIP interest and fees scenario analysis re: funded amounts

Domfeh, Kofi         7/6/2023    0.4    Participate on call with A&M team (Waschitz) re: DIP comparable analysis

Waschitz, Seth       7/6/2023    0.4    Participate on call with A&M team (Domfeh) re: DIP comparable analysis

Newman, Richard      7/6/2023    0.2    Coordinate A&M DIP workstreams

Newman, Richard      7/6/2023    0.2    Correspond with UCC counsel re: DIP draw language

Domfeh, Kofi         7/6/2023    0.2    Correspond with A&M team re: DIP comparable analysis

Ashraf, Farris       7/7/2023    2.9    Update DIP comparable analysis re: roll up ratio

Ashraf, Farris       7/7/2023    2.9    Update DIP comparable analysis re: interest rate analysis

Domfeh, Kofi         7/7/2023    2.1    Research DIP comparables re: roll up amounts

Hill, Michael        7/7/2023    2.1    Update DIP comparable analysis presentation re: term loans

Ashraf, Farris       7/7/2023    2.2    Review DIP comparable analysis

Newman, Richard      7/7/2023    1.2    Participate on call with A&M team (Ashraf, Waschitz, Domfeh, Hill) re: DIP comparable analysis

Waschitz, Seth       7/7/2023    1.2    Participate on call with A&M team (Newman, Ashraf, Domfeh, Hill) re: DIP comparable analysis

Domfeh, Kofi         7/7/2023    1.2    Participate on call with A&M team (Newman, Waschitz, Ashraf, Hill) re: DIP comparable analysis

Ashraf, Farris       7/7/2023    1.2    Participate on call with A&M team (Newman, Waschitz, Domfeh, Hill) re: DIP comparable analysis

Hill, Michael        7/7/2023    1.2    Participate on call with A&M team (Newman, Waschitz, Domfeh, Ashraf) re: DIP comparable analysis

Domfeh, Kofi         7/7/2023    1.2    Research DIP comparable re: fees

Hill, Michael        7/7/2023    1.1    Update DIP comparables analysis re: revolvers

Domfeh, Kofi         7/7/2023    1.7    Research DIP comparables re: case timelines

Domfeh, Kofi         7/7/2023    1.3    Analyze Debtors' DIP sizing analysis

Hill, Michael        7/7/2023    0.8    Review and edit DIP comparable analysis

Hill, Michael        7/7/2023    0.6    Participate on call with A&M team (Domfeh, Ashraf) re: DIP comparable analysis

Domfeh, Kofi         7/7/2023    0.6    Participate on call with A&M team (Ashraf, Hill) re: DIP comparable analysis

Ashraf, Farris       7/7/2023    0.6    Participate on call with A&M team (Domfeh, Hill) re: DIP comparable analysis

Ashraf, Farris       7/7/2023    0.5    Participate on call with A&M team (Domfeh, Hill) re: DIP comparable analysis

Domfeh, Kofi         7/7/2023    0.5    Participate on call with A&M team (Ashraf, Hill) re: DIP comparable analysis

Hill, Michael        7/7/2023    0.5    Participate on call with A&M team (Domfeh,Page 30 ofre:55DIP comparable analysis
                                                                                   Ashraf)
                Case 23-14853-JKS                      Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                  Desc Main   Exhibit B
                                                              Document         PageINC.,
                                                                 CYXTERA TECHNOLOGIES, 53et al.of 85
                                                                                        Time Detail by Project Category
                                                                                     June 27 2023 through October 31, 2023

Professional              Date           Hours      Time Description

Newman, Richard        7/7/2023            0.4      Participate on call with A&M team (Waschitz) re: DIP objection

Waschitz, Seth         7/7/2023            0.4      Participate on call with A&M team (Newman) re: DIP objection

Domfeh, Kofi           7/7/2023            0.3      Participate on call with A&M team (Newman) re: DIP comparable analysis

Newman, Richard        7/7/2023            0.3      Participate on call with A&M team (Domfeh) re: DIP comparable analysis

Waschitz, Seth         7/7/2023            0.3      Review revised DIP comparable analysis

Newman, Richard        7/7/2023            0.2      Research term loan roll-up for DIP comparable analysis

Waschitz, Seth         7/7/2023            0.2      Review DIP comparable analysis

Domfeh, Kofi           7/8/2023            1.3      Review final DIP order

Newman, Richard        7/9/2023            0.7      Review and comment on draft DIP objection

Gonzalez, Andrea       7/9/2023            0.5      Review draft DIP objection

Waschitz, Seth         7/9/2023            0.5      Review and comment on updated DIP objection

Waschitz, Seth         7/9/2023            0.2      Review DIP counterproposal

Waschitz, Seth         7/9/2023            0.2      Correspond with UCC re: DIP counterproposal

Hill, Michael          7/9/2023            0.2      Correspond with A&M team re: DIP objection

Gonzalez, Andrea       7/9/2023            0.1      Review correspondence from UCC counsel re: DIP objection counter proposal

Newman, Richard        7/9/2023            0.1      Review DIP term sheet proposal

Sinclair, Gibbons      7/11/2023           0.6      Analyze DIP comparable analysis

Waschitz, Seth         7/12/2023           0.3      Review memo to UCC summarizing DIP and cash management motion

Waschitz, Seth         7/12/2023           0.2      Revise DIP comparables analysis

Waschitz, Seth         7/13/2023           0.2      Correspond with UCC re: DIP settlement update

Newman, Richard        7/13/2023           0.1      Correspond with UCC counsel re: DIP budget

Waschitz, Seth         7/18/2023           0.2      Correspond with UCC counsel re: DIP guarantors

Newman, Richard        7/18/2023           0.1      Review UCC counsel's DIP guarantor summary

Newman, Richard        7/28/2023           0.2      Review documents re: DIP interest payment

Waschitz, Seth         9/7/2023            0.4      Correspond with UCC counsel re: DIP Liens
Subtotal                                  122.6



Firm Retention

Waschitz, Seth         7/18/2023           2.5      Prepare retention application

Newman, Richard        7/19/2023           0.5      Review A&M retention application

Newman, Richard        7/20/2023           0.3      Review A&M retention declaration and proposed final order

Waschitz, Seth         7/27/2023           0.6      Finalize retention application

Newman, Richard        8/3/2023            0.2      Coordinate responses to retention application

Newman, Richard        8/9/2023            0.3      Prepare changes to retention application re: disclosures

Newman, Richard        8/15/2023           0.2      Review and annotate supplemental declaration
Subtotal                                   4.6



General Correspondence with Debtor & Debtors' Professionals
Domfeh, Kofi           6/28/2023           0.5
                                                    Participate on call with Debtors' professionals and A&M team (Waschitz, Newman, Gonzalez) re: case updates
Newman, Richard        6/28/2023           0.5
                                                    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Gonzalez) re: case updates
Gonzalez, Andrea       6/28/2023           0.2
                                                    Participate on call with Debtors' professionals and A&M team (Waschitz, Domfeh, Newman) re: case updates (partial)
Waschitz, Seth         6/28/2023           0.2
                                                    Participate on call with Debtors' professionals and A&M team (Domfeh, Gonzalez, Newman) re: case updates (partial)
Newman, Richard        9/1/2023            0.2
                                                    Correspond with Debtors' professionals re: case updates
Subtotal                                   1.6


General Correspondence with UCC & UCC Counsel

Newman, Richard        6/29/2023           0.5      Participate on call with UCC counsel re: case issues

Waschitz, Seth         7/5/2023            0.8      Participate on call with UCC, UCC counsel and A&M team (Newman, Gonzalez) re: case updates
                                                                                                 Page 31 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                   Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 54et al.of 85
                                                                          Time Detail by Project Category
                                                                       June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description

Gonzalez, Andrea     7/5/2023     0.8    Participate on call with UCC, UCC counsel and A&M team (Newman, Waschitz) re: case updates

Newman, Richard      7/5/2023     0.8    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz) re: case updates

Waschitz, Seth       7/11/2023    0.2    Correspond with UCC re: case updates

Newman, Richard      7/11/2023    0.2    Participate on call with UCC member re: case issues

Drissen, Philipp     7/12/2023    0.8    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Domfeh) re: case update

Domfeh, Kofi         7/12/2023    0.8    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Drissen) re: case update

Waschitz, Seth       7/12/2023    0.8    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Drissen, Newman, Domfeh) re: case update

Gonzalez, Andrea     7/12/2023    0.8    Participate on call with UCC, UCC counsel and A&M team (Drissen, Waschitz, Newman, Domfeh) re: case update

Newman, Richard      7/12/2023    0.8    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Drissen, Domfeh) re: case update

Newman, Richard      7/21/2023    0.9    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Vaid, Domfeh, Ashraf) re: case updates

Vaid, Hameer         7/21/2023    0.9    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Newman, Domfeh, Ashraf) re: case updates

Ashraf, Farris       7/21/2023    0.9    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Newman, Vaid, Domfeh) re: case updates

Domfeh, Kofi         7/21/2023    0.9    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Newman, Vaid, Ashraf) re: case updates

Gonzalez, Andrea     7/21/2023    0.9    Participate on call with UCC, UCC counsel and A&M team (Vaid, Newman, Domfeh, Ashraf) re: case updates

Newman, Richard      7/21/2023    0.2    Participate on call with UCC counsel re: Committee update presentation

Newman, Richard      7/27/2023    0.2    Participate on call with UCC counsel re: case update

Newman, Richard      7/28/2023    0.4    Participate on call with UCC member re: case issues

Newman, Richard      8/1/2023     0.7    Participate on call with Committee, UCC counsel and A&M team (Waschitz, Domfeh, Holsomback, Gonzalez) re: case updates

Waschitz, Seth       8/1/2023     0.7    Participate on call with Committee, UCC counsel and A&M team (Newman, Domfeh, Holsomback, Gonzalez) re: case updates

Domfeh, Kofi         8/1/2023     0.7    Participate on call with Committee, UCC counsel and A&M team (Newman, Waschitz, Holsomback, Gonzalez) re: case updates

Holsomback, Hunt     8/1/2023     0.5    Participate on call with Committee, UCC counsel and A&M team (Newman, Domfeh, Waschitz, Gonzalez) re: case updates (Partial)

Gonzalez, Andrea     8/1/2023     0.7    Participate on call with Committee, UCC counsel and A&M team (Domfeh, Waschitz, Newman, Holsomback) re: case updates

Newman, Richard      8/1/2023     0.3    Revise Committee presentation re: case updates

Newman, Richard      8/1/2023     0.2    Prepare summary of key case issues re: Committee call preparation

Newman, Richard      8/1/2023     0.1    Correspond with UCC counsel re: Committee call preparation

Scott, Tom           8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Holsomback, Gonzalez, Newman, Waschitz, Domfeh) re: case updates

Holsomback, Hunt     8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Scott, Gonzalez, Newman, Waschitz, Domfeh) re: case updates

Gonzalez, Andrea     8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Holsomback, Scott, Newman, Waschitz, Domfeh) re: case updates

Newman, Richard      8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Holsomback, Gonzalez, Scott, Waschitz, Domfeh) re: case updates

Waschitz, Seth       8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Holsomback, Gonzalez, Newman, Scott, Domfeh) re: case updates

Domfeh, Kofi         8/8/2023     0.7    Participate on call with UCC, UCC counsel and A&M team (Holsomback, Gonzalez, Newman, Waschitz, Scott) re: case updates

Newman, Richard      8/10/2023    0.1    Correspond with UCC counsel re: debt questions

Newman, Richard      8/17/2023    0.3    Correspond with UCC counsel re: lender correspondence

Newman, Richard      8/18/2023    0.2    Coordinate with UCC counsel re: potential lender issues

Newman, Richard      8/21/2023    0.5    Review and revise Committee presentation

Scott, Tom           8/22/2023    0.5    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Newman) re: case updates

Gonzalez, Andrea     8/22/2023    0.4    Participate on call with UCC, UCC counsel and A&M team (Scott, Waschitz, Newman) re: case updates

Newman, Richard      8/22/2023    0.3    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Scott) re: case updates

Waschitz, Seth       8/22/2023    0.3    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Scott, Newman) re: case updates

Newman, Richard      8/22/2023    0.5    Prepare key case updates re: Committee call preparation

Newman, Richard      8/22/2023    0.1    Correspond with UCC counsel re: Committee call preparation

Newman, Richard      9/7/2023     0.5    Review and edit Committee presentation re: global comments

Newman, Richard      9/13/2023    0.9    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh, Holsomback) re: case updates

Domfeh, Kofi         9/13/2023    0.9    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Holsomback) re: case updates

Holsomback, Hunt     9/13/2023    0.9    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh, Newman) re: case updates
                                                                                     Page 32 of 55
                 Case 23-14853-JKS            Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                       Desc Main   Exhibit B
                                                     Document         PageINC.,
                                                        CYXTERA TECHNOLOGIES, 55et al.of 85
                                                                             Time Detail by Project Category
                                                                          June 27 2023 through October 31, 2023

Professional             Date      Hours   Time Description

Gonzalez, Andrea      9/13/2023     0.9    Participate on call with Committee, UCC counsel and A&M team (Newman, Waschitz, Domfeh, Holsomback) re: case updates

Waschitz, Seth        9/13/2023     0.9    Participate on call with Committee, UCC counsel and A&M team (Newman, Gonzalez, Domfeh, Holsomback) re: case updates

Newman, Richard       9/21/2023     0.4    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh, Scott) re: settlement / sale update

Scott, Tom            9/21/2023     0.4    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Domfeh) re: settlement / sale update

Domfeh, Kofi          9/21/2023     0.4    Participate on call with UCC, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Scott) re: settlement / sale update

Gonzalez, Andrea      9/21/2023     0.4    Participate on call with UCC, UCC counsel and A&M team (Waschitz, Newman, Domfeh, Scott) re: settlement / sale update

Waschitz, Seth        9/26/2023     0.2    Correspond with UCC re: case updates

Newman, Richard       10/3/2023     0.2    Correspond with UCC counsel re: Committee call

Newman, Richard       10/20/2023    0.1    Participate on call with UCC counsel re: Committee call

Domfeh, Kofi          10/20/2023    0.5    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Waschitz, Newman, Domfeh) re: business plan

Waschitz, Seth        10/20/2023    0.6    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Newman, Domfeh) re: business plan

Newman, Richard       10/20/2023    0.6    Participate on call with Committee, UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh) re: business plan

Gonzalez, Andrea      10/20/2023    0.6    Participate on call with Committee, UCC counsel and A&M team (Waschitz, Newman, Domfeh) re: business plan
Subtotal                           33.3



Insurance Matters
Waschitz, Seth        7/21/2023     0.4    Correspond with Debtors re: insurance policies

Subtotal                            0.4



Intercompany Claims
Gonzalez, Andrea      7/7/2023      1.8    Review intercompany matrix

Newman, Richard       7/7/2023      0.7    Review intercompany matrix

Domfeh, Kofi          7/7/2023      0.5    Participate on call with Debtors' professionals and A&M team (Gonzalez, Newman, Hill) re: intercompany matrix

Gonzalez, Andrea      7/7/2023      0.5    Participate on call with Debtors' professionals and A&M team (Domfeh, Newman, Hill) re: intercompany matrix

Newman, Richard       7/7/2023      0.5    Participate on call with Debtors' professionals and A&M team (Gonzalez, Domfeh, Hill) re: intercompany matrix

Hill, Michael         7/7/2023      0.5    Participate on call with Debtors' professionals and A&M team (Gonzalez, Newman, Hill) re: intercompany matrix

Gonzalez, Andrea      7/7/2023      0.3    Review list of intercompany agreements

Waschitz, Seth        7/7/2023      0.3    Review intercompany agreements

Gonzalez, Andrea      7/7/2023      1.2    Review updated intercompany matrix

Gonzalez, Andrea      7/8/2023      0.1    Correspond with Debtors' professionals re: updated intercompany matrix

Newman, Richard       7/8/2023      0.1    Correspond with A&M team re: intercompany transactions

Gonzalez, Andrea      7/9/2023      0.9    Review May 2023 trial balances re: intercompany entries

Waschitz, Seth        7/9/2023      0.1    Correspond with A&M team re: intercompany funding

Newman, Richard       7/11/2023     0.2    Research intercompany issues

Newman, Richard       7/13/2023     1.1    Reconcile intercompany receivables re: intercompany matrix

Waschitz, Seth        7/13/2023     0.6    Review updated intercompany matrix

Ashraf, Farris        7/13/2023     0.5    Participate on call with Debtors' professionals and A&M team (Waschitz) re: intercompany activity

Waschitz, Seth        7/13/2023     0.5    Participate on call with Debtors' professionals and A&M team (Ashraf) re: intercompany activity

Newman, Richard       7/13/2023     0.1    Correspond with A&M team re: intercompany activity

Newman, Richard       7/14/2023     0.5    Participate on call with A&M team (Waschitz) re: intercompany matrix

Waschitz, Seth        7/14/2023     0.5    Participate on call with A&M team (Newman) re: intercompany matrix

Newman, Richard       7/26/2023     0.5    Review intercompany payments re: loans to DC Holdings

Newman, Richard       8/10/2023     0.9    Review potential intercompany preference payments

Newman, Richard       8/10/2023     0.4    Prepare intercompany payments analysis

Domfeh, Kofi          8/15/2023     2.7    Analyze prepetition intercompany schedule

Domfeh, Kofi          8/15/2023     1.6    Analyze prepetition intercompany transfers

Newman, Richard       8/15/2023     1.2    Review intercompany payments re: potential preference exposure

Domfeh, Kofi          8/16/2023     2.1    Revise waterfall analysis re: intercompany transactions
                                                                                        Page 33 of 55
                 Case 23-14853-JKS             Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                          Desc Main   Exhibit B
                                                      Document         PageINC.,
                                                         CYXTERA TECHNOLOGIES, 56et al.of 85
                                                                               Time Detail by Project Category
                                                                            June 27 2023 through October 31, 2023

Professional               Date     Hours   Time Description
Newman, Richard         8/16/2023    0.3    Revise due diligence request list re: intercompany

Domfeh, Kofi            8/18/2023    1.6    Analyze post-petition intercompany claims

Gonzalez, Andrea        8/19/2023    0.2    Review June intercompany matrix

Waschitz, Seth          8/21/2023    0.2    Correspond with Debtors re: intercompany matrix questions

Waschitz, Seth          8/22/2023    0.5    Participate on call with Debtors and A&M team (Domfeh, Ashraf) re: intercompany activity

Domfeh, Kofi            8/22/2023    0.5    Participate on call with Debtors and A&M team (Waschitz, Ashraf) re: intercompany activity

Ashraf, Farris          8/22/2023    0.5    Participate on call with Debtors and A&M team (Domfeh, Waschitz) re: intercompany activity

Domfeh, Kofi            8/24/2023    2.7    Update waterfall analysis re: intercompany distribution analysis

Domfeh, Kofi            8/24/2023    2.5    Update waterfall analysis re: intercompany value distribution

Waschitz, Seth          8/24/2023    1.2    Review intercompany matrix

Domfeh, Kofi            8/26/2023    2.4    Prepare analyses of intercompany notes

Domfeh, Kofi            8/28/2023    2.4    Prepare intercompany distribution analyses

Hill, Michael           8/29/2023    0.8    Prepare intercompany data analysis

Hill, Michael           8/29/2023    0.8    Update intercompany data analysis

Hill, Michael           8/29/2023    0.7    Review intercompany data

Newman, Richard         8/29/2023    0.4    Prepare intercompany transaction issues list

Subtotal                            38.6



Miscellaneous Motions
Waschitz, Seth          6/27/2023    0.6    Review first day motions

Gonzalez, Andrea        6/27/2023    0.7    Supervise review of first day motions

Newman, Richard         6/27/2023    0.4    Review critical vendor motion

Newman, Richard         6/27/2023    0.3    Review hedging motion

Newman, Richard         6/27/2023    0.3    Review customer programs motion

Newman, Richard         6/27/2023    0.6    Review NOL motion

Hill, Michael           6/28/2023    0.8    Review cash management motion

Gonzalez, Andrea        6/28/2023    1.8    Review cash management motion

Hill, Michael           6/28/2023    0.7    Prepare cash management motion summary

Gonzalez, Andrea        6/28/2023    1.8    Review summary of first day motions re: cash management

Domfeh, Kofi            6/28/2023    1.8    Review first day declaration

Hill, Michael           6/28/2023    0.9    Review critical vendor motion

Waschitz, Seth          6/28/2023    1.7    Review wages motion and develop issues list

Gonzalez, Andrea        6/28/2023    0.7    Review receivables program motion

Waschitz, Seth          6/28/2023    0.6    Review critical vendors motion and develop issues list

Ashraf, Farris          6/28/2023    0.4    Review cash collateral motion

Hill, Michael           6/28/2023    0.7    Prepare critical vendor motion summary

Hill, Michael           6/28/2023    0.5    Review wages motion

Waschitz, Seth          6/28/2023    0.5    Review hedging motion and develop issues list

Gonzalez, Andrea        6/28/2023    0.5    Review motion to obtain post-petition financing

Waschitz, Seth          6/28/2023    0.4    Review customer programs motion and develop issues list

Waschitz, Seth          6/28/2023    0.4    Review insurance motion and develop issues list

Waschitz, Seth          6/28/2023    1.1    Review cash management motion

Newman, Richard         6/28/2023    0.3    Prepare first day motion redline

Newman, Richard         6/28/2023    0.3    Correspond with UCC counsel re: cash management motion

Waschitz, Seth          6/28/2023    0.3    Review utilities motion and develop issues list

Hill, Michael           6/28/2023    0.2    Participate on call with A&M team (Newman) re: cash management motion review

                                                                                           Page 34 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                          Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 57et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Newman, Richard     6/28/2023    0.2    Participate on call with A&M team (Hill) re: cash management motion review

Waschitz, Seth      6/28/2023    0.2    Participate on call with A&M team (Newman) re: first day motion issues list

Newman, Richard     6/28/2023    0.2    Participate on call with A&M team (Waschitz) re: first day motions issues list

Newman, Richard     6/28/2023    0.2    Review first day motions summary

Newman, Richard     6/28/2023    0.2    Review and edit redline to cash management motion

Hill, Michael       6/28/2023    0.2    Prepare wages motion summary

Hill, Michael       6/28/2023    0.2    Participate on call with A&M team (Newman) re: critical vendor motion review

Newman, Richard     6/28/2023    0.2    Participate on call with A&M team (Hill) re: critical vendor motion review

Hill, Michael       6/28/2023    0.1    Participate on call with A&M team (Waschitz) re: first day motions issues list

Waschitz, Seth      6/28/2023    0.1    Participate on call with A&M team (Hill) re: first day motions issues list

Gonzalez, Andrea    6/29/2023    2.2    Review receivables program motion

Domfeh, Kofi        6/29/2023    2.4    Review first day motions

Gonzalez, Andrea    6/29/2023    0.3    Review Raymond Li declaration re: receivables program

Hill, Michael       6/29/2023    0.2    Participate on call with A&M team (Waschitz) re: first day motion review

Waschitz, Seth      6/29/2023    0.2    Participate on call with A&M team (Hill) re: first day motion review

Gonzalez, Andrea    6/29/2023    0.1    Correspond with UCC counsel re: cash management order

Newman, Richard     6/30/2023    1.0    Research potential cash management motion issues

Gonzalez, Andrea    6/30/2023    0.5    Participate on call with Debtors' professionals and A&M team (Newman, Hill) re: cash management motion

Newman, Richard     6/30/2023    0.5    Participate on call with Debtors' professionals and A&M team (Gonzalez, Hill) re: cash management motion

Hill, Michael       6/30/2023    0.5    Participate on call with Debtors' professionals and A&M team (Gonzalez, Newman) re: cash management motion

Newman, Richard     6/30/2023    0.5    Review Guggenheim retention application

Gonzalez, Andrea    6/30/2023    0.2    Review AlixPartners' retention application

Newman, Richard     7/1/2023     0.3    Review NOL motion

Rovitz, Alec        7/2/2023     1.3    Review first day motions issues list

Newman, Richard     7/3/2023     0.3    Review Hilco retention application

Rovitz, Alec        7/6/2023     0.6    Review cash collateral motion

Gonzalez, Andrea    7/8/2023     0.6    Review cash collateral motion

Newman, Richard     7/9/2023     0.4    Review and comment on motion to reconsider

Waschitz, Seth      7/9/2023     0.4    Review and comment on reconsideration motion

Gonzalez, Andrea    7/9/2023     0.2    Review motion for reconsideration

Gonzalez, Andrea    7/10/2023    0.8    Review UCC comments on draft interim cash management order

Gonzalez, Andrea    7/10/2023    0.4    Review cash management motion

Waschitz, Seth      7/10/2023    0.4    Review critical vendor motion

Gonzalez, Andrea    7/10/2023    0.2    Participate on call with UCC counsel re: comments on cash management order

Newman, Richard     7/10/2023    0.2    Comment on cash management motion final language

Gonzalez, Andrea    7/11/2023    0.3    Review draft interim cash management order

Gonzalez, Andrea    7/11/2023    0.2    Participate on call with UCC counsel and A&M team (Newman) re: final cash management order

Newman, Richard     7/11/2023    0.2    Participate on call with UCC counsel and A&M team (Newman) re: final cash management order

Gonzalez, Andrea    7/11/2023    0.2    Review correspondence from UCC counsel re: interim cash management order

Gonzalez, Andrea    7/11/2023    0.2    Correspond with UCC counsel re: comments on interim cash management order

Gonzalez, Andrea    7/11/2023    0.1    Review summary of select first day motions

Waschitz, Seth      7/11/2023    0.1    Correspond with UCC counsel re: Debtors' retention applications

Waschitz, Seth      7/12/2023    0.4    Review Hilco retention application

Gonzalez, Andrea    7/12/2023    0.2    Review correspondence from UCC counsel re: Debtors' comments on interim cash management order

Gonzalez, Andrea    7/13/2023    0.4    Review proposed edits to interim cash management order
                                                                                      Page 35 of 55
                 Case 23-14853-JKS                       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                     Desc Main   Exhibit B
                                                                Document         PageINC.,
                                                                   CYXTERA TECHNOLOGIES, 58et al.of 85
                                                                                         Time Detail by Project Category
                                                                                      June 27 2023 through October 31, 2023

Professional               Date            Hours      Time Description
Scott, Tom              7/13/2023               1.3   Prepare summary of bid procedure motion

Newman, Richard         7/23/2023               0.4   Review Debtors' tax advisor retention application

Waschitz, Seth          7/25/2023               0.4   Review VST objection

Newman, Richard         7/25/2023               0.5   Review VST objection

Newman, Richard         7/26/2023               0.3   Review proposed 9019 motion

Newman, Richard         7/26/2023               0.2   Review removement of actions motion

Hill, Michael           7/27/2023               0.6   Review wages motion

Newman, Richard         7/31/2023               0.2   Review lease rejection motion

Rovitz, Alec            7/31/2023               0.8   Review lease rejection motion

Rovitz, Alec            7/31/2023               0.5   Prepare summary of lease rejection motion

Singh, Kabir            8/15/2023               0.5   Analyze DIP motion re: adequate protection / marshalling

Gonzalez, Andrea        8/16/2023               0.3   Review fourth interim cash management motion

Domfeh, Kofi            8/18/2023               0.3   Analyze cash management order

Hill, Michael           8/18/2023               0.3   Review draft motion re: lien challenge

Hill, Michael           8/18/2023               0.3   Review avoidance complaint

Newman, Richard         8/20/2023               0.3   Review and revise complaint and draft motion

Gonzalez, Andrea        8/22/2023               0.5   Review draft motion re: lien challenge

Newman, Richard         9/1/2023                0.3   Review Debtors' exclusivity motion

Newman, Richard         9/21/2023               0.2   Review exclusivity pleading

Subtotal                                    46.3




Plan of Reorganization / Disclosure Statement
Waschitz, Seth          6/28/2023               2.9   Review restructuring support agreeement

Domfeh, Kofi            6/28/2023               0.6   Analyze restructuring support agreement

Newman, Richard         7/3/2023                0.6   Prepare comments on case settlement offer

Gonzalez, Andrea        7/3/2023                0.2   Review correspondence from UCC counsel re: draft settlement proposal

Waschitz, Seth          7/25/2023               0.6   Review proposed settlement agreement

Newman, Richard         7/25/2023               0.5   Review proposed settlement agreement

Newman, Richard         8/4/2023                0.2   Review Debtors' analysis re: Plan process

Newman, Richard         8/7/2023                1.1   Review of Plan of Reorganization

Newman, Richard         8/7/2023                1.1   Prepare Plan issues list

Waschitz, Seth          8/7/2023                0.1   Review draft Plan of Reorganization

Newman, Richard         8/8/2023                0.5   Review waterfall analysis re: intercompany transactions

Newman, Richard         8/8/2023                0.4   Update waterfall analysis re: legal entities to operations

Newman, Richard         8/9/2023                0.3   Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi            8/9/2023                0.3   Participate on call with A&M team (Newman) re: waterfall analysis

Gonzalez, Andrea        8/9/2023                1.5   Review Plan of Reorganization

Domfeh, Kofi            8/9/2023                1.4   Prepare waterfall analysis re: entity level summary

Domfeh, Kofi            8/9/2023                1.1   Analyze waterfall analysis re: ownership structure

Newman, Richard         8/9/2023                0.9   Direct A&M team to update value allocation analysis

Newman, Richard         8/9/2023                0.5   Prepare waterfall analysis re: value allocation analysis

Waschitz, Seth          8/9/2023                0.3   Participate on call with A&M team member re: waterfall analysis

Domfeh, Kofi            8/10/2023               0.7   Participate on call with A&M team (Ashraf) re: waterfall analysis

Ashraf, Farris          8/10/2023               0.7   Participate on call with A&M team (Domfeh) re: waterfall analysis

Ashraf, Farris          8/10/2023               2.8   Review waterfall analysis re: intercompany transactions

Domfeh, Kofi            8/10/2023               2.7   Update waterfall analysis re: claims schedule

Ashraf, Farris          8/10/2023               2.5   Review waterfall analysis re: intercompany balances
                                                                                                  Page 36 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                          Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 59et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Domfeh, Kofi         8/10/2023    2.1    Update waterfall analysis re: secured claims distribution

Ashraf, Farris       8/10/2023    2.1    Review waterfall analysis re: SOAL

Domfeh, Kofi         8/10/2023    1.7    Update waterfall analysis re: unsecured claims distribution

Domfeh, Kofi         8/10/2023    1.4    Analyze waterfall analysis re: ownership structure

Domfeh, Kofi         8/10/2023    1.2    Analyze waterfall analysis re: secured claims

Domfeh, Kofi         8/11/2023    0.2    Participate on call with A&M team (Waschitz) re: waterfall analysis

Waschitz, Seth       8/11/2023    0.2    Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi         8/11/2023    2.9    Analyze waterfall analysis re: book value by legal entity

Domfeh, Kofi         8/11/2023    2.6    Update waterfall analysis re: distribution scenario analysis

Domfeh, Kofi         8/11/2023    2.6    Prepare waterfall analysis re: parent subsidiary ownership schedule

Ashraf, Farris       8/11/2023    2.1    Review waterfall analysis re: SOFA

Domfeh, Kofi         8/11/2023    1.2    Analyze waterfall analysis re: trade claims by legal entity

Domfeh, Kofi         8/12/2023    2.6    Update waterfall analysis re: distribution scenario analysis

Newman, Richard      8/14/2023    0.3    Participate on call with UCC counsel re: waterfall analysis / sale process

Ashraf, Farris       8/14/2023    2.9    Update waterfall analysis re: intercompany matrix

Domfeh, Kofi         8/14/2023    2.7    Update waterfall analysis re: recovery analysis by entity

Domfeh, Kofi         8/14/2023    2.6    Review waterfall analysis re: balance sheet liabilities by entity

Ashraf, Farris       8/14/2023    2.3    Review waterfall analysis re: organizational chart

Domfeh, Kofi         8/14/2023    1.8    Review and edit waterfall analysis re: schedule of recoveries

Ashraf, Farris       8/14/2023    1.4    Update waterfall analysis re: equity roll forward

Domfeh, Kofi         8/14/2023    1.0    Update waterfall analysis re: substantive consolidation analysis for administrative claims

Ashraf, Farris       8/15/2023    2.8    Analyze waterfall analysis re: intercompany transactions

Ashraf, Farris       8/15/2023    2.8    Update waterfall analysis re: intercompany matrix

Domfeh, Kofi         8/15/2023    2.6    Prepare waterfall analysis re: guarantee claims distribution

Domfeh, Kofi         8/15/2023    1.7    Update waterfall analysis re: unsecured claims schedule by entity

Domfeh, Kofi         8/15/2023    1.5    Update waterfall analysis re: schedule of secured claims

Newman, Richard      8/15/2023    0.8    Update waterfall analysis re: entities with value

Ashraf, Farris       8/15/2023    0.7    Update waterfall analysis re: intercompany activity

Newman, Richard      8/15/2023    0.4    Update waterfall analysis re: DIP treatment

Newman, Richard      8/15/2023    0.3    update waterfall re: DIP mechanics

Ashraf, Farris       8/15/2023    0.3    Update waterfall analysis re: data centers mapping

Newman, Richard      8/15/2023    0.2    Review waterfall analysis re: treatment of guarantors

Domfeh, Kofi         8/16/2023    0.2    Participate on A&M call with team (Newman) re: waterfall analysis

Newman, Richard      8/16/2023    0.2    Participate on A&M call with team (Domfeh) re: waterfall analysis

Ashraf, Farris       8/16/2023    2.9    Update waterfall analysis re: intercompany activity

Ashraf, Farris       8/16/2023    2.7    Update waterfall analysis re: intercompany activity

Domfeh, Kofi         8/16/2023    2.5    Revise waterfall analysis re: unsecured claims distribution

Domfeh, Kofi         8/16/2023    2.2    Revise waterfall analysis re: subsidiary equity distribution to parent

Hill, Michael        8/16/2023    1.7    Review Disclosure Statement

Domfeh, Kofi         8/16/2023    1.3    Prepare waterfall analysis re: DIP claims distribution

Domfeh, Kofi         8/16/2023    1.3    Revise waterfall analysis re: guarantee unsecured claims distribution

Gonzalez, Andrea     8/16/2023    1.1    Review Disclosure Statement

Newman, Richard      8/16/2023    0.8    Review Disclosure Statement documents

Newman, Richard      8/16/2023    0.7    Outline Disclosure Statement

Gonzalez, Andrea     8/16/2023    0.2    Review Debtors counter offer to UCC settlement

Newman, Richard      8/16/2023    0.1    Review Debtors' settlement offer

Newman, Richard      8/16/2023    0.1    Correspond with UCC counsel re: Debtors' settlement offer

Waschitz, Seth       8/16/2023    0.1    Review settlement proposal                      Page 37 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                  Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 60et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Hill, Michael        8/17/2023    0.2    Participate on call with A&M team (Newman) re: amendment analysis

Newman, Richard      8/17/2023    0.2    Participate on call with A&M team (Hill) re: amendment analysis

Domfeh, Kofi         8/17/2023    0.2    Participate on call with A&M team (Newman) re: Debtors' settlement offer

Newman, Richard      8/17/2023    0.2    Participate on call with A&M team (Domfeh) re: Debtors' settlement offer

Newman, Richard      8/17/2023    1.5    Participate on call with UCC counsel re: waterfall analysis and recoveries

Domfeh, Kofi         8/17/2023    2.9    Revise waterfall analysis re: guarantee unsecured claims distribution

Ashraf, Farris       8/17/2023    2.7    Update waterfall analysis re: intercompany notes payable / receivable

Ashraf, Farris       8/17/2023    2.4    Update waterfall analysis re: intercompany notes payable / receivable

Domfeh, Kofi         8/17/2023    2.3    Revise waterfall analysis re: substantive consolidation distribution

Newman, Richard      8/17/2023    0.8    Review solicitation procedures and documents

Newman, Richard      8/17/2023    0.3    Prepare comments to amendment analysis

Newman, Richard      8/17/2023    0.2    Correspond with UCC counsel re: Committee recovery

Newman, Richard      8/18/2023    0.6    Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi         8/18/2023    0.6    Participate on call with A&M team (Newman) re: waterfall analysis

Ashraf, Farris       8/18/2023    2.8    Update waterfall analysis re: intercompany transaction list

Domfeh, Kofi         8/18/2023    2.3    Update waterfall analysis re: claims scenario analysis

Ashraf, Farris       8/18/2023    2.2    Review intercompany matrix data room update

Domfeh, Kofi         8/18/2023    1.9    Update waterfall analysis re: recovery by entity

Rovitz, Alec         8/18/2023    1.1    Update summary of treatment of creditor classes

Newman, Richard      8/18/2023    0.5    Direct A&M team to prepare solvency analysis

Newman, Richard      8/18/2023    0.5    Review and edit waterfall analysis re: audited financials

Singh, Kabir         8/18/2023    0.3    Prepare summary of treatment of creditor classes

Newman, Richard      8/18/2023    0.2    Correspond with UCC counsel re: solvency

Domfeh, Kofi         8/19/2023    2.2    Review and edit waterfall analysis re: summary of recoveries

Domfeh, Kofi         8/19/2023    1.6    Update waterfall analysis re: secured claims distribution scenario analysis

Waschitz, Seth       8/19/2023    0.9    Review Disclosure Statement

Ashraf, Farris       8/21/2023    3.0    Update waterfall analysis re: May intercompany balances update

Ashraf, Farris       8/21/2023    2.9    Analyze waterfall analysis re: June intercompany activity update

Domfeh, Kofi         8/21/2023    2.8    Update waterfall analysis re: recovery by entity

Domfeh, Kofi         8/21/2023    2.7    Review waterfall analysis re: secured claims guarantors

Domfeh, Kofi         8/21/2023    2.6    Update waterfall analysis re: distribution analysis for secured claims

Domfeh, Kofi         8/21/2023    1.7    Analyze waterfall analysis re: lease rejections claims

Hill, Michael        8/21/2023    0.6    Review updated Disclosure schedules

Domfeh, Kofi         8/22/2023    0.5    Participate on call with A&M team (Newman, Waschitz) re: waterfall analysis

Waschitz, Seth       8/22/2023    0.5    Participate on call with A&M team (Newman, Domfeh) re: waterfall analysis

Newman, Richard      8/22/2023    0.5    Participate on call with A&M team (Domfeh, Waschitz) re: waterfall analysis

Domfeh, Kofi         8/22/2023    2.9    Review waterfall analysis re: guarantor distribution analysis for unsecured claims

Ashraf, Farris       8/22/2023    2.7    Analyze waterfall analysis re: June intercompany activity update

Domfeh, Kofi         8/22/2023    2.6    Prepare waterfall analysis re: schedule of trade claims

Ashraf, Farris       8/22/2023    1.2    Review waterfall analysis re: total professional fees at emergence

Domfeh, Kofi         8/22/2023    0.9    Update waterfall analysis re: trade claims

Gonzalez, Andrea     8/22/2023    0.5    Review Disclosure Statement

Domfeh, Kofi         8/22/2023    0.5    Update waterfall analysis re: guarantor distribution for unsecured claims

Waschitz, Seth       8/22/2023    0.3    Discuss waterfall analysis with A&M team

Domfeh, Kofi         8/23/2023    2.4    Review and edit waterfall analysis re: valuation by entity

Domfeh, Kofi         8/23/2023    1.4    Review and edit waterfall analysis re: revenue by entity

Hill, Michael        8/23/2023    1.3    Review waterfall analysis re: intercompany

Ashraf, Farris       8/23/2023    0.3    Review waterfall analysis re: intercompany payables
                                                                                     Page 38 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                 Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 61et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       8/24/2023    2.9    Update waterfall analysis re: post petition intercompany activity

Ashraf, Farris       8/24/2023    2.5    Review waterfall analysis re: May intercompany update

Ashraf, Farris       8/24/2023    2.4    Update waterfall analysis re: pre-petition intercompany activity

Domfeh, Kofi         8/24/2023    2.2    Revise waterfall analysis re: distribution recovery analysis by entity

Domfeh, Kofi         8/24/2023    1.3    Update waterfall analysis re: distributable value scenario

Newman, Richard      8/24/2023    0.2    Review outstanding workstream items re: waterfall analysis

Domfeh, Kofi         8/25/2023    2.6    Update waterfall analysis re: excess distribution for unsecured guarantors

Domfeh, Kofi         8/25/2023    2.4    Analyze waterfall analysis re: intercompany and subsidiary equity redistributions

Domfeh, Kofi         8/25/2023    2.1    Update waterfall analysis re: recoveries by legal entity

Ashraf, Farris       8/25/2023    1.9    Review waterfall analysis re: post intercompany activity

Domfeh, Kofi         8/25/2023    1.3    Update waterfall analysis re: recovery by legal entity

Domfeh, Kofi         8/26/2023    2.7    Analyze waterfall analysis re: intercompany matrix

Domfeh, Kofi         8/26/2023    1.5    Review waterfall analysis re: schedule of intercompany payables by entity

Domfeh, Kofi         8/28/2023    0.6    Participate on call with A&M team (Newman) re: waterfall analysis

Newman, Richard      8/28/2023    0.6    Participate on call with A&M team (Domfeh) re: waterfall analysis

Newman, Richard      8/28/2023    0.7    Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi         8/28/2023    0.7    Participate on call with A&M team (Newman) re: waterfall analysis

Ashraf, Farris       8/28/2023    2.5    Review waterfall analysis re: claims

Ashraf, Farris       8/28/2023    2.4    Update waterfall analysis re: guarantor list

Domfeh, Kofi         8/28/2023    1.9    Update waterfall analysis re: recovery by legal entity

Domfeh, Kofi         8/28/2023    1.3    Update waterfall analysis re: recovery by legal entity

Newman, Richard      8/28/2023    1.1    Prepare Disclosure Statement / Plan issues list

Newman, Richard      8/28/2023    1.0    Review waterfall analysis re: recovery summary

Waschitz, Seth       8/29/2023    2.9    Review and analyze waterfall analysis

Ashraf, Farris       8/29/2023    2.9    Review waterfall analysis re: recovery summary

Ashraf, Farris       8/29/2023    2.6    Review waterfall analysis re: legal entity valuation

Ashraf, Farris       8/29/2023    2.2    Review waterfall analysis re: intercompany balances

Domfeh, Kofi         8/29/2023    2.1    Prepare waterfall presentation re: summary of recoveries

Domfeh, Kofi         8/29/2023    2.1    Analyze waterfall analysis re: intercompany claims by legal entity

Domfeh, Kofi         8/29/2023    1.9    Update waterfall analysis re: secured claims recovery

Domfeh, Kofi         8/29/2023    1.6    Update waterfall analysis re: recovery by legal entity

Newman, Richard      8/29/2023    0.6    Participate on call with UCC counsel re: waterfall analysis

Newman, Richard      8/30/2023    1.4    Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi         8/30/2023    1.4    Participate on call with A&M team (Newman) re: waterfall analysis

Ashraf, Farris       8/30/2023    2.8    Update waterfall analysis re: intercompany summary output

Domfeh, Kofi         8/30/2023    2.6    Update waterfall presentation re: secured claims distribution

Domfeh, Kofi         8/30/2023    2.6    Update waterfall analysis re: summary of intercompany claims recovery

Waschitz, Seth       8/30/2023    1.7    Review waterfall analysis re: claims calculation

Domfeh, Kofi         8/30/2023    0.8    Update waterfall presentation re: unsecured claims distribution

Domfeh, Kofi         8/30/2023    0.7    Analyze waterfall analysis re: equity distributions from subsidiary

Newman, Richard      8/30/2023    0.5    Coordinate preparation of waterfall presentation

Domfeh, Kofi         8/31/2023    2.9    Review and edit waterfall presentation re: recovery summary

Domfeh, Kofi         8/31/2023    2.8    Update waterfall presentation re: recovery by legal entity

Domfeh, Kofi         8/31/2023    2.7    Update waterfall presentation re: assumptions summary

Domfeh, Kofi         8/31/2023    2.6    Analyze waterfall analysis re: secured claims recovery scenarios

Ashraf, Farris       8/31/2023    2.3    Update waterfall analysis re: vendor analysis

Ashraf, Farris       8/31/2023    1.7    Update waterfall analysis presentation re: intercompany summary

Waschitz, Seth       8/31/2023    1.2    Review waterfall analysis re: recoveries by entity
                                                                                       Page 39 of 55
                 Case 23-14853-JKS         Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                             Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 62et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date    Hours   Time Description
Newman, Richard      9/1/2023    1.4    Review and edit waterfall analysis

Newman, Richard      9/1/2023    0.6    Review and edit waterfall analysis

Newman, Richard      9/1/2023    0.5    Update waterfall analysis re: global assumptions

Newman, Richard      9/1/2023    0.5    Participate on call with A&M team (Domfeh, Waschitz, Ashraf) re: waterfall analysis

Domfeh, Kofi         9/1/2023    0.5    Participate on call with A&M team (Newman, Waschitz, Ashraf) re: waterfall analysis

Waschitz, Seth       9/1/2023    0.5    Participate on call with A&M team (Newman, Domfeh, Ashraf) re: waterfall analysis

Ashraf, Farris       9/1/2023    0.5    Participate on call with A&M team (Newman, Domfeh, Waschitz) re: waterfall analysis

Domfeh, Kofi         9/1/2023    2.7    Prepare waterfall presentation re: intercompany recoveries

Domfeh, Kofi         9/1/2023    1.7    Updated waterfall presentation re: unsecured claim recoveries

Waschitz, Seth       9/1/2023    2.3    Review and edit waterfall presentation

Domfeh, Kofi         9/2/2023    2.9    Prepare recovery by legal entity re: waterfall presentation

Domfeh, Kofi         9/3/2023    2.9    Updated waterfall presentation re: secured claim recoveries

Newman, Richard      9/4/2023    0.4    Direct A&M team member to prepare waterfall presentation

Newman, Richard      9/4/2023    1.0    Review and edit waterfall analysis

Newman, Richard      9/5/2023    0.3    Review and edit waterfall presentation

Newman, Richard      9/5/2023    0.9    Review waterfall analysis re: exit costs

Newman, Richard      9/5/2023    0.5    Update waterfall presentation re: risks / opportunities

Newman, Richard      9/5/2023    0.5    Participate on call with A&M team (Domfeh) re: waterfall presentation

Domfeh, Kofi         9/5/2023    0.5    Participate on call with A&M team (Domfeh) re: waterfall presentation

Newman, Richard      9/5/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Waschitz, Domfeh) re: waterfall analysis

Waschitz, Seth       9/5/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Newman, Domfeh) re: waterfall analysis

Domfeh, Kofi         9/5/2023    0.8    Participate on call with UCC counsel and A&M team (Gonzalez, Waschitz, Newman) re: waterfall analysis

Gonzalez, Andrea     9/5/2023    0.8    Participate on call with UCC counsel and A&M team (Newman, Waschitz, Domfeh) re: waterfall analysis

Newman, Richard      9/5/2023    0.5    Revise and edit waterfall presentation re: unsecured creditor recoveries

Newman, Richard      9/5/2023    0.3    Participate on call with A&M team (Gonzalez, Waschitz, Domfeh) re: waterfall presentation updates

Waschitz, Seth       9/5/2023    0.3    Participate on call with A&M team (Gonzalez, Newman, Domfeh) re: waterfall presentation updates

Gonzalez, Andrea     9/5/2023    0.3    Participate on call with A&M team (Waschitz, Newman, Domfeh) re: waterfall presentation updates

Domfeh, Kofi         9/5/2023    0.3    Participate on call with A&M team (Gonzalez, Waschitz, Newman) re: waterfall presentation updates

Domfeh, Kofi         9/5/2023    2.9    Prepare secured claims scenario analysis re: waterfall analysis

Domfeh, Kofi         9/5/2023    1.6    Update waterfall analysis re: secured claim recoveries

Domfeh, Kofi         9/5/2023    0.7    Update waterfall presentation re: legal entity recovery

Domfeh, Kofi         9/5/2023    2.9    Update waterfall analysis re: legal entity recoveries

Gonzalez, Andrea     9/5/2023    0.4    Review summary of waterfall analysis scenarios

Waschitz, Seth       9/5/2023    0.7    Review and edit waterfall presentation

Newman, Richard      9/6/2023    1.1    Update waterfall analysis re: recovery sensitivities

Newman, Richard      9/6/2023    0.7    Review waterfall analysis re: non-debtor revenue / allocation

Newman, Richard      9/6/2023    0.4    Participate on call with A&M team (Domfeh) re: waterfall analysis

Domfeh, Kofi         9/6/2023    0.4    Participate on call with A&M team (Newman) re: waterfall analysis

Newman, Richard      9/6/2023    0.8    Participate on call with UCC counsel and A&M team (Domfeh, Waschitz) re: unsecured creditor recovery analysis

Waschitz, Seth       9/6/2023    0.8    Participate on call with UCC counsel and A&M team (Domfeh, Newman) re: unsecured creditor recovery analysis

Domfeh, Kofi         9/6/2023    0.8    Participate on call with UCC counsel and A&M team (Newman, Waschitz) re: unsecured creditor recovery analysis

Domfeh, Kofi         9/6/2023    2.9    Update waterfall presentation re: recovery scenarios

Domfeh, Kofi         9/6/2023    2.6    Prepare secured claim scenario analysis

Domfeh, Kofi         9/6/2023    1.9    Update waterfall presentation re: recovery by legal entity

Gonzalez, Andrea     9/6/2023    0.2    Review correspondence from UCC counsel re: waterfall analysis

Waschitz, Seth       9/6/2023    0.4    Review revised waterfall presentation

Newman, Richard      9/7/2023    0.4    Review and edit Committee presentation re: waterfall / recovery analysis

Newman, Richard      9/7/2023    0.5    Prepare settlement negotiation points          Page 40 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                      Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 63et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Newman, Richard      9/7/2023     0.7    Review waterfall analysis re: DIP treatment

Newman, Richard      9/7/2023     0.2    Correspond with UCC counsel re: waterfall analysis

Newman, Richard      9/7/2023     0.2    Prepare sensitivity analysis for Committee

Newman, Richard      9/7/2023     0.2    Correspond with UCC counsel re: sensitivity analysis

Newman, Richard      9/7/2023     1.1    Update sensitivity analysis

Newman, Richard      9/7/2023     0.3    Participate on call with A&M team (Domfeh, Waschitz, Ashraf) re: unsecured creditor recovery scenarios

Waschitz, Seth       9/7/2023     0.3    Participate on call with A&M team (Domfeh, Newman, Ashraf) re: unsecured creditor recovery scenarios

Domfeh, Kofi         9/7/2023     0.3    Participate on call with A&M team (Newman, Waschitz, Ashraf) re: unsecured creditor recovery scenarios

Ashraf, Farris       9/7/2023     0.3    Participate on call with A&M team (Domfeh, Waschitz, Newman) re: unsecured creditor recovery scenarios

Domfeh, Kofi         9/7/2023     1.3    Update unsecured claim scenario analysis

Gonzalez, Andrea     9/7/2023     0.2    Review correspondence from UCC counsel re: waterfall analysis

Newman, Richard      9/7/2023     0.1    Correspond with A&M team re: unsecured creditor recovery analysis

Waschitz, Seth       9/7/2023     1.8    Review and edit revised waterfall presentation

Newman, Richard      9/8/2023     0.8    Revise A&M workplan re: waterfall analysis

Gonzalez, Andrea     9/8/2023     0.3    Review updated waterfall analysis

Waschitz, Seth       9/8/2023     1.3    Review and edit waterfall sensitivity analysis

Waschitz, Seth       9/8/2023     0.3    Correspond with UCC counsel re: updated waterfall analysis presentation

Waschitz, Seth       9/8/2023     1.4    Audit updated waterfall analysis

Newman, Richard      9/10/2023    0.8    Review and edit liquidation analysis

Newman, Richard      9/11/2023    0.4    Revise Committee presentation re: expected recoveries

Newman, Richard      9/11/2023    0.2    Correspond with UCC counsel re: recovery expectations

Newman, Richard      9/11/2023    0.2    Review liquidation analysis summary

Waschitz, Seth       9/11/2023    0.1    Participate on call with A&M team (Newman) re: waterfall presentation

Newman, Richard      9/11/2023    0.1    Participate on call with A&M team (Waschitz) re: waterfall presentation

Singh, Kabir         9/11/2023    0.2    Review liquidation analysis re: real estate value

Domfeh, Kofi         9/11/2023    2.8    Update waterfall presentation re: total recoveries

Domfeh, Kofi         9/11/2023    2.9    Prepare lender presentation re: entity level recoveries

Domfeh, Kofi         9/11/2023    2.5    Prepare unencumbered value analysis

Gonzalez, Andrea     9/11/2023    0.8    Review Debtors' liquidation analysis

Gonzalez, Andrea     9/11/2023    0.1    Review correspondence from UCC counsel re: waterfall analysis

Waschitz, Seth       9/11/2023    0.3    Review and edit updated waterfall analysis presentation

Waschitz, Seth       9/11/2023    0.7    Review liquidation analysis

Waschitz, Seth       9/11/2023    0.2    Correspond with Debtors re: liquidation analysis

Waschitz, Seth       9/11/2023    0.8    Review financial projections in disclosure statement

Newman, Richard      9/12/2023    0.2    Correspond with A&M team re: updated recovery analysis

Newman, Richard      9/12/2023    0.1    Correspond with A&M team re: lender analysis

Newman, Richard      9/12/2023    0.5    Prepare summary of expected sources of recoveries

Hill, Michael        9/12/2023    1.8    Update waterfall analysis re: asset sale value scenario

Hill, Michael        9/12/2023    0.6    Update waterfall analysis re: property value scenario

Hill, Michael        9/12/2023    1.4    Review and edit waterfall analysis re: substantive consolidation scenarios

Domfeh, Kofi         9/12/2023    2.8    Prepare unencumbered value analysis re: scenario analysis

Domfeh, Kofi         9/12/2023    2.3    Update waterfall presentation re: recovery analysis

Domfeh, Kofi         9/12/2023    2.7    Update waterfall presentation re: unencumbered value

Domfeh, Kofi         9/12/2023    2.1    Update lender presentation analysis re: entity level recoveries

Waschitz, Seth       9/12/2023    0.2    Review reconciliation of business plan to disclosure statement financial projections

Newman, Richard      9/13/2023    0.7    Review and revise updated waterfall analysis

Newman, Richard      9/13/2023    0.1    Correspond with UCC counsel re: lender negotiations

Newman, Richard      9/13/2023    0.1    Correspond with A&M team re: best interest test
                                                                                    Page 41 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                         Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 64et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Newman, Richard     9/13/2023    0.3    Finalize Committee presentation re: waterfall analysis

Newman, Richard     9/13/2023    0.3    Update A&M workplan re: best interest test

Newman, Richard     9/13/2023    0.5    Update Committee presentation re: lender analysis

Singh, Kabir        9/13/2023    1.8    Review amended Plan

Rovitz, Alec        9/13/2023    2.3    Review amended Disclosure statement

Domfeh, Kofi        9/13/2023    1.3    Update waterfall analysis re: global assumptions

Domfeh, Kofi        9/13/2023    2.6    Update lender presentation re: entity level recoveries

Domfeh, Kofi        9/13/2023    0.9    Analyze waterfall analysis re: sensitivity summary

Rovitz, Alec        9/13/2023    2.7    Review amended Plan

Waschitz, Seth      9/13/2023    0.4    Review revised waterfall analysis presentation

Waschitz, Seth      9/13/2023    0.7    Review amended Plan of reorganization

Waschitz, Seth      9/13/2023    1.4    Review amended Disclosure statement

Waschitz, Seth      9/13/2023    0.8    Review and edit lender presentation re: waterfall analysis

Hill, Michael       9/14/2023    1.9    Review best interest test re: Hilco real estate analysis

Hill, Michael       9/14/2023    0.8    Prepare summary of best interest test re: cost approach

Hill, Michael       9/14/2023    0.9    Update summary of best interest test re: sales comparison approach

Hill, Michael       9/14/2023    1.2    Update summary of best interest test re: income capitalization approach

Waschitz, Seth      9/14/2023    0.4    Direct A&M team member to prepare best interest test analysis

Hill, Michael       9/14/2023    1.8    Update best interest test analysis re: liquidation analysis

Domfeh, Kofi        9/14/2023    1.6    Analyze liquidation analysis

Waschitz, Seth      9/14/2023    0.2    Correspond with A&M team member re: best interest test analysis

Waschitz, Seth      9/14/2023    0.6    Review liquidation analysis re: best interest test analysis

Waschitz, Seth      9/14/2023    0.2    Review UST objection to adequacy of Disclosure statement

Newman, Richard     9/15/2023    0.2    Review UST's objection re: disclosure statement

Newman, Richard     9/15/2023    0.9    Review redline disclosure statement

Newman, Richard     9/15/2023    0.1    Correspond with UCC counsel re: recovery presentation

Newman, Richard     9/15/2023    0.1    Prepare recovery presentation

Newman, Richard     9/15/2023    0.2    Correspond with UCC counsel re: disclosure statement

Hill, Michael       9/15/2023    1.2    Update best interest test analysis re: liquidation analysis

Domfeh, Kofi        9/15/2023    1.9    Analyze business plan projections forecast

Domfeh, Kofi        9/15/2023    2.6    Review Disclosure statement

Gonzalez, Andrea    9/15/2023    0.2    Review Disclosure statement objection re: UST

Newman, Richard     9/18/2023    0.1    Correspond with UCC counsel re: Committee settlement offer

Newman, Richard     9/18/2023    0.5    Correspond with A&M team re: liquidation analysis

Hill, Michael       9/18/2023    1.3    Prepare best interest test presentation re: potential challenge to plan of reorganization

Hill, Michael       9/18/2023    1.4    Update best interest test presentation re: summary overview

Hill, Michael       9/18/2023    1.1    Update best interest test presentation re: liquidation analysis summary

Domfeh, Kofi        9/18/2023    2.7    Analyze unsecured claims distribution analysis

Domfeh, Kofi        9/18/2023    1.9    Prepare liquidation analysis presentation

Domfeh, Kofi        9/18/2023    1.9    Analyze recovery summary for unsecured claims

Domfeh, Kofi        9/19/2023    1.3    Review amended disclosure statement

Domfeh, Kofi        9/19/2023    1.9    Analyze secured claims distribution scenarios

Domfeh, Kofi        9/19/2023    1.7    Prepare confirmation issues list re: disclosure statement

Waschitz, Seth      9/19/2023    0.2    Discuss best interest analysis with A&M team member

Newman, Richard     9/20/2023    1.0    Review key issues re: lender negotiations

Newman, Richard     9/20/2023    0.1    Review lender settlement counterproposal

Newman, Richard     9/20/2023    0.2    Correspond with UCC counsel re: lender negotiations

Domfeh, Kofi        9/20/2023    1.6    Update confirmation issues list re: disclosure Page
                                                                                       statement
                                                                                            42 of 55
                Case 23-14853-JKS                      Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                      Desc Main     Exhibit B
                                                              Document         PageINC.,
                                                                 CYXTERA TECHNOLOGIES, 65et al.of 85
                                                                                      Time Detail by Project Category
                                                                                   June 27 2023 through October 31, 2023

Professional               Date            Hours    Time Description
Domfeh, Kofi            9/20/2023            2.4    Analyze Debtors' liquidation analysis

Domfeh, Kofi            9/20/2023            2.2    Analyze waterfall analysis re: unsecured recoveries

Gonzalez, Andrea        9/20/2023            0.7    Review Disclosure statement

Waschitz, Seth          9/20/2023            0.2    Correspond with UCC re: settlement offer

Newman, Richard         9/21/2023            0.1    Correspond with UCC counsel re: settlement counteroffer

Newman, Richard         9/21/2023            0.1    Review UCC counsel correspondence re: settlement counterproposal

Newman, Richard         9/21/2023            0.2    Correspond with A&M team re: liquidation analysis updates

Hill, Michael           9/21/2023            0.7    Prepare comparable companies analysis re: Internap

Hill, Michael           9/21/2023            0.6    Update comparable companies analysis re: SunGard

Hill, Michael           9/21/2023            0.5    Review settlement counteroffer

Domfeh, Kofi            9/21/2023            1.4    Analyze waterfall analysis re: unsecured recoveries

Domfeh, Kofi            9/21/2023            1.8    Analyze waterfall analysis re: unencumbered value

Newman, Richard         9/21/2023            0.3    Participate on call with UCC counsel and A&M team (Domfeh, Gonzalez, Waschitz) re: settlement strategy

Domfeh, Kofi            9/21/2023            0.3    Participate on call with UCC counsel and A&M team (Newman, Gonzalez, Waschitz) re: settlement strategy

Waschitz, Seth          9/21/2023            0.3    Participate on call with UCC counsel and A&M team (Newman, Gonzalez, Domfeh) re: settlement strategy

Gonzalez, Andrea        9/21/2023            0.3    Participate on call with UCC counsel and A&M team (Domfeh, Newman, Waschitz) re: settlement strategy

Newman, Richard         9/21/2023            0.4    Participate on call with UCC counsel, Debtors' and lenders professionals and A&M team (Domfeh, Gonzalez) re: settlement counteroffer

Domfeh, Kofi            9/21/2023            0.4    Participate on call with UCC counsel, Debtors' and lenders professionals and A&M team (Domfeh, Gonzalez) re: settlement counteroffer

Gonzalez, Andrea        9/21/2023            0.4    Participate on call with UCC counsel, Debtors' and lenders professionals and A&M team (Gonzalez, Domfeh) re: settlement counteroffer

Newman, Richard         9/21/2023            0.6    Participate on call with A&M team (Gonzalez, Domfeh) re: waterfall / settlement

Domfeh, Kofi            9/21/2023            0.6    Participate on call with A&M team (Newman, Gonzalez) re: waterfall / settlement

Gonzalez, Andrea        9/21/2023            0.3    Participate on call with A&M team (Newman, Domfeh) re: waterfall / settlement (partial)

Domfeh, Kofi            9/21/2023            0.4    Participate on call with A&M team (Newman) re: waterfall analysis

Newman, Richard         9/21/2023            0.4    Participate on call with A&M team (Domfeh) re: waterfall analysis

Waschitz, Seth          9/21/2023            0.2    Correspond with Committee re: settlement offer

Newman, Richard         9/22/2023            0.1    Correspond with UCC counsel re: settlement

Waschitz, Seth          9/22/2023            0.4    Correspond with Committee re: settlement offer

Waschitz, Seth          9/22/2023            0.2    Correspond with Debtors re: settlement offer

Waschitz, Seth          9/24/2023            0.4    Review amended disclosure statement

Newman, Richard         9/25/2023            0.4    Review Plan redline

Gonzalez, Andrea        9/25/2023            0.5    Review second amended Disclosure statement

Newman, Richard         9/26/2023            0.1    Review Disclosure statement summary

Hill, Michael           9/26/2023            0.9    Review amended disclosure statement

Waschitz, Seth          9/26/2023            0.2    Review summary of disclosure statement hearing

Waschitz, Seth          9/26/2023            0.1    Correspond with UCC re: disclosure statement hearing

Waschitz, Seth          9/26/2023            0.1    Correspond with UCC counsel re: waterfall analysis

Newman, Richard         9/29/2023            0.2    Coordinate review of settlement with customer

Newman, Richard         10/2/2023            0.2    Correspond with UCC counsel re: settlement offer

Subtotal                                    409.8




Potential Avoidance Actions / Litigation Matters
Newman, Richard         6/29/2023            0.2    Correspond with UCC counsel re: SPAC lawsuit

Waschitz, Seth          6/29/2023            0.2    Correspond with UCC counsel re: SPAC Lawsuit

Newman, Richard         7/2/2023             0.6    Research Appgate transaction

Newman, Richard         7/6/2023             1.1    Review earnings transcripts re: analyst commentary

Newman, Richard         7/7/2023             0.5    Review February 2021 investor presentation

Newman, Richard         7/7/2023             0.4    Review investor presentation re: SPAC transaction

                                                                                                   Page 43 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 66et al.of 85
                                                                          Time Detail by Project Category
                                                                       June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Newman, Richard      7/9/2023     0.7    Research potential unencumbered assets

Newman, Richard      7/10/2023    1.1    Research Debtors' insider relationships

Newman, Richard      7/10/2023    0.4    Analyze SPAC sources and uses

Newman, Richard      7/16/2023    0.8    Review Starboard Value Acquisition Corp. stockholder agreement

Newman, Richard      7/17/2023    2.1    Review SPAC proxy statements

Domfeh, Kofi         7/17/2023    1.7    Analyze insider ownership

Domfeh, Kofi         7/18/2023    1.1    Research SPAC transaction re: company filings

Newman, Richard      7/18/2023    1.0    Research potential D&O conflict of interests

Newman, Richard      7/18/2023    0.4    Participate on call with A&M team (Domfeh) re: investigation workplan

Domfeh, Kofi         7/18/2023    0.4    Participate on call with A&M team (Newman) re: investigation workplan

Ashraf, Farris       7/19/2023    2.9    Review SEC filings re: SPAC investigation

Domfeh, Kofi         7/19/2023    2.7    Analyze Appgate transaction re: SPAC investigation

Ashraf, Farris       7/19/2023    2.5    Review SPAC transaction investor presentation

Domfeh, Kofi         7/19/2023    2.4    Analyze proxy statement re: SPAC Investigation

Ashraf, Farris       7/19/2023    1.8    Prepare key SPAC investment highlights

Newman, Richard      7/19/2023    1.5    Review SPAC transaction

Domfeh, Kofi         7/19/2023    1.1    Prepare SPAC investigation workplan

Hill, Michael        7/19/2023    1.1    Research board of directors

Newman, Richard      7/19/2023    0.9    Review historical financials pre-SPAC

Hill, Michael        7/19/2023    0.9    Prepare post-merger org chart re: SPAC investigation

Hill, Michael        7/19/2023    0.8    Review February 2021 investor presentation

Hill, Michael        7/19/2023    0.8    Research prior management team

Hill, Michael        7/19/2023    0.8    Research BC Partners re: SPAC investigation

Hill, Michael        7/19/2023    0.7    Research SVAC re: SPAC investigation

Hill, Michael        7/19/2023    0.6    Prepare pre-merger org chart re: SPAC investigation

Newman, Richard      7/19/2023    0.5    Prepare outline for SPAC analysis

Newman, Richard      7/19/2023    0.4    Participate on call with A&M team (Domfeh) re: SPAC investigation

Domfeh, Kofi         7/19/2023    0.4    Participate on call with A&M team (Newman) re: SPAC investigation

Ashraf, Farris       7/19/2023    0.3    Participate on call with A&M team (Domfeh, Hill) re: SPAC transaction

Domfeh, Kofi         7/19/2023    0.3    Participate on call with A&M team (Ashraf, Hill) re: SPAC transaction

Hill, Michael        7/19/2023    0.3    Participate on call with A&M team (Domfeh, Ashraf) re: SPAC transaction

Ashraf, Farris       7/20/2023    3.1    Prepare SPAC transaction overview summary

Ashraf, Farris       7/20/2023    2.9    Update SPAC presentation: sources and uses summary

Domfeh, Kofi         7/20/2023    1.8    Analyze third party transactions re: SPAC Investigation

Domfeh, Kofi         7/20/2023    1.8    Analyze business disclosures re: SPAC Investigation

Domfeh, Kofi         7/20/2023    1.6    Analyze merger terms re: SPAC Investigation

Domfeh, Kofi         7/20/2023    1.6    Analyze incentive plan re: SPAC Investigation

Newman, Richard      7/20/2023    1.3    Review SPAC sources and uses re: valuation

Domfeh, Kofi         7/20/2023    1.3    Prepare summary of third party transactions re: SPAC Investigation

Hill, Michael        7/20/2023    0.8    Prepare summary of company advisors and respective duties re: SPAC investigation

Hill, Michael        7/20/2023    0.7    Research EV/EBITDA multiples re: SPAC investigation

Hill, Michael        7/20/2023    0.7    Research EV/Revenue multiples re: SPAC investigation

Newman, Richard      7/20/2023    0.6    Prepare for lien challenge call with UCC counsel

Hill, Michael        7/20/2023    0.6    Research comparable companies re: SPAC investigation

Hill, Michael        7/20/2023    0.6    Research EBITDA margins re: SPAC investigation
                                                                                        Page 44 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                            Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 67et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       7/21/2023    1.4    Review SPAC transaction details re: management and sponsors

Hill, Michael        7/21/2023    1.4    Update SPAC transaction presentation re: pre-merger capital structure

Hill, Michael        7/21/2023    1.1    Research post-transaction sentiment re: SPAC investigation

Hill, Michael        7/21/2023    1.0    Participate on call with A&M team (Ashraf) re: SPAC investors

Ashraf, Farris       7/21/2023    1.0    Participate on call with A&M team (Hill) re: SPAC investors

Hill, Michael        7/21/2023    0.8    Update SPAC transaction sources/uses

Hill, Michael        7/21/2023    0.8    Prepare SPAC investigation presentation

Hill, Michael        7/21/2023    0.7    Update SPAC investigation presentation re: post merger capital structure

Hill, Michael        7/21/2023    0.7    Update SPAC investigation presentation re: historical stock analysis

Hill, Michael        7/21/2023    0.7    Update SPAC investigation presentation re: post merger tock analysis

Newman, Richard      7/23/2023    1.6    Investigate potential sources of unsecured recovery

Newman, Richard      7/24/2023    1.8    Investigate Appgate transaction

Domfeh, Kofi         7/25/2023    1.7    Analyze proxy filings re: SPAC investigation

Newman, Richard      7/25/2023    1.3    Research potential distributions to shareholders

Newman, Richard      7/25/2023    0.4    Research prepetition interest payments re: SPAC investigation

Domfeh, Kofi         7/26/2023    2.4    Analyze Appgate related party transactions re: SPAC investigation

Domfeh, Kofi         7/26/2023    2.2    Prepare summary of insider transactions re: SPAC Investigations

Domfeh, Kofi         7/26/2023    1.1    Prepare summary of related party transactions re: SPAC investigation

Domfeh, Kofi         7/26/2023    0.9    Analyze annual reports re: related party transactions

Domfeh, Kofi         7/26/2023    0.9    Research Appgate public offering re: SPAC Investigation

Domfeh, Kofi         7/27/2023    2.7    Prepare presentation re: SPAC Investigations

Domfeh, Kofi         7/27/2023    2.0    Research optional share repurchase program re: SPAC Investigation

Domfeh, Kofi         7/27/2023    1.8    Analyze post-transaction capitalization re: SPAC Investigation

Domfeh, Kofi         7/27/2023    1.7    Research Appgate insiders and officers re: SPAC Investigation

Newman, Richard      7/27/2023    0.9    Investigate financing transactions

Newman, Richard      7/27/2023    0.8    Review company documents re: potential pre-SPAC distributions

Domfeh, Kofi         7/27/2023    0.5    Participate on call with A&M team (Ashraf) re: SPAC investigation

Ashraf, Farris       7/27/2023    0.5    Participate on call with A&M team (Domfeh) re: SPAC investigation

Newman, Richard      7/27/2023    0.5    Review secured debt holdings re: insider exits

Hill, Michael        7/27/2023    0.4    Update SPAC investigation presentation re: management changes

Newman, Richard      7/27/2023    0.2    Review financing transactions timeline

Rovitz, Alec         7/27/2023    1.6    Research officers and directors

Rovitz, Alec         7/27/2023    0.6    Prepare summary of officers and directors tenure

Domfeh, Kofi         7/28/2023    2.6    Analyze annual reports for indemnity payments re: SPAC investigation

Domfeh, Kofi         7/28/2023    2.3    Prepare presentation re: SPAC Investigations

Ashraf, Farris       7/28/2023    1.9    Update SPAC investigation presentation

Domfeh, Kofi         7/28/2023    1.8    Research stock redemptions re: SPAC investigation

Hill, Michael        7/28/2023    0.8    Update SPAC transaction presentation re: current organizational structure

Hill, Michael        7/28/2023    0.8    Update SPAC transaction presentation re: timeline

Newman, Richard      7/28/2023    0.7    Review and edit SPAC investigation presentation

Hill, Michael        7/28/2023    0.5    Update SPAC investigation presentation re: Starboard Value Acquisition Corp.

Hill, Michael        7/28/2023    0.5    Update SPAC investigation presentation re: comparable companies analysis

Domfeh, Kofi         7/31/2023    1.6    Update SPAC investigation presentation

Newman, Richard      7/31/2023    1.2    Review and edit SPAC investigation presentation

Domfeh, Kofi         7/31/2023    1.2    Analyze post-transaction cash reserves re: SPAC Investigation
                                                                                        Page 45 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                              Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 68et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Domfeh, Kofi         7/31/2023    1.1    Research stock redemptions re: SPAC investigation

Newman, Richard      7/31/2023    0.8    Investigate stock redemption transaction

Ashraf, Farris       7/31/2023    0.8    Review SPAC investigation support documents

Newman, Richard      7/31/2023    0.7    Review and edit executive summary re: investigation presentation

Waschitz, Seth       7/31/2023    0.6    Review and comment on draft SPAC investigation presentation

Newman, Richard      7/31/2023    0.4    Review and edit key findings re: SPAC investigation presentation

Domfeh, Kofi         7/31/2023    0.3    Participate on call with A&M team (Newman) re: SPAC investigation presentation

Newman, Richard      7/31/2023    0.3    Participate on call with A&M team (Domfeh) re: SPAC investigation presentation

Domfeh, Kofi         7/31/2023    0.3    Participate on call with A&M team (Ashraf) re: SPAC investigation presentation

Ashraf, Farris       7/31/2023    0.3    Participate on call with A&M team (Domfeh) re: SPAC investigation presentation

Ashraf, Farris       7/31/2023    0.3    Review public filings re: SPAC investigation

Gonzalez, Andrea     8/2/2023     0.2    Participate on call with A&M team (Newman) re: potential causes of action

Newman, Richard      8/2/2023     0.2    Participate on call with A&M team (Gonzalez) re: potential causes of action

Newman, Richard      8/2/2023     0.2    Participate on call with A&M team (Domfeh) re: litigation presentation

Domfeh, Kofi         8/2/2023     0.2    Participate on call with A&M team (Newman) re: litigation presentation

Gonzalez, Andrea     8/2/2023     0.5    Participate on call with A&M team (Newman) re: investigation

Newman, Richard      8/2/2023     0.5    Participate on call with A&M team (Gonzalez) re: investigation

Domfeh, Kofi         8/2/2023     0.8    Prepare SPAC investigation presentation

Newman, Richard      8/3/2023     0.3    Participate on call with A&M team (Domfeh) re: litigation diligence

Domfeh, Kofi         8/3/2023     0.3    Participate on call with A&M team (Newman) re: litigation diligence

Gonzalez, Andrea     8/3/2023     2.2    Review and comment on summary of potential causes of action

Domfeh, Kofi         8/3/2023     1.1    Analyze business plan re: capital expenditures

Newman, Richard      8/4/2023     0.3    Participate on call with A&M team (Domfeh) re: litigation diligence

Domfeh, Kofi         8/4/2023     0.3    Participate on call with A&M team (Newman) re: litigation diligence

Gonzalez, Andrea     8/4/2023     0.2    Correspond with Debtors re: investigative requests

Newman, Richard      8/11/2023    0.9    Examine historical payments re: insider payments

Ashraf, Farris       8/15/2023    2.1    Update SPAC investigation re: causes of action

Gonzalez, Andrea     8/16/2023    0.4    Correspond with Debtors re: investigative requests

Gonzalez, Andrea     8/16/2023    0.3    Review correspondence from A&M team re: document production

Ashraf, Farris       8/17/2023    2.7    Prepare summary of AppGate promissory notes

Ashraf, Farris       8/18/2023    1.6    Update summary of AppGate promissory notes

Hill, Michael        8/18/2023    0.9    Investigate 2017 financial statements re: cash flow statement

Hill, Michael        8/18/2023    0.8    Investigate 2018 financial statements re: cash flow statement

Hill, Michael        8/18/2023    0.8    Investigate 2018 financial statements re: revolver

Hill, Michael        8/18/2023    0.6    Investigate 2018 financial statements re: liquidity

Hill, Michael        8/18/2023    0.5    Investigate 2017 financial statements re: liquidity

Hill, Michael        8/18/2023    0.4    Investigate 2017 financial statements re: revolver

Ashraf, Farris       8/21/2023    2.3    Update AppGate spinoff summary re: optional share purchase agreements

Ashraf, Farris       8/22/2023    1.2    Update AppGate spinoff summary re: optional share purchase agreements

Newman, Richard      8/22/2023    1.0    Review Debtors' document production re: investigation

Gonzalez, Andrea     8/22/2023    0.3    Review draft avoidance complaint

Gonzalez, Andrea     8/22/2023    0.2    Correspond with UCC counsel re: draft avoidance complaint

Newman, Richard      8/23/2023    2.1    Investigate potential avoidance actions

Waschitz, Seth       8/23/2023    1.3    Review Appgate promissory notes

Waschitz, Seth       8/23/2023    0.6    Review Appgate contribution agreements
                                                                                        Page 46 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                      Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 69et al.of 85
                                                                            Time Detail by Project Category
                                                                         June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Gonzalez, Andrea     8/23/2023    0.5    Review Cyxtera Cybersecurity 2019 promissory note from Cyxtera Technology

Gonzalez, Andrea     8/23/2023    0.5    Review Cyxtera Cybersecurity 2019 promissory note from Cyxtera Management

Gonzalez, Andrea     8/24/2023    0.2    Review amendment to Cyxtera Cybersecurity 2019 promissory note from Cyxtera Technology

Gonzalez, Andrea     8/24/2023    0.2    Review amendment to Cyxtera Cybersecurity 2019 promissory note from Cyxtera Management

Gonzalez, Andrea     8/25/2023    0.8    Review optional share repurchase agreement re: investigation

Gonzalez, Andrea     8/25/2023    0.8    Review services agreement dated May 2017 re: investigation

Gonzalez, Andrea     8/25/2023    0.4    Review amendments to services agreement re: investigation

Newman, Richard      8/25/2023    0.4    Review latest draft complaint

Gonzalez, Andrea     8/25/2023    0.2    Review Contribution agreement re: cybersecurity

Gonzalez, Andrea     8/25/2023    0.2    Review agreement and plan of liquidation re: Appgate spin-off

Gonzalez, Andrea     8/25/2023    0.2    Review redemption agreement re: investigation

Gonzalez, Andrea     8/25/2023    0.2    Review assignment agreement dated July 2021 re: investigation

Gonzalez, Andrea     8/25/2023    0.2    Review letter agreement dated February 2021 re: investigation

Gonzalez, Andrea     8/25/2023    0.2    Review options exercise notice re: investigation

Gonzalez, Andrea     8/25/2023    0.2    Review termination agreement

Gonzalez, Andrea     8/25/2023    0.1    Review amendment to optional share letter agreement re: investigation

Newman, Richard      8/26/2023    0.5    Review Debtors' correspondence re: litigation

Gonzalez, Andrea     8/28/2023    1.7    Research Appgate reverse merger

Gonzalez, Andrea     8/28/2023    1.1    Review Cyxtera investor presentation re: SVAC merger

Gonzalez, Andrea     8/28/2023    0.9    Review schedule 14A re: SVAC

Gonzalez, Andrea     8/28/2023    0.8    Review 2021 SEC filing

Gonzalez, Andrea     8/29/2023    1.0    Review and comment on preliminary investigative deck

Gonzalez, Andrea     8/29/2023    0.7    Review 2022 SEC filing

Ashraf, Farris       8/30/2023    1.4    Update SPAC overview slide re: causes of action

Hill, Michael        8/30/2023    1.3    Prepare SPAC presentation re: key transaction dates

Ashraf, Farris       8/30/2023    1.1    Review post transaction sources and uses re: causes of action

Hill, Michael        8/30/2023    0.9    Update SPAC presentation re: comparable transactions

Ashraf, Farris       8/31/2023    1.4    Update SPAC overview slide re: causes of action

Gonzalez, Andrea     8/31/2023    0.5    Review Appgate 2021 SEC filings

Ashraf, Farris       8/31/2023    0.5    Update lien entity organizational chart re: causes of action

Ashraf, Farris       9/1/2023     2.5    Prepare SPAC investigation presentation re: Appgate summary overview

Ashraf, Farris       9/1/2023     2.2    Analyze SPAC investigation presentation re: Appgate loans

Ashraf, Farris       9/1/2023     1.9    Review SPAC investigation presentation re: potential causes of action

Gonzalez, Andrea     9/1/2023     2.0    Update SPAC investigation presentation re: 2021 SPAC background

Gonzalez, Andrea     9/1/2023     1.2    Update SPAC investigation presentation re: 2021 SPAC sources and uses

Gonzalez, Andrea     9/1/2023     0.6    Update SPAC investigation presentation re: Appgate spin-off

Hill, Michael        9/5/2023     0.9    Participate in working session with A&M team (Gonzalez, Ashraf) re: investigation

Ashraf, Farris       9/5/2023     0.9    Participate in working session with A&M team (Gonzalez, Hill) re: investigation

Gonzalez, Andrea     9/5/2023     0.9    Participate in working session with A&M team (Hill, Ashraf) re: investigation

Hill, Michael        9/5/2023     0.6    Prepare SPAC investigation re: financial update

Hill, Michael        9/5/2023     0.9    Update SPAC investigation re: board of directors

Hill, Michael        9/5/2023     0.7    Update SPAC investigation re: key executives

Ashraf, Farris       9/5/2023     0.7    Analyze SPAC Investigation analysis re: historical EBITDA

Ashraf, Farris       9/5/2023     2.1    Update SPAC investigation presentation re: Appgate summary overview

Ashraf, Farris       9/5/2023     2.3    Review waterfall analysis presentation
                                                                                       Page 47 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                   Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 70et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Gonzalez, Andrea     9/5/2023     1.7    Update SPAC investigation presentation re: Appgate spin-off

Gonzalez, Andrea     9/5/2023     0.4    Update SPAC investigation presentation re: organization chart

Gonzalez, Andrea     9/5/2023     2.0    Update SPAC investigation presentation re: executive summary

Hill, Michael        9/6/2023     0.9    Update SPAC investigation presentation re: Appgate diligence

Hill, Michael        9/6/2023     1.4    Update SPAC investigation presentation re: services agreement

Hill, Michael        9/6/2023     0.8    Update SPAC investigation presentation re: EBITDA

Hill, Michael        9/6/2023     0.4    Update SPAC investigation presentation re: ownership structure

Hill, Michael        9/6/2023     0.5    Update SPAC investigation presentation re: annual payments

Ashraf, Farris       9/6/2023     2.4    Update SPAC investigation presentation re: executive summary

Ashraf, Farris       9/6/2023     1.9    Update SPAC investigation presentation re: potential claims

Hill, Michael        9/7/2023     1.8    Review and edit SPAC investigation presentation

Ashraf, Farris       9/7/2023     0.8    Review waterfall analysis re: potential claims

Ashraf, Farris       9/7/2023     2.7    Update SPAC investigation presentation re: Appgate spinoff

Ashraf, Farris       9/7/2023     2.1    Update SPAC investigation presentation re: Appgate loans

Ashraf, Farris       9/7/2023     1.3    Update SPAC investigation presentation re: causes of action

Ashraf, Farris       9/8/2023     0.8    Update SPAC investigation presentation re: Appgate summary overview

Gonzalez, Andrea     9/8/2023     0.1    Review correspondence from UCC counsel re: avoidance actions

Hill, Michael        9/11/2023    1.6    Review and edit SPAC investigation presentation re: global comments

Ashraf, Farris       9/11/2023    1.4    Prepare UCC investigation presentation re: Appgate

Gonzalez, Andrea     9/11/2023    1.7    Review and update SPAC investigation presentation

Hill, Michael        9/12/2023    1.3    Review and edit SPAC investigation presentation re: distributions

Hill, Michael        9/12/2023    1.6    Update SPAC investigation presentation re: key executives

Ashraf, Farris       9/12/2023    2.9    Review 2022 Appgate Annual Report

Ashraf, Farris       9/12/2023    2.4    Update SPAC investigation presentation re: Appgate structuring fees

Ashraf, Farris       9/12/2023    1.8    Update SPAC investigation presentation re: Magnetar investment

Ashraf, Farris       9/12/2023    2.6    Update SPAC investigation presentation re: Appgate spinoff considerations

Gonzalez, Andrea     9/12/2023    0.9    Review Appgate transition services agreement

Gonzalez, Andrea     9/12/2023    1.2    Review and update SPAC investigation presentation re: executive summary

Gonzalez, Andrea     9/12/2023    0.9    Review and update SPAC investigation presentation re: Appgate spin-off

Gonzalez, Andrea     9/12/2023    1.5    Review and update SPAC investigation presentation re: 2021 SPAC

Hill, Michael        9/13/2023    1.4    Update SPAC investigation presentation re: board member timing

Hill, Michael        9/13/2023    1.4    Update SPAC investigation presentation re: structuring fee payments

Hill, Michael        9/13/2023    0.8    Update SPAC investigation presentation re: service fee payments

Hill, Michael        9/13/2023    1.9    Review and edit SPAC investigation presentation re: investigation findings

Newman, Richard      9/13/2023    0.2    Participate on call with A&M team (Gonzalez) re: investigation presentation

Gonzalez, Andrea     9/13/2023    0.2    Participate on call with A&M team (Newman) re: investigation presentation

Hill, Michael        9/13/2023    1.2    Participate on call with A&M team (Gonzalez, Ashraf) re: investigation presentation

Ashraf, Farris       9/13/2023    1.2    Participate on call with A&M team (Gonzalez, Hill) re: investigation presentation

Gonzalez, Andrea     9/13/2023    1.2    Participate on call with A&M team (Hill, Ashraf) re: investigation presentation

Ashraf, Farris       9/13/2023    2.9    Update SPAC investigation presentation re: optional share purchase agreement

Ashraf, Farris       9/13/2023    2.9    Review and edit SPAC investigation presentation

Gonzalez, Andrea     9/13/2023    1.2    Review updated SPAC investigation presentation

Hill, Michael        9/13/2023    1.6    Investigate key executive public filings

Newman, Richard      9/14/2023    1.6    Review and edit litigation presentation

Newman, Richard      9/14/2023    0.6    Review investigation presentation
                                                                                      Page 48 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                    Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 71et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Hill, Michael        9/14/2023    1.4    Investigate board members public filings

Hill, Michael        9/14/2023    0.2    Participate on call with A&M team (Gonzalez) re: Cyxtera board of directors

Gonzalez, Andrea     9/14/2023    0.2    Participate on call with A&M team (Hill) re: Cyxtera board of directors

Newman, Richard      9/14/2023    0.8    Participate on call with A&M team (Gonzalez) re: investigation presentation

Gonzalez, Andrea     9/14/2023    0.8    Participate on call with A&M team (Newman) re: investigation presentation

Ashraf, Farris       9/14/2023    2.4    Update SPAC investigation presentation re: release and indemnity program

Ashraf, Farris       9/14/2023    1.6    Update SPAC investigation presentation re: post-merger board

Gonzalez, Andrea     9/14/2023    1.9    Update SPAC investigation presentation re: optional share repurchase agreement

Gonzalez, Andrea     9/14/2023    1.0    Update SPAC investigation presentation re: board of directors

Waschitz, Seth       9/14/2023    0.4    Review preliminary investigation presentation

Newman, Richard      9/20/2023    0.9    Analyze avoidance actions re: lender negotiations

Newman, Richard      9/21/2023    0.5    Analyze potential value of litigation claims re: settlement negotiations

Newman, Richard      9/22/2023    0.1    Correspond with UCC counsel re: litigation claims

Newman, Richard      9/27/2023    0.4    Review independent director investigation

Subtotal                         260.2



SOFAs & SOALs
Sinclair, Gibbons    7/5/2023     0.3    Review SOFA / SOAL for presentation

Gonzalez, Andrea     7/10/2023    0.5    Participate on call with A&M team (Waschitz, Newman) re: SOFA/SOAL workplan update

Newman, Richard      7/10/2023    0.5    Participate on call with A&M team (Gonzalez, Waschitz) re: SOFA/SOAL workplan update

Waschitz, Seth       7/10/2023    0.5    Participate on call with A&M team (Gonzalez, Newman) re: SOFA/SOAL workplan update

Ashraf, Farris       7/10/2023    0.3    Prepare SOFA/SOAL analysis template

Newman, Richard      7/10/2023    0.5    Update SOFA/SOAL analysis template

Waschitz, Seth       7/10/2023    0.2    Correspond with A&M team re: SOFA/SOAL analysis

Domfeh, Kofi         7/11/2023    2.2    Analyze SOFAs

Ashraf, Farris       7/11/2023    2.3    Analyze SOFAs

Domfeh, Kofi         7/11/2023    1.8    Analyze SOALs

Waschitz, Seth       7/11/2023    1.2    Review SOFA/SOAL global notes

Newman, Richard      7/11/2023    1.0    Review global notes to SOFA/SOALs

Ashraf, Farris       7/11/2023    2.1    Update SOFA/SOAL analysis template

Newman, Richard      7/11/2023    0.7    Review SOAL re: data center

Newman, Richard      7/11/2023    0.4    Review Debtors' correspondence re: SOAL support

Waschitz, Seth       7/11/2023    0.2    Correspond with Debtors re: SOFA/SOAL

Ashraf, Farris       7/12/2023    2.9    Review SOALs

Ashraf, Farris       7/12/2023    2.9    Prepare SOAL data analysis

Ashraf, Farris       7/12/2023    2.7    Update SOAL data analysis

Domfeh, Kofi         7/12/2023    2.2    Update SOFA/SOAL presentation re: bankruptcy related payments

Domfeh, Kofi         7/12/2023    1.9    Update SOFA/SOAL presentation re: creditor transfers

Domfeh, Kofi         7/12/2023    1.7    Update SOFA/SOAL presentation re: re: intercompany balances

Domfeh, Kofi         7/12/2023    1.6    Update SOFA/SOAL presentation re: insider payments

Waschitz, Seth       7/12/2023    0.9    Analyze SOAL excel support

Ashraf, Farris       7/13/2023    2.9    Update SOFA data analysis

Ashraf, Farris       7/13/2023    2.3    Update SOFA/SOAL presentation re: SOFA

Ashraf, Farris       7/13/2023    2.2    Update SOFA/SOAL presentation re: SOAL

Domfeh, Kofi         7/13/2023    2.1    Update SOFA/SOAL analysis re: intercompany balances

Domfeh, Kofi         7/13/2023    1.9    Update SOFA/SOAL analysis re: intercompany transfers

Domfeh, Kofi         7/13/2023    1.7    Review and edit SOFA/SOAL presentation
                                                                                       Page 49 of 55
                 Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                    Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 72et al.of 85
                                                                          Time Detail by Project Category
                                                                       June 27 2023 through October 31, 2023

Professional            Date     Hours   Time Description
Ashraf, Farris       7/13/2023    1.6    Update SOFA/SOAL presentation

Newman, Richard      7/13/2023    1.5    Review SOFA/SOAL support

Domfeh, Kofi         7/13/2023    1.3    Analyze unsecured claims re: schedules and statements

Domfeh, Kofi         7/13/2023    1.1    Update SOFA/SOAL presentation re: combined balance sheet

Ashraf, Farris       7/13/2023    0.5    Prepare SOFA data analysis

Domfeh, Kofi         7/13/2023    0.4    Participate on call with A&M team (Waschitz) re: SOFA/SOAL analysis

Waschitz, Seth       7/13/2023    0.4    Participate on call with A&M team (Domfeh) re: SOFA/SOAL analysis

Ashraf, Farris       7/13/2023    0.2    Participate on call with A&M team (Waschitz) re: SOFA/SOAL analysis

Waschitz, Seth       7/13/2023    0.2    Participate on call with A&M team (Ashraf) re: SOFA/SOAL analysis

Domfeh, Kofi         7/14/2023    2.9    Review and edit SOFA/SOAL presentation

Ashraf, Farris       7/14/2023    2.8    Update SOFA/SOAL presentation re: 90-day payments

Ashraf, Farris       7/14/2023    2.7    Update SOFA/SOAL presentation re: secured liabilities

Domfeh, Kofi         7/14/2023    2.6    Update SOFA/SOAL presentation re: combined liabilities

Ashraf, Farris       7/14/2023    2.5    Update SOFA/SOAL presentation re: unsecured claims

Newman, Richard      7/14/2023    1.5    Review and comment upon SOFA / SOAL presentation

Ashraf, Farris       7/14/2023    1.1    Review SOFA/SOAL presentation re: internal comments

Domfeh, Kofi         7/14/2023    0.8    Analyze Debtor's intercompany matrix re: SOFA/SOAL presentation

Domfeh, Kofi         7/14/2023    0.7    Review and edit SOFA/SOAL presentation re: intercompany activity

Waschitz, Seth       7/14/2023    0.5    Participate on call with A&M team (Newman, Domfeh) re: SOFA/SOAL presentation

Domfeh, Kofi         7/14/2023    0.5    Participate on call with A&M team (Waschitz, Newman) re: SOFA/SOAL presentation

Newman, Richard      7/14/2023    0.5    Participate on call with A&M team (Waschitz, Domfeh) re: SOFA/SOAL presentation

Newman, Richard      7/14/2023    0.1    Participate on call with Debtors and A&M team (Waschitz) re: SOAL data

Waschitz, Seth       7/14/2023    0.5    Participate on call with Debtors and A&M team (Newman) re: SOAL data

Waschitz, Seth       7/14/2023    0.8    Review and edit SOFA/SOAL presentation

Ashraf, Farris       7/14/2023    0.3    Participate on call with A&M team (Domfeh, Gonzalez) re: SOFA/SOAL presentation

Gonzalez, Andrea     7/14/2023    0.3    Participate on call with A&M team (Domfeh, Ashraf) re: SOFA/SOAL presentation

Domfeh, Kofi         7/14/2023    0.3    Participate on call with A&M team (Gonzalez, Ashraf) re: SOFA/SOAL presentation

Domfeh, Kofi         7/15/2023    2.1    Update SOFA/SOAL presentation re: entity level assets

Ashraf, Farris       7/16/2023    1.9    Update SOFA/SOAL presentation

Waschitz, Seth       7/16/2023    0.9    Review and edit SOFA/SOAL presentation re: SOFA data

Waschitz, Seth       7/17/2023    2.9    Review and edit SOFA/SOAL presentation re: SOFA data

Domfeh, Kofi         7/17/2023    2.2    Update SOFA/SOAL presentation re: entity level liabilities

Domfeh, Kofi         7/17/2023    2.2    Review and edit SOFA/SOAL analysis

Ashraf, Farris       7/17/2023    1.7    Update SOFA/SOAL presentation

Ashraf, Farris       7/17/2023    1.7    Participate in internal working session re: SOFA/SOAL presentation preparation

Domfeh, Kofi         7/17/2023    1.6    Update SOFA/SOAL analysis re: intercompany transfers

Domfeh, Kofi         7/17/2023    1.4    Update SOFA/SOAL analysis re: balance sheet reconciliation

Ashraf, Farris       7/17/2023    1.1    Update SOFA/SOAL presentation

Domfeh, Kofi         7/17/2023    0.8    Participate on call with A&M team (Ashraf) re: SOFA/SOAL presentation

Ashraf, Farris       7/17/2023    0.8    Participate on call with A&M team (Domfeh) re: SOFA/SOAL presentation

Ashraf, Farris       7/17/2023    0.5    Analyze SOFA re: intercompany payments

Waschitz, Seth       7/17/2023    0.4    Participate on call with A&M team (Domfeh) re: SOFA/SOAL presentation

Domfeh, Kofi         7/17/2023    0.4    Participate on call with A&M team (Waschitz) re: SOFA/SOAL presentation

Waschitz, Seth       7/17/2023    0.2    Participate on call with A&M team member (Newman) re: SOFA/SOAL presentation

Newman, Richard      7/17/2023    0.2    Participate on call with A&M team member (Waschitz) re: SOFA/SOAL presentation

Rovitz, Alec         7/20/2023    0.3    Correspond with A&M team re: SOFA / SOAL analysis

Domfeh, Kofi         7/21/2023    2.2    Update SOFA/SOAL analysis re: intercompany activity

Waschitz, Seth       7/21/2023    0.4    Participate on call with UCC counsel and A&M  team (Hill) re: SOFA/SOAL presentation
                                                                                    Page 50 of 55
                Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                       Desc Main   Exhibit B
                                                  Document         PageINC.,
                                                     CYXTERA TECHNOLOGIES, 73et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional           Date     Hours   Time Description
Hill, Michael       7/21/2023    0.4    Participate on call with UCC counsel and A&M team (Waschitz) re: SOFA/SOAL presentation

Waschitz, Seth      7/21/2023    0.3    Participate on call with A&M team (Newman, Domfeh) re: SOFA/SOAL presentation

Domfeh, Kofi        7/21/2023    0.3    Participate on call with A&M team (Newman, Waschitz) re: SOFA/SOAL presentation

Newman, Richard     7/21/2023    0.3    Participate on call with A&M team (Waschitz, Domfeh) re: SOFA/SOAL presentation

Rovitz, Alec        7/21/2023    0.9    Update SOFA/SOAL presentation re: creditor transfers

Rovitz, Alec        7/25/2023    1.2    Update SOFA/SOAL presentation re: global notes summary

Gonzalez, Andrea    7/28/2023    0.1    Review SOFA/SOAL due diligence request response

Subtotal                        102.6




Tax Matters
Newman, Richard     8/7/2023     0.2    Correspond with A&M team re: tax issues

Newman, Richard     8/7/2023     0.1    Correspond with A&M tax team re: tax diligence

Subtotal                         0.3



Valuation
Newman, Richard     7/10/2023    0.8    Review historical financials re: P&Ls

Drissen, Philipp    7/12/2023    0.6    Prepare revenue multiple analysis

Newman, Richard     7/12/2023    0.4    Review real estate valuation presentation

Drissen, Philipp    7/12/2023    0.2    Update revenue multiple analysis re: internal comments

Scott, Tom          7/12/2023    1.0    Review and edit real estate valuation model re: assumptions

Drissen, Philipp    7/13/2023    0.7    Prepare property analysis re: NOI calculation

Drissen, Philipp    7/13/2023    0.7    Review comparable transaction multiples re: data center transactions

Drissen, Philipp    7/18/2023    2.0    Update property valuation analysis re: P&L data

Drissen, Philipp    7/18/2023    2.0    Review Debtors property model re: integration of utilization performance metrics

Holsomback, Hunt    7/18/2023    1.3    Analyze property by property P&L re: valuation

Newman, Richard     7/18/2023    0.4    Review location profitability analysis

Newman, Richard     7/21/2023    0.4    Update real estate valuation presentation re: utilization

Drissen, Philipp    7/24/2023    0.6    Participate on call with A&M team (Holsomback) re: site P&Ls

Holsomback, Hunt    7/24/2023    0.6    Participate on call with A&M team (Drissen) re: site P&Ls

Drissen, Philipp    7/25/2023    2.5    Calculate real-estate KPIs for site P&Ls

Drissen, Philipp    7/25/2023    2.0    Update property valuation analysis presentation re: site KPIs

Drissen, Philipp    7/25/2023    1.0    Prepare property valuation analysis presentation re: 2020 to 2022 P&Ls

Drissen, Philipp    7/25/2023    1.0    Update property valuation analysis presentation re: site performance metrics

Holsomback, Hunt    7/25/2023    0.9    Prepare key issues list re: locations, performance, and valuation

Drissen, Philipp    7/25/2023    0.5    Analyze site P&L KPIs re: real estate valuation analysis

Drissen, Philipp    7/25/2023    0.5    Review and edit property valuation analysis

Drissen, Philipp    7/25/2023    0.5    Update property valuation analysis presentation re: 2020 to 2022 CapEx

Drissen, Philipp    7/25/2023    0.5    Update property valuation analysis presentation re: site rejection list

Drissen, Philipp    7/25/2023    0.3    Correspond with A&M team re: property valuation updates

Drissen, Philipp    7/25/2023    0.2    Update key issues list re: property valuation assumptions

Drissen, Philipp    7/26/2023    3.0    Review and edit property valuation analysis presentation

Drissen, Philipp    7/26/2023    0.7    Update key issues list re: adjusted property valuation assumptions

Drissen, Philipp    7/26/2023    0.5    Update real estate valuation model

Drissen, Philipp    7/26/2023    0.5    Update property valuation analysis re: adjusted CapEx

Vaid, Hameer        7/27/2023    1.9    Update property valuation analysis re: adjusted NOI calculation

Holsomback, Hunt    7/27/2023    0.5    Update key issues list re: prepetition location selection

Holsomback, Hunt    7/28/2023    0.4    Review and edit real estate valuation model

Vaid, Hameer        7/31/2023    1.4    Review and edit property valuation analysis presentation
                                                                                        Page 51 of 55
               Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                                        Desc Main   Exhibit B
                                                 Document         PageINC.,
                                                    CYXTERA TECHNOLOGIES, 74et al.of 85
                                                                         Time Detail by Project Category
                                                                      June 27 2023 through October 31, 2023

Professional          Date     Hours   Time Description
Gonzalez, Andrea   8/3/2023     0.2    Participate on call with A&M team (Newman) re: site valuation

Newman, Richard    8/3/2023     0.2    Participate on call with A&M team (Gonzalez) re: site valuation

Newman, Richard    8/3/2023     0.1    Correspond with A&M team re: legal entity valuation

Soriano, Adam      8/4/2023     1.6    Analyze net operating income calculations re: UK / Canada assets

Saltz, Katy        8/7/2023     2.0    Analyze asset trial balances re: value adjustments

Soriano, Adam      8/7/2023     1.8    Analyze EBITDA calculations re: UK / Canada assets

Scott, Tom         8/10/2023    0.9    Review Canada / UK assets re: valuation model

Soriano, Adam      8/10/2023    0.5    Participate on call with A&M team (Vaid, Newman, Gonzalez, Scott) re: real estate update

Gonzalez, Andrea   8/10/2023    0.5    Participate on call with A&M team (Vaid, Newman, Soriano, Scott) re: real estate update

Scott, Tom         8/10/2023    0.5    Participate on call with A&M team (Vaid, Newman, Gonzalez, Soriano) re: real estate update

Vaid, Hameer       8/10/2023    0.5    Participate on call with A&M team (Newman, Gonzalez, Soriano, Scott) re: real estate update

Newman, Richard    8/10/2023    0.5    Participate on call with A&M team (Vaid, Gonzalez, Soriano, Scott) re: real estate update

Soriano, Adam      8/10/2023    0.8    Prepare summary of UK / Canada asset financial metrics

Scott, Tom         8/10/2023    0.4    Review asset valuation re: Canada / UK

Soriano, Adam      8/11/2023    0.6    Update summary of UK / Canada asset financial metrics

Vaid, Hameer       8/15/2023    0.5    Participate on call with A&M team (Soriano, Holsomback, Scott, Gonzalez, Newman) re: comparative transaction analysis / key inputs

Soriano, Adam      8/15/2023    0.5    Participate on call with A&M team (Vaid, Holsomback, Scott, Gonzalez, Newman) re: comparative transaction analysis / key inputs

Gonzalez, Andrea   8/15/2023    0.5    Participate on call with A&M team (Soriano, Holsomback, Scott, Vaid, Newman) re: comparative transaction analysis / key inputs

Newman, Richard    8/15/2023    0.5    Participate on call with A&M team (Soriano, Holsomback, Scott, Gonzalez, Vaid) re: comparative transaction analysis / key inputs

Holsomback, Hunt   8/15/2023    0.5    Participate on call with A&M team (Soriano, Vaid, Scott, Gonzalez, Newman) re: comparative transaction analysis / key inputs

Scott, Tom         8/16/2023    0.4    Update Canada / UK assets re: valuation model

Holsomback, Hunt   8/16/2023    0.7    Participate on call with A&M team (Vaid, Soriano, Saltz, Gonzalez) re: UK / Canada site valuation

Soriano, Adam      8/16/2023    0.7    Participate on call with A&M team (Vaid, Gonzalez, Saltz, Holsomback) re: UK / Canada site valuation

Saltz, Katy        8/16/2023    0.7    Participate on call with A&M team (Vaid, Soriano, Gonzalez, Holsomback) re: UK / Canada site valuation

Gonzalez, Andrea   8/16/2023    0.7    Participate on call with A&M team (Vaid, Soriano, Saltz, Holsomback) re: UK / Canada site valuation

Newman, Richard    8/16/2023    0.4    Participate on call with A&M team (Vaid, Drissen, Saltz, Soriano, Holsomback) re: valuation

Holsomback, Hunt   8/16/2023    0.4    Participate on call with A&M team (Vaid, Drissen, Saltz, Soriano, Newman) re: valuation

Vaid, Hameer       8/16/2023    0.4    Participate on call with A&M team (Newman, Drissen, Saltz, Soriano, Holsomback) re: valuation

Drissen, Philipp   8/16/2023    0.4    Participate on call with A&M team (Vaid, Newman, Saltz, Soriano, Holsomback) re: valuation

Soriano, Adam      8/16/2023    0.4    Participate on call with A&M team (Vaid, Drissen, Saltz, Newman, Holsomback) re: valuation

Saltz, Katy        8/16/2023    0.4    Participate on call with A&M team (Vaid, Drissen, Newman, Soriano, Holsomback) re: valuation

Soriano, Adam      8/16/2023    2.5    Review data centers colocation / hyperscale valuation considerations

Vaid, Hameer       8/16/2023    2.2    Revise valuation analysis re: precedent transaction multiples

Saltz, Katy        8/16/2023    1.8    Research comparable transactions re: US / UK assets

Soriano, Adam      8/16/2023    1.6    Research global data center transactions re: breakout by region

Saltz, Katy        8/16/2023    1.3    Research comparable transactions re: APAC assets

Scott, Tom         8/16/2023    0.8    Prepare summary of asset valuation re: Canada / UK

Soriano, Adam      8/16/2023    0.6    Analyze valuation considerations re: comparable transaction analysis

Soriano, Adam      8/17/2023    2.7    Prepare valuation questions for Debtors'

Saltz, Katy        8/17/2023    2.7    Research comparable transactions re: transaction value

Soriano, Adam      8/17/2023    2.6    Update comparable transaction analysis re: equity research sentiment

Vaid, Hameer       8/17/2023    2.6    Participate in internal working session with A&M team (Drissen) re: valuation anlysis

Saltz, Katy        8/17/2023    2.5    Research comparable transactions re: Colocation facility sales

Drissen, Philipp   8/17/2023    2.1    Participate in internal working session with A&M team (Vaid) re: valuation anlysis

Drissen, Philipp   8/17/2023    1.4    Update valuation presentation re: precedent transactions

Saltz, Katy        8/17/2023    1.3    Research comparable transactions re: individual data site sales

Soriano, Adam      8/17/2023    0.9    Correspond with A&M team and UCC counsel re: valuation questions by region

Soriano, Adam      8/17/2023    0.8    Prepare comparable transaction analysis re: UK  / Canada assets
                                                                                    Page 52 of 55
               Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                                Desc Main   Exhibit B
                                                 Document         PageINC.,
                                                    CYXTERA TECHNOLOGIES, 75et al.of 85
                                                                         Time Detail by Project Category
                                                                      June 27 2023 through October 31, 2023

Professional          Date     Hours   Time Description
Scott, Tom         8/18/2023    0.2    Review and edit Canada / UK assets re: valuation model

Saltz, Katy        8/18/2023    0.7    Participate on call with A&M team (Vaid, Drissen, Soriano) re: Canadian comparable transactions

Vaid, Hameer       8/18/2023    0.7    Participate on call with A&M team (Saltz, Drissen, Soriano) re: Canadian comparable transactions

Drissen, Philipp   8/18/2023    0.7    Participate on call with A&M team (Vaid, Saltz, Soriano) re: Canadian comparable transactions

Soriano, Adam      8/18/2023    0.7    Participate on call with A&M team (Vaid, Drissen, Saltz) re: Canadian comparable transactions

Soriano, Adam      8/18/2023    2.9    Research comparable transactions re: non-data center sales

Soriano, Adam      8/18/2023    2.9    Research comparable transactions re: FY2023 data center sales

Saltz, Katy        8/18/2023    2.7    Analyze comparable transaction analysis re: demographic data

Saltz, Katy        8/18/2023    2.3    Research comparable transactions re: Canada

Soriano, Adam      8/18/2023    2.1    Update valuation analysis re: Canadian assets EBITDA bridge

Soriano, Adam      8/18/2023    1.8    Update valuation analysis re: UK asset net operating income metrics

Drissen, Philipp   8/18/2023    1.2    Update valuation analysis

Saltz, Katy        8/18/2023    0.7    Update comparable transaction analysis re: adjusted sales multiples

Scott, Tom         8/18/2023    0.4    Update summary of asset valuation re: Canada / UK

Newman, Richard    8/18/2023    0.3    Review A&M team valuation summary

Saltz, Katy        8/21/2023    0.5    Participate on call with A&M team (Vaid, Drissen, Soriano, Holsomback) re: valuation summary

Holsomback, Hunt   8/21/2023    0.5    Participate on call with A&M team (Vaid, Drissen, Soriano, Saltz) re: valuation summary

Drissen, Philipp   8/21/2023    0.5    Participate on call with A&M team (Vaid, Saltz, Soriano, Holsomback) re: valuation summary

Vaid, Hameer       8/21/2023    0.5    Participate on call with A&M team (Saltz, Drissen, Soriano, Holsomback) re: valuation summary

Soriano, Adam      8/21/2023    0.5    Participate on call with A&M team (Vaid, Drissen, Saltz, Holsomback) re: valuation summary

Soriano, Adam      8/21/2023    2.6    Update valuation presentation re: EBITDA adjustment summary

Vaid, Hameer       8/21/2023    2.3    Update valuation presentation re: UK / Canada locations

Saltz, Katy        8/21/2023    2.2    Prepare valuation presentation re: summary overview

Saltz, Katy        8/21/2023    1.8    Prepare summary of valuation by location / asset

Gonzalez, Andrea   8/21/2023    1.3    Review valuation analysis re: CND / UK sites

Soriano, Adam      8/22/2023    0.5    Participate on call with A&M team (Gonzalez, Vaid, Drissen, Saltz) re: valuation presentation

Drissen, Philipp   8/22/2023    0.5    Participate on call with A&M team (Gonzalez, Vaid, Soriano, Saltz) re: valuation presentation

Vaid, Hameer       8/22/2023    0.5    Participate on call with A&M team (Gonzalez, Soriano, Drissen, Saltz) re: valuation presentation

Saltz, Katy        8/22/2023    0.5    Participate on call with A&M team (Gonzalez, Vaid, Drissen, Soriano) re: valuation presentation

Gonzalez, Andrea   8/22/2023    0.5    Participate on call with A&M team (Soriano, Vaid, Drissen, Saltz) re: valuation presentation

Vaid, Hameer       8/22/2023    2.0    Update valuation presentation re: asusmption / projections

Saltz, Katy        8/22/2023    1.7    Update valuation presentation re: transaction multiples

Scott, Tom         8/22/2023    0.7    Benchmark Debtors' professionals valuation re: real estate assets by location

Soriano, Adam      8/22/2023    0.7    Update valuation presentation re: historical industry purchase multiples

Scott, Tom         8/22/2023    0.6    Review and edit summary of asset valuation re: Canada / UK

Holsomback, Hunt   8/22/2023    0.5    Review real estate valuation methodology

Saltz, Katy        8/22/2023    0.4    Update valuation presentation re: adjusted transaction value summary

Newman, Richard    8/29/2023    0.5    Prepare summary of potential capitalization rates

Scott, Tom         8/30/2023    0.5    Participate on call with A&M team (Saltz, Drissen, Vaid) re: valuation presentation

Vaid, Hameer       8/30/2023    0.5    Participate on call with A&M team (Saltz, Drissen, Scott) re: valuation presentation

Drissen, Philipp   8/30/2023    0.5    Participate on call with A&M team (Saltz, Scott, Vaid) re: valuation presentation

Saltz, Katy        8/30/2023    0.5    Participate on call with A&M team (Scott, Drissen, Vaid) re: valuation presentation

Newman, Richard    9/1/2023     0.1    Correspond with UCC counsel re: valuation

Waschitz, Seth     9/5/2023     0.1    Participate on call with A&M team (Newman) re: real estate appraisals

Newman, Richard    9/5/2023     0.1    Participate on call with A&M team (Waschitz) re: real estate appraisals

Holsomback, Hunt   9/5/2023     0.1    Participate on call with A&M team (Newman) re: potential ownership structure

Newman, Richard    9/5/2023     0.1    Participate on call with A&M team (Holsomback) re: potential ownership structure

Waschitz, Seth     9/5/2023     1.4    Research Debtors owned properties re: appraised value
                                                                                  Page 53 of 55
               Case 23-14853-JKS          Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                             Desc Main   Exhibit B
                                                 Document         PageINC.,
                                                    CYXTERA TECHNOLOGIES, 76et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional          Date     Hours   Time Description
Waschitz, Seth     9/5/2023     0.2    Correspond with Debtors re: appraisal data

Waschitz, Seth     9/5/2023     0.2    Correspond with A&M team re: appraisal data

Newman, Richard    9/6/2023     0.9    Review property appraisals

Vaid, Hameer       9/6/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Saltz) re: property appraisals

Soriano, Adam      9/6/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Saltz) re: property appraisals

Drissen, Philipp   9/6/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Saltz) re: property appraisals

Saltz, Katy        9/6/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Saltz) re: property appraisals

Soriano, Adam      9/6/2023     0.2    Update valuation analysis re: comparable transactions

Waschitz, Seth     9/6/2023     0.3    Review Colorado property appraisal

Newman, Richard    9/7/2023     0.4    Analyze real estate valuations

Newman, Richard    9/7/2023     0.3    Update committee presentation re: real estate valuation

Saltz, Katy        9/7/2023     0.5    Participate on call with A&M team (Soriano, Drissen) re: valuation assumptions

Soriano, Adam      9/7/2023     0.5    Participate on call with A&M team (Drissen, Saltz) re: valuation assumptions

Drissen, Philipp   9/7/2023     0.5    Participate on call with A&M team (Soriano, Saltz) re: valuation assumptions

Saltz, Katy        9/7/2023     2.5    Prepare comparable transactions analysis re: Virginia sales

Saltz, Katy        9/7/2023     0.5    Review data room contents re: Virginia facilities

Saltz, Katy        9/7/2023     2.3    Research data center financial metrics re: cap rates / sales multiples

Vaid, Hameer       9/7/2023     2.4    Review and edit valuation analysis re: Virginia assets

Vaid, Hameer       9/7/2023     1.1    Update valuation analysis re: Colorado assets

Drissen, Philipp   9/7/2023     1.3    Update valuation presentation re: owned property appraisals

Scott, Tom         9/8/2023     0.4    Review real estate valuation re: Colorado / Virginia

Vaid, Hameer       9/8/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Saltz) re: Colorado / Virginia valuation

Soriano, Adam      9/8/2023     0.6    Participate on call with A&M team (Vaid, Drissen, Saltz) re: Colorado / Virginia valuation

Saltz, Katy        9/8/2023     0.6    Participate on call with A&M team (Soriano, Drissen, Vaid) re: Colorado / Virginia valuation

Drissen, Philipp   9/8/2023     0.6    Participate on call with A&M team (Soriano, Vaid, Saltz) re: Colorado / Virginia valuation

Saltz, Katy        9/8/2023     0.7    Prepare valuation analysis re: 2022 asset net operating income

Saltz, Katy        9/8/2023     2.3    Update valuation analysis re: 2023 asset net operating income

Soriano, Adam      9/8/2023     0.3    Update comparable transactions analysis re: Colorado asset sales

Drissen, Philipp   9/8/2023     0.5    Update valuation analysis re: owned properties

Drissen, Philipp   9/8/2023     0.2    Update valuation presentation re: adjusted appraisals

Scott, Tom         9/11/2023    0.7    Update real estate valuation re: Colorado / Virginia

Saltz, Katy        9/11/2023    0.6    Participate on call with A&M team (Drissen, Soriano) re: valuation presentation

Drissen, Philipp   9/11/2023    0.6    Participate on call with A&M team (Saltz, Soriano) re: valuation presentation

Soriano, Adam      9/11/2023    0.6    Participate on call with A&M team (Drissen, Saltz) re: valuation presentation

Vaid, Hameer       9/11/2023    0.5    Participate on call with A&M team (Drissen) re: cap-rate calculations

Drissen, Philipp   9/11/2023    0.5    Participate on call with A&M team (Vaid) re: cap-rate calculations

Drissen, Philipp   9/11/2023    0.4    Participate on call with A&M team (Soriano, Saltz) re: valuation presentation

Soriano, Adam      9/11/2023    0.4    Participate on call with A&M team (Drissen, Saltz) re: valuation presentation

Saltz, Katy        9/11/2023    0.4    Participate on call with A&M team (Soriano, Drissen) re: valuation presentation

Saltz, Katy        9/11/2023    0.8    Update valuation analysis re: Virginia assets

Saltz, Katy        9/11/2023    2.0    Review Hilco property appraisals

Waschitz, Seth     9/11/2023    0.3    Correspond with A&M team re: property valuations

Newman, Richard    9/12/2023    0.5    Review valuation analysis re: real estate

Scott, Tom         9/12/2023    0.6    Review Colorado real estate appraisals

Waschitz, Seth     9/12/2023    0.6    Participate on call with A&M team (Vaid) re: Virginia / Colorado asset valuation

Vaid, Hameer       9/12/2023    0.6    Participate on call with A&M team (Waschitz) re: Virginia / Colorado asset valuation

Saltz, Katy        9/12/2023    2.0    Update valuation analysis re: HilCo capitalization approach

Vaid, Hameer       9/12/2023    2.1    Review HilCo property appraisals                Page 54 of 55
               Case 23-14853-JKS            Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                              Desc Main   Exhibit B
                                                   Document         PageINC.,
                                                      CYXTERA TECHNOLOGIES, 77et al.of 85
                                                                           Time Detail by Project Category
                                                                        June 27 2023 through October 31, 2023

Professional          Date     Hours     Time Description
Drissen, Philipp   9/12/2023     1.0     Review updated valuation analysis re: owned properties

Waschitz, Seth     9/12/2023     0.7     Review property valuation analysis

Scott, Tom         9/13/2023     0.5     Review Virginia real estate appraisals

Vaid, Hameer       9/13/2023     0.6     Participate on call with A&M team (Soriano, Drissen, Scott, Holsomback) re: valuation analysis

Scott, Tom         9/13/2023     0.6     Participate on call with A&M team (Soriano, Drissen, Vaid, Holsomback) re: valuation analysis

Holsomback, Hunt   9/13/2023     0.6     Participate on call with A&M team (Soriano, Drissen, Scott, Vaid) re: valuation analysis

Soriano, Adam      9/13/2023     0.6     Participate on call with A&M team (Vaid, Drissen, Scott, Holsomback) re: valuation analysis

Drissen, Philipp   9/13/2023     0.6     Participate on call with A&M team (Soriano, Vaid, Scott, Holsomback) re: valuation analysis

Soriano, Adam      9/13/2023     0.9     Prepare valuation presentation re: summary overview

Subtotal                       170.2



Grand Total                    2,311.3




                                                                                      Page 55 of 55
Case 23-14853-JKS   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                           Document    Page 78 of 85




                                EXHIBIT C
                       ITEMIZED EXPENSE RECORDS
         FOR THE PERIOD OF JUNE 27, 2023, THROUGH OCTOBER 31, 2023
Case 23-14853-JKS                   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                                           Desc Main
                                           Document    Page 79 of 85

                                                                                                                                    Exhibit C
                                                 CYXTERA TECHNOLOGIES, INC., et al.
                                                        Expense Detail by Category
                                                  June 27, 2023 through October 31, 2023

 Category / Professional      Date      Expenses ($) Description


Miscellaneous
Newman, Richard            Jul-31      $       22.96 06/27/2023 - 07/31/2023 Wireless Usage Charges

Hill, Michael              Jul-31              18.72 06/27/2023 - 07/31/2023 Wireless Usage Charges

Drissen, Philipp           Jul-31               7.21 06/27/2023 - 07/31/2023 Wireless Usage Charges

Gonzalez, Andrea           Aug-1               10.10 08/01/2023 - 08/17/2023 Wireless Usage Charges

Holsomback, Hunt           Aug-1                0.74 08/01/2023 - 08/17/2023 Wireless Usage Charges

Vaid, Hameer               Aug-1                4.45 08/01/2023 - 08/17/2023 Wireless Usage Charges

Drissen, Philipp           Aug-1                3.04 08/01/2023 - 08/17/2023 Wireless Usage Charges

Newman, Richard            Aug-12              32.97 08/01/2023 - 08/12/2023 Wireless Usage Charges

Hill, Michael              Aug-12              14.40 08/01/2023 - 08/12/2023 Wireless Usage Charges

Employee, Required         Aug-25              75.00 S&P After Market Research PPV- S&P Global Market Intelligence 8/25/23

Drissen, Philipp           Sep-1                5.68 09/01/2023 - 09/30/2023 Wireless Usage Charges

Gonzalez, Andrea           Sep-1               11.95 09/01/2023 - 09/30/2023 Wireless Usage Charges

Holsomback, Hunt           Sep-1                1.89 09/01/2023 - 09/30/2023 Wireless Usage Charges

Saltz, Katy                Sep-1                3.41 09/01/2023 - 09/30/2023 Wireless Usage Charges

Soriano, Adam              Sep-1                6.72 09/01/2023 - 09/30/2023 Wireless Usage Charges

Vaid, Hameer               Sep-1                4.28 09/01/2023 - 09/30/2023 Wireless Usage Charges

Drissen, Philipp           Sep-12               1.51 09/01/2023 - 09/30/2023 Wireless Usage Charges

Hill, Michael              Sep-12              26.34 09/01/2023 - 09/30/2023 Wireless Usage Charges

Newman, Richard            Sep-12              25.73 09/01/2023 - 09/30/2023 Wireless Usage Charges

Drissen, Philipp           Sep-18               0.27 09/01/2023 - 09/30/2023 Wireless Usage Charges

Newman, Richard            Sep-18              50.00 S&P After Market Research PPV- S&P Global Market Intelligence 9/18/2023

Gonzalez, Andrea           Oct-1               15.14 08/18/2023 - 10/17/2023 Wireless Usage Charges

Hill, Michael              Oct-12              14.86 09/13/2023 - 10/12/2023 Wireless Usage Charges

Newman, Richard            Oct-12              10.27 09/13/2023 - 10/12/2023 Wireless Usage Charges



Grand Total                             $     367.64
Case 23-14853-JKS   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                           Document    Page 80 of 85




                                 EXHIBIT D
                     CERTIFICATION OF RICHARD NEWMAN
Case 23-14853-JKS            Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                       Desc Main
                                    Document    Page 81 of 85



       UNITED STATES BANKRUPTCY COURT
       DISTRICT OF NEW JERSEY

       Caption in Compliance with D.N.J. LBR 9004-1(b)
       Robert J. Feinstein
       Bradford J. Sandler
       Paul J. Labov
       Cia Mackle
       PACHULSKI STANG ZIEHL & JONES
       LLP
       780 Third Avenue, 34th Floor
       New York, NY 10017
       Telephone: (212) 561-7700
       Facsimile: (212) 561-7777
       rfeinstein@pszjlaw.com
       bsandler@pszjlaw.com
       plabov@pszjlaw.com
       cmckle@pszjlaw.com

       Counsel to the Official Committee of
       Unsecured Creditors


       In re:                                                   Chapter 11

       CYXTERA TECHNOLOGIES, INC., et al.,1                     Case No: 23-14853 (JKS)

                                 Debtor.                        (Jointly Administered)




                             CERTIFICATION OF RICHARD NEWMAN

I, Richard Newman, declare pursuant to 28 U.S.C. § 1746 as follows:

           1.       I am a Managing Director with Alvarez & Marsal North America, LLC

    (“A&M”), financial advisor to the Official Committee of Unsecured Creditors in the Chapter 11

    proceedings of Cyxtera Technologies, Inc. 1, et al., and respectfully submit this certification in


1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s
principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
Boulevard, Ste. 900, Coral Gables, Florida 33134
Case 23-14853-JKS       Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                   Desc Main
                               Document    Page 82 of 85



 support of the first interim application for compensation and reimbursement of expenses of

 A&M, during the period of June 27, 2023, through October 31, 2023.

        2.      In accordance with 18 U.SC. § 155 and the Rules of this Court, neither I nor any

 member or associate of this firm has entered into any agreement, either written or oral, express

 or implied, with the Official Committee of Unsecured Creditors or any other party in interest, or

 any attorney of such person, for the purpose of fixing the amount of any fees or other

 compensation to be allowed out of or paid from the assets of the Debtors or its estate.

        3.      In accordance with Section 504 of the Bankruptcy Code, no agreement or

 understanding exists between me, this firm, or any member or associate thereof, on the one hand,

 and any other person, on the other hand, for a division of such compensation as this firm may

 receive from the Court herein. No division of fees, as prohibited by Section 504 of the Bankruptcy

 Code, will be made by me or any member or associate of this firm.

                I certify, under penalty of perjury, that the foregoing statements made by me are

 true and correct, to the best of my knowledge, information, and belief.



Dated: December 15, 2023                          ALVAREZ & MARSAL NORTH
                                                  AMERICA, LLC

                                                     By: /s/ Richard Newman
                                                     Richard Newman
                                                     540 W. Madison St., Suite 1800
                                                     Chicago, IL, 60611
                                                     Telephone: (469) 231-6780
                                                     rnewman@alvarezandmarsal.com

                                                     Financial Advisor to the Official Committee
                                                     of Unsecured Creditors
Case 23-14853-JKS   Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53   Desc Main
                           Document    Page 83 of 85




                                  EXHIBIT E
                               PROPOSED ORDER
Case 23-14853-JKS           Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53                        Desc Main
                                   Document    Page 84 of 85



UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)
Robert J. Feinstein
Bradford J. Sandler
Paul J. Labov
Cia Mackle
PACHULSKI STANG ZIEHL & JONES
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780 Third Avenue, 34th Floor New York, NY
10017 Telephone: (212) 561-7700
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Counsel to the Official Committee of Unsecured
Creditors


In re:                                                     Chapter 11

CYXTERA TECHNOLOGIES, INC., et al.,1                       Case No: 23-14853 (JKS)

                         Debtor.                           (Jointly Administered)




             ORDER GRANTING FIRST INTERIM APPLICATION OF
     ALVAREZ & MARSAL NORTH AMERICA, LLC AS FINANCIAL ADVISOR TO
           THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS,
    FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
          FOR THE PERIOD JUNE 27, 2023, THROUGH OCTOBER 31, 2023


          The relief set forth on the follow page, be and hereby is ORDERED.
 ______________________
1
  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://www.kccllc.net/cyxtera. The location of Debtor Cyxtera Technologies, Inc.’s
principal place of business and the Debtors’ service address in these chapter 11 cases is: 2333 Ponce de Leon
Boulevard, Ste. 900, Coral Gables, Florida 33134
Case 23-14853-JKS         Doc 810 Filed 12/18/23 Entered 12/18/23 14:55:53            Desc Main
                                 Document    Page 85 of 85




       The Court having found that Alvarez & Marsal North America, LLC (the “Applicant”)

filed an application(s) for allowances; and notice and opportunity for hearing were given to

creditors and other parties in interest as required, and for good cause shown; it is hereby

ORDERED that:

        1.        Compensation and expenses are allowed as follows:


             APPLICANT                                     FEES         EXPENSES
             Alvarez & Marsal North America, LLC       $1,885,644.00     $367.64



        2.        The above-captioned Debtors are hereby authorized and directed to immediately

 pay to Applicant(s) the sums above, less any amounts previously paid to Applicant(s) on account

 of the June 2023 through October 2023 monthly fee statements.




Dated: December 15, 2023                           By: /s/ Richard Newman
                                                      Richard Newman
